     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24    Page 1 of 125
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1                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
2

3       UNITED STATES OF AMERICA,
                                                              Criminal Action
4                     Plaintiff,                              No. 1: 21-399
5               vs.                                           Washington, DC
                                                              February 21, 2024
6       ROMAN STERLINGOV,
                                                              9:26 a.m.
7                   Defendant.
        __________________________/                           MORNING PROCEEDINGS
8

9                             TRANSCRIPT OF JURY TRIAL
                       BEFORE THE HONORABLE RANDOLPH D. MOSS
10                          UNITED STATES DISTRICT JUDGE
11

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     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 2 of 125
                                                                              2

1                                APPEARANCES CONTINUED

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     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 3 of 125
                                                                                   3

1                                  TABLE OF CONTENTS

2                                      WITNESSES

3       Leo Rovensky

4             Cross-examination continued by Mr. Ekeland                      6

5       Duncan Townsend

6             Direct examination by Mr. Brown                                 46
              Cross-examination by Mr. Ekeland                                53
7             Redirect examination by Mr. Brown                               55

8       Luke Scholl

9             Direct examination by Ms. Pelker                                60

10

11                                      EXHIBITS

12      Government Exhibit 313A                                               30

13

14

15

16

17

18

19

20

21

22

23

24

25
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24     Page 4 of 125
                                                                                 4

1                                P R O C E E D I N G S
2                   THE COURTROOM DEPUTY:      Criminal case 21-399, United

3       States of America versus Roman Sterlingov.

4                   Would counsel approach the podium and state your name

5       for the record starting with government counsel.

6                   MR. BROWN:    Good morning.     AUSA Christopher Brown and

7       with me at counsel table are C. Alden Pelker and Jeffrey

8       Pearlman.

9                   THE COURT:    All right.    Good morning.

10                  MR. EKELAND:    Good morning, Your Honor.           Tor Ekeland

11      for defendant Roman Sterlingov, who is present in court.                And

12      with me at counsel table is Michael Hassard.

13                  THE COURT:    All right.    Good morning.

14                  You have something you wanted to raise?

15                  MR. EKELAND:    Very briefly, Your Honor.           The Court is

16      aware the US marshals wouldn't allow Mr. Sterlingov to shave

17      this morning.     And I thank the Court for telling the marshals

18      to allow that.

19                  THE COURT:    I entered an order that will apply every

20      day through trial.

21                  MR. EKELAND:    Thank you.     And he also wasn't allowed

22      to change into new clothes this morning.              We provided the

23      marshals with clothes that are in a locker down there I think

24      roughly a week ago.      And he was told this morning that he

25      couldn't put on his new clothes, so he is wearing the suit that
     Case 1:21-cr-00399-RDM    Document 281    Filed 03/16/24   Page 5 of 125
                                                                                    5

1       he had yesterday.

2                   THE COURT:     Do you have any idea why they didn't want

3       him to change clothes?

4                   MR. EKELAND:     I don't know, Your Honor.

5                   THE COURT:     I will look into that and see what is

6       going on.

7                   MR. EKELAND:     Thank you.      I appreciate that.

8                   THE COURT:     So I think we are still waiting on one

9       juror; is that right?

10                  THE COURTROOM DEPUTY:        Yes, Your Honor.       I am getting

11      ready to find out what the status is now.

12                  THE COURT:     So I will come back out as soon as we

13      have the juror.       Remember, we are breaking for lunch today at

14      11:30 so I want to make sure we get going.

15                  THE COURTROOM DEPUTY:        I think she is here.

16                  THE COURT:     Oh, good.

17                  MR. EKELAND:     Your Honor, may I ask a housekeeping

18      question very quickly?

19                  THE COURT:     Yes.

20                  MR. EKELAND:     Is there a time limit on closings?

21                  THE COURT:     Well, I am happy to discuss it.              So let's

22      discuss that -- there is some time limit, whether you would be

23      anywhere close to it is something we could discuss.                But three

24      days would be too long.       But I -- we should talk what would be

25      a reasonable period of time.
     Case 1:21-cr-00399-RDM   Document 281     Filed 03/16/24   Page 6 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                     6

1                   MR. EKELAND:    It is not one hour?

2                   THE COURT:    It is not one hour, no.          But I have to

3       say, if you are going for a couple of hours, I think not only

4       are you running up against the Court on that, but you are

5       losing the jury.

6                   MR. EKELAND:    I am just curious what the parameters

7       are.   I don't have any set plan at this point.

8                   THE COURT:    Okay.      So let's -- I think we are lining

9       the jurors up now.

10                  (Jury in at 9:28 a.m.)

11                  THE COURT:    All right.      Mr. Ekeland, you can proceed

12      when you are ready.

13                  MR. EKELAND:    Thank you, Your Honor.

14                                 CROSS-EXAMINATION

15      BY MR. EKELAND:

16      Q.     Agent Rovensky, you can't name me one single eyewitness

17      who will testify that they saw Mr. Sterlingov operating Bitcoin

18      Fog; true?

19      A.     I investigate cybercrime cases.          That is the situation

20      essentially in all of my cases.

21      Q.     So you can't name a single eyewitness who saw

22      Mr. Sterlingov operating Bitcoin Fog?

23      A.     That is correct.

24      Q.     And you can't name a single eyewitness that said that they

25      heard Mr. Sterlingov talking about operating Bitcoin Fog?
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 7 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                   7

1       A.    That is correct.

2       Q.    And the government doesn't have the Bitcoin Fog server

3       logs; right?

4       A.    No.

5       Q.    And the government doesn't have the Bitcoin Fog ledgers?

6       A.    No.

7       Q.    And the ledgers are what would record the transactions

8       that Bitcoin Fog engaged in; right?

9                   MR. BROWN:    Objection; calls for speculation.

10                  THE COURT:    Why don't you -- I will sustain that

11      since we don't -- if we don't have the ledgers, we don't know

12      what they would show.      But you can ask a more general question,

13      if you would like.

14      BY MR. EKELAND:

15      Q.    The government doesn't have the Bitcoin Fog servers?

16      A.    No.

17      Q.    You don't even know how many servers Bitcoin Fog had?

18      A.    We don't.

19      Q.    And you are familiar -- I believe you testified about all

20      of the devices and everything that was seized from

21      Mr. Sterlingov at Los Angeles International Airport when he was

22      arrested on April 27th, 2021?

23      A.    I testified about some of the documents from the devices

24      that were on him when he was arrested, yes.

25      Q.    And nothing on any of those devices shows Mr. Sterlingov
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 8 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                   8

1       operating Bitcoin Fog?

2       A.    That data, it is certainly relevant evidence on those

3       devices.

4       Q.    You can't name one thing on any of those devices that

5       shows Mr. Sterlingov operating Bitcoin Fog?

6       A.    When you are dealing with a sophisticated cybercriminal,

7       like the defendant is, you expect that their operational

8       security is going to be very good.         And you can tell from some

9       of the excerpts I read that the defendant was obsessed with

10      hiding his digital footprint.        So we are really -- expect to be

11      dealing with somebody -- really good operational security and

12      you are looking for that one or two mistakes.            In this case,

13      the defendant made considerably more than one or two mistakes.

14      Q.    So you can't point to one thing on any of his devices that

15      show him operating Bitcoin Fog?

16      A.    From my memory, I am not recalling a specific document

17      from a device at the moment.

18      Q.    And on those devices, and I believe there were three

19      terabytes' worth of hard drives.        There was a bag of thumb

20      drives and I also think you got access to his Google Drives.

21      Nowhere on any of that was the source code to Bitcoin Fog, was

22      there?

23      A.    No.

24      Q.    And nowhere in all of those devices and everything that

25      you seized, was there anything related to the BitcoinFog.com
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 9 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                   9

1       clearnet site?

2       A.    Well, the Google Drive document, the putting money

3       document, clearly stated how it was he was going to pay for the

4       Bitcoin.com domain.

5       Q.    The putting money document doesn't mention BitcoinFog.com

6       at all --

7                   MR. BROWN:    Objection, argumentative.

8                   THE COURT:    Sustained.

9       BY MR. EKELAND:

10      Q.    Did the word BitcoinFog.com appear anywhere in

11      Mr. Sterlingov's notes?

12      A.    It does not.

13      Q.    And nowhere in his devices, in his hard drives, in the

14      Google Drives, in his notes, is there any communications

15      between him and somebody else discussing the operation of

16      Bitcoin Fog?

17      A.    There is not.

18      Q.    Now, I would like to show you what has been admitted into

19      evidence as Government Exhibit 702 and Ms. Wilkins, if we could

20      get that up.

21                  MR. BROWN:    Your Honor, this is the document that has

22      private password information so --

23                  MR. EKELAND:    We may need to turn the --

24                  THE COURT:    If you wouldn't mind turning off the

25      screen.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 10 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    10

1                     MR. EKELAND:   If we can get it up.

2        BY MR. EKELAND:

3        Q.    While we are getting that up, Agent Rovensky, as part of

4        the search of Mr. Sterlingov's devices, the government searched

5        his thumb drives?

6        A.    Correct.

7        Q.    There was a bag of thumb drives.        There was a lot of thumb

8        drives; right?

9        A.    Yes.

10       Q.    And when it searched one of his thumb drives, the

11       government found an encrypted file; right?

12       A.    Which file are you referring to?

13       Q.    I am referring to a file we looked at yesterday, 702.            You

14       can see it on your screen right now?

15       A.    Yes.

16       Q.    When the government found that, that was encrypted; right?

17       A.    When I reviewed the file, I reviewed it in this format.

18       Q.    But are you aware that it was encrypted when the

19       government first found it?

20       A.    I didn't participate in the extraction of it.

21       Q.    But you would agree with me that this is an Excel

22       spreadsheet of Mr. Sterlingov's passwords going back as early

23       as 2008?

24       A.    Among other things, yes.

25       Q.    You recall testifying that the Akemashite Omedetou moniker
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 11 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    11

1        who the government is maintaining ran Bitcoin Fog, you are

2        aware that that Akemashite Omedetou Bitcoin Talk forum account

3        was registered using the shormint@hotmail.com email address?

4        A.    Yes, I am.

5        Q.    And nowhere in this password list of, I don't know,

6        dozens, maybe a hundred, I don't know how many passwords, does

7        the shormint@hotmail.com account appear in this list?

8        A.    It does not.

9        Q.    And nowhere in this password list do you recall the

10       Shormint Liberty Reserve account?

11       A.    In this list, no.

12       Q.    Right.   So there is no password for anything Shormint

13       related in this case in Mr. Sterlingov's password list?

14       A.    On this document, no.

15       Q.    And Mr. Sterlingov's name is not on any document in this

16       case related to shormint@hotmail.com; right?

17       A.    Can you repeat that question?

18       Q.    Sure.    Let me be more specific.      You executed a search

19       warrant to Microsoft for the shormint@hotmail.com email

20       address?

21       A.    Yes.

22       Q.    And nowhere in the any of the search warrant returns did

23       Mr. Sterlingov's address appear?

24       A.    No, it did not.

25       Q.    And shormint@hotmail.com doesn't appear anywhere on the
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 12 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    12

1        computers that you seized from Mr. Sterlingov at Los Angeles

2        International Airport?

3        A.    No, it does not.

4        Q.    And it doesn't appear anywhere on the three terabytes

5        worth of a hard drives that you seized from Mr. Sterlingov at

6        Los Angeles International Airport?

7        A.    It does not.

8        Q.    It doesn't appear anywhere in the thumb drives that you

9        seized from Mr. Sterlingov at Los Angeles International

10       Airport; correct?

11       A.    Correct.

12       Q.    And it appears nowhere in his diary that you accessed

13       through this computer that you seized at LAX; correct?

14       A.    I don't know if it was his diary, but correct.

15       Q.    And it appears nowhere in his notes?

16       A.    It is not in his notes.

17       Q.    Nowhere in any of that stuff, computer devices, 3

18       terabytes of hard drives, his thumb drives does Mr. Sterlingov

19       discuss operating Bitcoin Fog anywhere?

20       A.    In those documents, he does not.

21       Q.    As a matter of fact, the name Akemashite Omedetou appears

22       nowhere, nowhere in anything that you seized from

23       Mr. Sterlingov?

24       A.    From the evidence that was on his person during the

25       arrest, no, it does not.
     Case 1:21-cr-00399-RDM    Document 281   Filed 03/16/24   Page 13 of 125
                           CROSS-EXAMINATION OF MR. ROVENSKY                    13

1        Q.     And that was quite extensive evidence that you seized from

2        him.    It was more than one computer?

3        A.     Yes.

4        Q.     Raspberry Pi computers?

5        A.     Right.

6        Q.     It was a modem with multiple SIM cards?

7        A.     Correct.

8        Q.     It was a bag full of thumb drives?

9        A.     It was.

10       Q.     And you are aware that the United States government had

11       Mr. Sterlingov under surveillance when he was in Miami in 2017?

12       A.     I know he was in Miami in 2017.

13       Q.     And but you -- well, you -- when did you start on this

14       case?

15       A.     In around May of 2022.

16       Q.     In 2022.   This investigation has been going on since 2015,

17       hasn't it?

18       A.     It has, yes.

19       Q.     And but when you joined the investigation, as a diligent

20       agent, you reviewed the case file?

21       A.     I did.

22       Q.     And you reviewed it thoroughly?

23       A.     I reviewed as much of it as I could, yes.

24       Q.     But you pay attention to detail?

25       A.     Sure.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 14 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    14

1        Q.    When you did that, you saw that the United States

2        government had Mr. Sterlingov under surveillance in Miami in

3        2017?

4                     MR. BROWN:   Your Honor, I believe this has been asked

5        and answered.

6                     THE COURT:   Sustained.

7        BY MR. EKELAND:

8        Q.    Did you read anything about pen traps?

9        A.    No.

10       Q.    No, you didn't.     Did you read -- all right.

11             Do you recall testifying about Mr. Sterlingov's Mt. Gox

12       account the one he uses the Roso that is a -- in Mt. Gox

13       account number 1 that has the Roso affiliated with it?

14       A.    I do.

15       Q.    Mr. Gox -- excuse me.     And Mr. Sterlingov used his photo

16       ID for that Mt. Gox account; correct?

17       A.    Yes.

18       Q.    And basically he KYCed that account?

19       A.    He did.

20       Q.    And can you explain to the jury again just what KYC is?

21       A.    It is, know your customer.

22       Q.    That means that you are providing the personal information

23       to the exchange, your name, your address, and your photo ID?

24       A.    Right.    At one point Mt. Gox did begin to request that

25       information from its users.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 15 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    15

1        Q.    And isn't it true that in 2011 it was optional to KYC with

2        Mt. Gox?

3        A.    I don't remember when that started asking that.

4        Q.    But you have no reason to think that is incorrect?

5        A.    I don't know.

6        Q.    You don't.

7              Now, you testified about a number of accounts that

8        Mr. Sterlingov had.     And one of them was a Binance account?

9        A.    Correct.

10       Q.    And Mr. Sterlingov KYCed his Binance account; correct?

11       A.    Yes.

12       Q.    And I believe you testified about a Bitfinex account?

13       A.    I did.

14       Q.    And Mr. Sterlingov KYCed his Bitcoin account; correct?

15       A.    He did.

16       Q.    And you testified about his two Kraken accounts?

17       A.    Yes.

18       Q.    And Mr. Sterlingov KYCed his Kraken accounts?

19       A.    Yes.

20       Q.    And you identified about his XML Gold account; correct?

21       A.    I did.

22       Q.    That was registered to his home address in Sweden;

23       correct?

24       A.    Correct.

25       Q.    And you have never been to his apartment in Sweden, have
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 16 of 125
                            CROSS-EXAMINATION OF MR. ROVENSKY                  16

1        you?

2        A.     No, I have not.

3        Q.     And you testified about his Poloniex account?

4        A.     Poloniex.

5        Q.     Poloniex account?

6        A.     Yes.

7        Q.     And he KYCed that too, didn't he?

8        A.     He did.

9        Q.     And now you talked a little bit about LocalBitcoin the

10       other day.      And that is a service that allows people to do

11       peer-to-peer Bitcoin exchanges?

12       A.     Right.

13       Q.     And I think you also testified about an email about

14       Mr. Sterlingov meeting somebody at McDonald's to do a

15       peer-to-peer exchange maybe?

16       A.     Yes.

17       Q.     So his GothenCoin moniker on LocalBitcoin, that has his

18       own name related to it; correct?

19       A.     Yes, I believe it does.

20       Q.     And then he also had a Code Grin moniker and that was

21       related to a Spam@plasmadivision.com email; right?

22       A.     Right.

23       Q.     And that email is readily identifiable as his?

24       A.     It is.

25       Q.     Yes.   And then he also had a PayPal account?
     Case 1:21-cr-00399-RDM    Document 281   Filed 03/16/24   Page 17 of 125
                           CROSS-EXAMINATION OF MR. ROVENSKY                    17

1        A.     Yes.

2        Q.     And that was in his own name too; right?

3        A.     Yes, it was.

4        Q.     And that PayPal account is what he used to pay M247 in

5        Romania; right?

6        A.     Yes.

7        Q.     And M247 was the service he was paying to run the To The

8        Moon Server that he had in Romania?

9        A.     One of the servers, yes.      I think they were all associated

10       with To the Moon.

11       Q.     If I could just see -- Ms. Wilkins, if I could get what is

12       in evidence as Government Exhibit 892.

13                     THE COURT:   You can turn the monitor back on if it is

14       off.

15       BY MR. EKELAND:

16       Q.     It looks -- if we can't find 892, you don't dispute that

17       Mr. Sterlingov paid for the M247 services using PayPal?

18       A.     No.    If I could look at the record then maybe I could see

19       other forms of payment, but I don't dispute it.

20       Q.     And that PayPal account was in his own name?

21       A.     Yes.

22       Q.     I think we found it.     If we could -- Government Exhibit --

23       this is in the evidence as Government Exhibit 892, if we could

24       just show that.

25       A.     I can see.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 18 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    18

1        Q.    You can see that?

2        A.    Yes, on this receipt the form of payment is PayPal.

3        Q.    You can see that right there, it says "Hello, Roman

4        Sterlingov"?

5        A.    I do.

6        Q.    Thank you, Ms. Wilkins.       You can take that down.

7              And then also you testified about his Pyramid Financial

8        Services account?

9        A.    Prepaid Financial Services?

10       Q.    I had -- it is Prepaid.       It looks like I have a typo here.

11       Excuse me.     Prepaid Financial Services?

12       A.    Yeah.

13       Q.    And that was in his own name too; right?

14       A.    Yes.

15       Q.    And then he also had a Namecheap account?

16       A.    Yes.

17       Q.    And that was in his own name too?

18       A.    It was.

19       Q.    And he -- you testified that he had a SpiderOak account?

20       A.    I did.

21       Q.    And SpiderOak is a data backup service?

22       A.    Yes.

23       Q.    That was in his own name too?

24       A.    It was.

25       Q.    And on that data backup service of Mr. Sterlingov's there
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 19 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    19

1        wasn't a single thing related to Bitcoin Fog, was there?

2        A.    We didn't receive the backup.       We just received the

3        customer account information.       There was nothing there that

4        said Bitcoin Fog.

5        Q.    And there was nothing related to shormint@hotmail.com was

6        there?

7        A.    On SpiderOak?

8        Q.    Uh-huh.

9        A.    No.

10       Q.    And then you testified yesterday, I think, about the

11       RamNode VPS service?

12       A.    I did.

13       Q.    And that was in Mr. Sterlingov's name?

14       A.    Yes.

15       Q.    And he used that for his email; correct?

16       A.    I don't know everything he used that for.

17       Q.    You don't know what he used it for, but you do know that

18       there is not anything on it related to Bitcoin Fog; correct?

19       A.    Not that I saw.

20       Q.    Uh-huh.   And there is not a whiff on that RamNode VPS

21       service of anything related to shormint@hotmail.com is there?

22       A.    Not that I saw.

23       Q.    Uh-huh.   And the government put the RamNode VPS under

24       surveillance?

25       A.    From my memory, I don't recall.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 20 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                     20

1        Q.    Okay.   And now do you recall testifying I think when you

2        were testifying about the big foam chart where you were

3        following the flow of funds from Mr. Sterlingov's Mt. Gox

4        number 1 account, you know, through a long train.             Do you

5        recall testifying about that?

6        A.    I do.

7        Q.    Do you recall testifying about a Mt. Gox account number 2,

8        that was associated with an email NFS9000@hotmail.com?

9        A.    I do.

10       Q.    And nowhere on Mr. Sterlingov's password list going --

11       that goes back to 2008, does NFS9000@hotmail.com appear?

12       A.    That short-lived account is not on that list.

13       Q.    But it didn't appear at all?

14       A.    On that list, it --

15                   THE COURT:   I'm sorry.     Make sure you don't talk at

16       the same time.

17                   MR. EKELAND:    I'm sorry, Your Honor.

18                   THE COURT:   I don't know if he was done answering his

19       answer.

20                   THE WITNESS:    That email does not appear on that

21       document.

22       BY MR. EKELAND:

23       Q.    You executed a search warrant with Microsoft for that

24       email address?

25       A.    I don't recall if there was a search warrant for that
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 21 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    21

1        email address, but we did get legal process from Microsoft.

2        Q.    When I got legal process for the NFS9000@hotmail.com

3        account Mr. Sterlingov's name didn't appear anywhere in that

4        legal process?

5        A.    No.

6        Q.    And NFS9000 doesn't appear on any of the computers that

7        you seized from Mr. Sterlingov at LAX?

8        A.    It doesn't.

9        Q.    And it doesn't appear on the 3 terabytes worth of hard

10       drives you seized from Mr. Sterlingov at LAX?

11       A.    It doesn't.

12       Q.    And it doesn't appear on the thumb drives that you seized

13       from Mr. Sterlingov at LAX?

14       A.    No.

15       Q.    It doesn't appear on his Google Drive that you accessed,

16       Mr. Sterlingov's Google Drive, the NFS9000@hotmail.com doesn't

17       appear?

18       A.    I don't believe it does.

19       Q.    And NFS9000@hotmail.com is not mentioned anywhere in his

20       diary?

21       A.    I did not see it in his notes, no.

22       Q.    And his notes.     You say you didn't see it in his notes,

23       but did you see it in his diary?        Because you accessed his

24       diary as well; right?

25                   MR. BROWN:   Your Honor, argumentative.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 22 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    22

1                    THE COURT:   I think the witness earlier -- why don't

2        you ask him a foundation of whether he accessed something that

3        he regards to be the diary.

4        BY MR. EKELAND:

5        Q.    You reviewed Mr. Sterlingov's diary?

6        A.    I don't know if it was a diary or if it was just notes.

7        Q.    You reviewed everything that Mr. Sterlingov had written?

8        A.    I reviewed the notes.

9        Q.    And nowhere in it did the NFS9000@hotmail.com email

10       address appear?

11       A.    No.

12       Q.    All right.     And then --

13                   MR. BROWN:   Your Honor, could I ask that defense

14       counsel does not comment on answers with all right or okay.

15                   THE COURT:   Fair enough.

16                   MR. EKELAND:    Thank you, Your Honor.

17       BY MR. EKELAND:

18       Q.    And you are not aware of that email address coming up

19       during the Romanian's government's surveillance of the To the

20       Moon server?

21       A.    I don't know if there was surveillance, but, no, I am not

22       aware.

23       Q.    Uh-huh.   I'm sorry.    Just calling your attention to what

24       was on that same long trace that you testified to regarding

25       Mt. Gox account number 3.      Do you recall Mt. Gox account number
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 23 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    23

1        3?

2        A.    I do.   Kolbasa.

3        Q.    That was associated with the Kolbasa99@rambler.ru email

4        address?

5        A.    Correct.

6        Q.    And that email address, the Kolbasa99@rambler.ru, that

7        doesn't appear anywhere in Mr. Sterlingov's password list, does

8        it?

9        A.    It is not on the saved document.

10       Q.    It doesn't appear anywhere in his computers seized at Los

11       Angeles International Airport?

12       A.    No, it doesn't.

13       Q.    It doesn't appear anywhere on the 3 terabytes worth of

14       hard drives you seized from Mr. Sterlingov at Los Angeles

15       International Airport?

16       A.    I didn't see it there.

17       Q.    It didn't appear on his thumb drive that you seized at Los

18       Angeles International Airport?

19       A.    No.

20       Q.    It didn't appear on his Google Drive?

21       A.    That short-lived account also did not appear on his Google

22       Drive.

23       Q.    And it doesn't appear anywhere in his notes?

24       A.    No.

25       Q.    Are you familiar with what the government has been
     Case 1:21-cr-00399-RDM   Document 281    Filed 03/16/24   Page 24 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                     24

1        referring to as Mt. Gox account number 4?

2        A.    If you could remind me of it.

3        Q.    It is one that has been associated with

4        volf.prius@hotmail.com?

5        A.    I am familiar with it.        I didn't testify to it, but I am

6        familiar with it.

7        Q.    You are familiar with that.        And you also are aware that

8        the volf.prius@hotmail.com password, does not appear on

9        Mr. Sterlingov's password list, does it?

10       A.    No, it does not.

11       Q.    And doesn't appear anywhere on his computers?

12       A.    No.

13       Q.    And it doesn't appear on his hard drives?

14       A.    Again, that short-lived account did not appear on his hard

15       drives.

16       Q.    But Mr. Sterlingov did have short-lived accounts on his

17       password list, didn't he?

18       A.    You could show me.

19       Q.    Do you know?

20       A.    Right now I am not recalling which one --

21       Q.    But you didn't see that email address --

22                   MR. BROWN:   Your Honor, could we let the witness

23       finish his answers before we launch into the next question,

24       please.

25                   THE COURT:   Yes.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 25 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    25

1        BY MR. EKELAND:

2        Q.    And you didn't see that email address, the

3        volf.prius@hotmail.com on his thumb drives?

4        A.    I did not.

5        Q.    On his Google Drive?

6        A.    I did not.

7        Q.    And anywhere in his notes?

8        A.    I did not.

9        Q.    As a matter of fact, you don't have a single piece of

10       evidence on Mr. Sterlingov's devices or anything that you

11       seized from him at LAX or anywhere else showing him ever

12       operating Bitcoin Fog?

13       A.    Again, I testified to, I believe, a significant amount of

14       evidence in my direct.

15       Q.    And none of that quote/unquote significant amount of

16       evidence shows Mr. Sterlingov operating Bitcoin Fog?

17       A.    I don't know if I see it that way.

18       Q.    Point to one thing if you could then.

19                  MR. BROWN:    Your Honor, asked and answered.

20                  THE COURT:    So I think that there may be a question

21       of ambiguity in your question.       If you are asking the witness

22       whether there is any evidence, he has been examined on that and

23       the jury can draw whatever inferences or conclusions they want

24       from that.    If you are asking is there evidence of him, you

25       know, of a picture of him operating it or at some point in time
     Case 1:21-cr-00399-RDM    Document 281   Filed 03/16/24   Page 26 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                     26

1        where you can point at him and say, there he is operating it,

2        that is just a different question.         I think you need to be

3        clear about the question you are raising.

4                     MR. EKELAND:    I think the jury has sufficient

5        information, Your Honor, and I will move on.

6        BY MR. EKELAND:

7        Q.    So, Agent Rovensky, the government did work with Swedish

8        law enforcement?

9        A.    Yes.

10       Q.    And as far as you are aware, Swedish law enforcement never

11       interviewed Mr. Sterlingov?

12       A.    So there was -- for a long stretch, this investigation was

13       covert, right.       And it didn't become overt until Mr. Sterlingov

14       was charged and arrested in the US.

15       Q.    So I am correct to understand that Swedish law enforcement

16       never interviewed Mr. Sterlingov?

17       A.    No.

18       Q.    And you never interviewed Mr. Sterlingov before his

19       arrest, did you?

20       A.    I wasn't even on the case.

21       Q.    And Swedish law enforcement never interviewed

22       Mr. Sterlingov's mother?

23       A.    No.

24       Q.    And you didn't interview Mr. Sterlingov's mother?

25       A.    I did not.
     Case 1:21-cr-00399-RDM   Document 281     Filed 03/16/24   Page 27 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                         27

1        Q.    And Swedish law enforcement never interviewed any of

2        Mr. Sterlingov's friends?

3        A.    They did interview two of his coworkers at CapO.

4        Q.    And that was after his arrest wasn't it?

5        A.    Yes.

6        Q.    And they said nothing about Bitcoin Fog; right?

7                     THE COURT:   Hold on a second here.         You can pick up

8        the phone if you want.      It seems to me that sounds like you are

9        calling for hearsay here.       But if you want to come to the

10       phone.

11                    MR. EKELAND:   I didn't hear the government object.

12                    MR. BROWN:   I object on hearsay and we are now far,

13       far afield from the scope of direct.

14                    MR. EKELAND:   I am asking him about the scope of his

15       investigation and the government has spent two days --

16                    THE COURT:   No.   No.    I am still back on the question

17       of -- just it sounds like a classic call for hearsay.                   If there

18       is some reason it is not hearsay, I would be happy to hear from

19       you all on the phone otherwise.

20                    MR. EKELAND:   Effect on the listener.          I am wondering

21       what kind of effect the government -- the government's

22       investigation.

23                    THE COURT:   That is hearsay.

24                    MR. EKELAND:   Are you sustaining?

25                    THE COURT:   Yes, that is hearsay.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 28 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    28

1                    MR. EKELAND:    Moving on.

2        BY MR. EKELAND:

3        Q.    You never interviewed any of Mr. Sterlingov's friends?

4        A.    No.

5                    MR. BROWN:   Asked and answered.

6                    THE WITNESS:    No.

7        BY MR. EKELAND:

8        Q.    And Swedish law enforcement never interviewed any of

9        Mr. Sterlingov's employers before?

10                   MR. BROWN:   Your Honor, at this point I am going to

11       object that we are out of the scope of direct.

12                   MR. EKELAND:    Your Honor, they put in information

13       related to --

14                   THE COURT:   I will allow this, but then maybe if we

15       could move on after this question.

16       BY MR. EKELAND:

17       Q.    So I am going to repeat the question.          Swedish law

18       enforcement never interviewed any of Mr. Sterlingov's employers

19       before his arrest?

20       A.    Before his arrest, no.

21       Q.    Can you name me his employers?

22       A.    CapO was where he worked from -- before he left because,

23       obviously, Bitcoin Fog was up and running.

24       Q.    When did Mr. Sterlingov work at CapO Marknaos

25       Communication?
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 29 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    29

1        A.    I think from 2010 to 2014, around there.

2        Q.    The United States government did ask Swedish law

3        enforcement to put Mr. Sterlingov under surveillance?

4                   MR. BROWN:    I believe this is asked and answered,

5        Your Honor.

6                   THE COURT:    Overruled.

7                   THE WITNESS:     So, again, I wasn't on the case at that

8        point.    There may have been surveillance.          I haven't reviewed

9        reports of surveillance.

10                  MR. EKELAND:     Ms. Wilkins, if I could get what is in

11       evidence as Government Exhibit Exhibit 313 up on the screen.

12                  MR. BROWN:    Your Honor, Exhibit 313 which was the

13       only exhibit that was admitted, which is a physical chart, we

14       can bring that up to the witness.

15                  MR. EKELAND:     I'd rather use it on the digital

16       screen.   I don't need the physical chart.           Thank you,

17       Mr. Brown.

18                  MR. BROWN:    The digital screen has not been admitted.

19                  THE COURT:    You can move for its admission if you

20       like.

21                  MR. EKELAND:     I would move for the admission of what

22       is Government Exhibit 313 digitally, which I understand is the

23       same as what the government put on the flow chart.

24                  THE COURT:    Any objection to that?

25                  MR. BROWN:    No, Your Honor.      The digital vision is
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 30 of 125
                           CROSS-EXAMINATION OF MR. ROVENSKY                   30

1        now labeled 313A, as in alpha, so if we could admit it that

2        way.   We have no objection.

3                      THE COURT:   So 313A is admitted and may be published

4        to the jury.

5                      (Whereupon, Exhibit No. 313A was admitted.)
6                      MR. EKELAND:   Can we publish to the jury?

7                      THE COURTROOM DEPUTY:    As soon as it comes up, I will

8        publish it.

9        BY MR. EKELAND:

10       Q.     Can you see that?

11       A.     Yes.    So parts of it are cut off.      It would be better for

12       this one to see full screen.

13       Q.     Okay.    It will take a second, but I can --

14                     MR. BROWN:   Your Honor, we can pull this up on the

15       government computer or Ms. De Falco can pull it up.

16                     MR. EKELAND:   Ms. De Falco, I would appreciate that.

17       Thank you.

18       BY MR. EKELAND:

19       Q.     Mr. Rovensky, can you see that?

20       A.     I can.

21       Q.     And this is the same exhibit that you testified to that

22       was on a big foam board in front of the jury the other day?

23       A.     It is.   This is the transaction that registered

24       Bitcoin.com domain with High Hosting.

25       Q.     And I would just would like to take you through this, the
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 31 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                     31

1        flow of funds here.       So right here we have got Mr. Sterlingov's

2        Mt. Gox account number 1?

3        A.    Correct.

4        Q.    And that is the Mt. Gox account that Mr. Sterlingov KYCed?

5        A.    It is.

6        Q.    That is the Mt. Gox account that there is a password for

7        in his password list?

8        A.    Yes.

9        Q.    Now, we see the funds are leaving Mt. Gox account number

10       1.   And they are going to this Bitcoin address over here.             The

11       government doesn't have the private key to that Bitcoin

12       address, does it?

13       A.    No.

14       Q.    And that means that the government doesn't know who

15       controls that Bitcoin address?

16                    MR. BROWN:    Objection; calls for speculation.          And I

17       would point out to the defendant's 702 objection on this point.

18                    MR. EKELAND:   Your Honor, they put him up on the

19       stand and testified to this tracing and they have opened the

20       door to this.

21                    THE COURT:    I think what we agreed though at your

22       request was that he would testify just with respect to the flow

23       of the funds and not beyond that.        You leave the other issues

24       for other witnesses.

25                    MR. EKELAND:   Very well, Your Honor.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 32 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    32

1        BY MR. EKELAND:

2        Q.    Now you see how the flow of funds on October 19th, 2011

3        goes to another Bitcoin address?

4        A.    I do.

5        Q.    And the government doesn't have the private key to that

6        Bitcoin address?

7                     MR. BROWN:   Objection, Your Honor.

8                     THE COURT:   I will allow that question.

9                     THE WITNESS:   No.

10       BY MR. EKELAND:

11       Q.    Now, the funds flow to a Mt. Gox account number 2, over

12       here, and that is the Mt. Gox account NFS9000@hotmail.com that

13       you just testified to?

14       A.    Yes.

15       Q.    And that is the one that doesn't appear anywhere in

16       Mr. Sterlingov's password list?

17       A.    Correct.

18       Q.    And that is the one that doesn't appear anywhere in any of

19       the devices or anything seized from Mr. Sterlingov at Los

20       Angeles International Airport?

21                    MR. BROWN:   Your Honor, I believe these questions

22       have already been asked and answered by the witness.

23                    THE COURT:   Sustained.

24       BY MR. EKELAND:

25       Q.    And then you see at the bottom here under Mt. Gox account
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 33 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    33

1        2 here, you see it is generating a redemption code; right?

2        A.    Yes.

3        Q.    That is a redemption code for 36 -- I can't see 36 or --

4        35 Bitcoin.    You are aware that Mt. Gox had two types of

5        redemption codes, one for Bitcoin and one for US dollars?

6        A.    You could do both of those.       They also do that for Euros I

7        believe.

8        Q.    And then the funds for this redemption code gets redeemed

9        by Mt. Gox account number 3, the Kolbasa99@rambler.ru that you

10       just testified about?

11       A.    Right.

12       Q.    And that account converts it with a redemption code into

13       US dollars.    That is down in the bottom there?

14       A.    Correct.

15       Q.    And then, on October 20th, it sends $80 to Aurum Xchange?

16       A.    Right.

17       Q.    And right here?

18       A.    Yes.

19       Q.    But that is not --

20                    MR. BROWN:   Objection.    Misstates the evidence and

21       the record.

22                    THE WITNESS:   So it is -- Aurum Xchange was a service

23       with accounts on both Mt. Gox and Liberty Reserve.             They are a

24       service that executed orders for clients.

25       BY MR. EKELAND:
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 34 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    34

1        Q.    Right.   And they would redeem Mt. Gox redemption codes,

2        that is one of the things that Aurum Xchange specialized in?

3        A.    Correct.

4        Q.    You could redeem their codes for US dollars and convert

5        them into Liberty Reserve dollars?

6        A.    On behalf of their clients.

7        Q.    That Aurum Xchange account is not Mr. Sterlingov's Aurum

8        Xchange account; correct?

9        A.    It is Aurum Xchange's account.

10       Q.    Right.   It is Aurum Xchange's account.         But there is

11       nothing in this flow of transactions that identifies

12       Mr. Sterlingov in any way at all with that Aurum Xchange

13       redemption of the whatever it is, the $80 going from Mt. Gox

14       account number 3?

15       A.    So this flow of transactions happened extremely close in

16       time with a specific purpose.       It is really a one-layer

17       transaction with a specific purpose.

18       Q.    But there is nothing -- there is nothing in that Aurum

19       Xchange account right there in this transaction, that

20       identifies it as having anything to do with Mr. Sterlingov?

21       A.    By the time it got to Aurum Xchange it had been separated

22       from Mr. Sterlingov's Mt. Gox account that is in his true name.

23       Q.    That is your testimony that what you are saying there with

24       that answer is that Aurum Xchange transaction right there, you

25       have got nothing there to identify it as having to do with
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 35 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                      35

1        Mr. Sterlingov?

2                    MR. BROWN:   Asked and answered.

3                    THE COURT:   I will allow this one.

4                    THE WITNESS:    Other than what I just said about how

5        close in time this was all executed, it would have taken

6        incredible coordination for more than one person.             But the

7        Aurum Xchange records do not have -- in this transaction do not

8        have Mr. Sterlingov's name.

9        BY MR. EKELAND:

10       Q.    And you are referencing --

11                   THE COURT:   Counsel, can you go to the telephone for

12       just a second please?

13                   (Conference held at the bench.)

14                   THE COURT:   Make sure you are not too close to the

15       microphone there.

16                   I didn't want to say anything about this in front of

17       the jury.    There is a lot of body language in the examination.

18       And, you know, it is not necessarily showing up on the record.

19       I think I sustained an objection to argumentative because there

20       were like air quotes.      And there is -- you know, turning to the

21       jury making facial expressions to the jury with respect to, you

22       know, answers you like or don't like, during your

23       examination -- I just ask that you just ask your questions and

24       not sort of turn to the jury with body language, you know, you

25       are communicating or expressing views to the jury as you are
     Case 1:21-cr-00399-RDM   Document 281    Filed 03/16/24   Page 36 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                          36

1        asking your questions.      Let the questions and answers speak for

2        themselves.

3                     It doesn't seem to be working.

4                     Okay.   You got it.

5                     (End of bench conference.)

6        BY MR. EKELAND:

7        Q.    You mentioned temporal proximity I believe when you were

8        talking about the Aurum Xchange transaction just now?

9        A.    Correct.

10       Q.    And you read Akemashite Omedetou's posts where he talks

11       about -- he or she talks about the necessity of spreading out

12       transactions over time so that you can't be identified.                    Do you

13       recall that?

14       A.    That post was for the purpose of mixing, for the purpose

15       of how best for a user trying to launder their funds to go

16       about mixing.

17       Q.    And after the Aurum Xchange, you have an arrow going to

18       Liberty Reserve account.      Do you see that down there?

19       A.    Yes.

20       Q.    And that is the Shormint Liberty Reserve account that you

21       just testified about?

22       A.    It is.

23       Q.    We can take 313A down.        Thank you, Ms. de Falco.           I

24       appreciate that.

25             And you recall testifying I think it was yesterday about
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 37 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    37

1        the www.BitcoinFog.com clearnet DNS registration at

2        highhosting.net?

3        A.    I did.

4        Q.    Do you recall seeing the documents that went into evidence

5        saying that highhosting.net was charging the

6        shormint@hotmail.com registration that was done in Akemashite

7        Omedetou's name $2 a month for some services?

8        A.    For hosting, yes.

9        Q.    And there is no evidence in any of Mr. Sterlingov's

10       devices, his hard drives and his notes, anywhere, of

11       Mr. Sterlingov paying that $2 a month?

12       A.    No.

13       Q.    And you recall testifying about evidence that came in

14       regarding the transfer of the BitcoinFog.com clearnet name to

15       another hosting service called internet.BScorp?

16                   MR. BROWN:   Objection.     I believe this misstates the

17       record.

18                   Would it be helpful to pull up an exhibit?

19                   MR. EKELAND:    It is Exhibit 502H, which I believe is

20       in evidence.

21                   THE COURTROOM DEPUTY:      I'm sorry.     502?

22                   MR. EKELAND:    H, as in Harry.

23                   THE COURTROOM DEPUTY:      Who is pulling it up?

24                   MR. EKELAND:    Ms. de Falco.     Thank you.

25       BY MR. EKELAND:
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24    Page 38 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                     38

1        Q.    Mr. Rovensky, if you could review that quickly?

2        A.    I am familiar with this.

3        Q.    That is essentially an email from Reseller Club Sales team

4        to the highhosting.net saying they have received a request to

5        transfer the Bitcoin.com clearnet site to new register

6        internet.BSCorp.     Am I reading that right?

7        A.    Yes.   This is a request for transferring BitcoinFog.com.

8        Q.    And we see the customer details and that says Akemashite

9        Omedetou and there is a Japanese address and then the email is

10       listed as shormint@hotmail.com?

11       A.    I see that.

12       Q.    And, once again, there is nothing in any of

13       Mr. Sterlingov's devices, his hard drives, his thumb drives,

14       his notes, the Google Drive you accessed or anything else you

15       seized from Mr. Sterlingov at LAX or anywhere else in any of

16       your searches of anything of Mr. Sterlingov or the surveillance

17       of referencing internet.BS in relation to the BitcoinFog.com

18       clearnet site?

19       A.    Is your question about internet.BS?

20       Q.    My question is about the BitcoinFog.com clearnet site,

21       there is nothing in Mr. Sterlingov's records anywhere related

22       to that; correct?

23       A.    I am misunderstanding the question.            I'm sorry.

24       Q.    That is okay.    We can move on.      We can take 502H down.

25       Thank you.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 39 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    39

1              And do you recall that the clearnet -- the BitcoinFog.com

2        clearnet site moved to a hosting service called HostGator?

3        A.    HostGator.

4        Q.    Yeah, HostGator?

5        A.    I don't think I testified to that yesterday.            Maybe there

6        is a document that will --

7        Q.    You can't recall one way or the other.

8              Do you recall the --

9                     MR. BROWN:   Your Honor, was that a question?

10                    MR. EKELAND:   I asked him if he didn't recall one

11       anyway or the other.

12       BY MR. EKELAND:

13       Q.    Do you recall whether or not it moved to HostGator?

14       A.    I don't recall.

15       Q.    Do you recall the invoices that were moved into evidence I

16       think yesterday from the Orange website DNS hosting related to

17       Bitcoin Fog?

18       A.    I do.

19       Q.    And do you recall that there were invoices for extending

20       the DNS registration of -- through 2026?

21       A.    Yes.    They were in the defendant's shormint@hotmail.com

22       account.

23       Q.    And, once again, there is nothing related to that Orange

24       website DNS hosting for BitcoinFog.com, and any of

25       Mr. Sterlingov's devices, notes, hard drives, thumb drives,
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 40 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    40

1        Google Drive and everything else that we have been discussing

2        like that?

3        A.    No.

4        Q.    And that was actually paid for, that Orange DNS

5        registration was actually paid for by the Shormint PayPal

6        account?

7        A.    You will have to show me a document.           I'm sorry.

8        Q.    We can move on.

9              And then do you recall testifying, I believe it was

10       yesterday, about someone named Andrew Bitcoiner's email

11       exchange with Akemashite Omedetou's shormint@hotmail.com email

12       account?

13       A.    Yes.

14       Q.    And that email for Andrew Bitcoiner, that was the

15       invalid@gmail.com email address?

16       A.    Yes.

17       Q.    And that belonged to someone named Andrew White?

18       A.    Yes.   Correct.

19       Q.    And Andrew White ran a service called Bitcoin

20       cleaners.com; is that correct?

21       A.    I have seen like open source information that name is

22       associated with Andrew White, but that is as much as I know

23       about it.

24       Q.    But Mr. White was heavily involved with Bitcoin in 2011?

25       A.    He appeared to be.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 41 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    41

1        Q.    And the subject matter of those emails where Mr. White was

2        talking to Akemashite Omedetou through Mr. Omedetou's

3        shormint@hotmail.com account, they were talking about Mr. White

4        buying Bitcoin Fog?

5        A.    There was a conversation about that.           And I think from the

6        communications I read, it was clear that Akemashite Omedetou

7        ultimately decided not to sell it.

8        Q.    But you don't know for sure if that ever happened or not?

9                     MR. BROWN:   Calls for speculation, Your Honor.

10                    MR. EKELAND:   I am asking whether he knows if the

11       sale happened.

12                    THE COURT:   You can ask that question.

13       BY MR. EKELAND:

14       Q.    Do you know if the sale ever happened?

15       A.    I can only look at the conversation.           And the conversation

16       concluded with the sale not happening.

17       Q.    Did the government interview Mr. White?

18       A.    There was an attempt.

19       Q.    The government attempted to talk to Mr. White?

20       A.    Yes.

21       Q.    But the government never actually managed to talk to

22       Mr. White?

23       A.    He refused.

24       Q.    He refused.    And the government didn't pursue it further?

25       A.    There was a couple of attempts made, but he did not -- he
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 42 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    42

1        would not meet.

2        Q.    And Mr. White lives in California; is that right?

3        A.    No.

4        Q.    Do you know where Mr. White lives?

5        A.    I don't know where he is living right now.           When the

6        attempts were made, it was in Missouri.

7        Q.    Have you ever attempted to access the BitcoinFog.onion

8        site?

9        A.    Yes.

10       Q.    What was the last time you did that?

11                    MR. BROWN:   Objection.    This is outside the scope of

12       direct.

13                    MR. EKELAND:   I am asking about the scope of his

14       investigation, Your Honor, this --

15                    THE COURT:   Overruled.    I will allow this.       We'll see

16       how far we get on this.      I will allow that.

17                    THE WITNESS:   To the best of my recollection, maybe

18       one year ago, maybe less.

19       BY MR. EKELAND:

20       Q.    Uh-huh.   Was it operational?

21       A.    No.

22       Q.    Uh-huh.

23                    MR. BROWN:   Your Honor, could we have defense counsel

24       not comment audibly or not audibly after the witness' answers

25       please.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 43 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                    43

1                   THE COURT:    Yes.

2        BY MR. EKELAND:

3        Q.    Are you aware that there is a clearnet site called Bitcoin

4        Fog.site as of two days ago was still operational?

5        A.    That could be.

6        Q.    And are you aware that that clearnet site points to an

7        onion site that purports to be Bitcoin Fog?

8        A.    It could purport to be, but the administrator of Bitcoin

9        Fog was very clear in his posts of where you could find the

10       real onion site.     Because there were imposters.         There were

11       scammers who were trying to execute cyberattacks by pretending

12       to be Bitcoin Fog.     So Akemashite Omedetou repeatedly on the

13       clearnet site, BitcoinFog.com, and also on Bitcoin Talk warned

14       against these scams and pointed to the right way to access

15       Bitcoin Fog.

16       Q.    But you also recall Akemashite Omedetou saying -- and that

17       the BitcoinFog.onion address changed often?

18       A.    Often?   No.

19       Q.    Well, it --

20       A.    It did not change often.

21       Q.    But it did change?

22       A.    At one point, it changed.

23       Q.    It changed more than once, didn't it?

24       A.    I don't know if it changed more than once.           But I know

25       when it did change, that I testified to, the administrator of
     Case 1:21-cr-00399-RDM   Document 281    Filed 03/16/24   Page 44 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                     44

1        Bitcoin Fog was very clear to communicate that.

2        Q.    When you say administrator of Bitcoin Fog, you mean

3        Akemashite Omedetou?

4        A.    I do.

5        Q.    You have no way of knowing whether or not the onion site

6        that is currently operating as Bitcoin Fog -- claiming to be

7        Bitcoin Fog whether that is actually Bitcoin Fog or not?

8                    MR. BROWN:   Your Honor --

9                    THE COURT:   Yeah.

10                   MR. BROWN:   This calls for speculation.           The witness

11       has testified he doesn't know what defense counsel is talking

12       about with this site.

13                   THE COURT:   Sustained.

14                   I will also remind the jury that the questions from

15       counsel are not evidence.      And the evidence is when the witness

16       has an answer to the question.

17       BY MR. EKELAND:

18       Q.    Mr. Rovensky, you testified that you spoke Russian?

19       A.    I do.

20       Q.    That doesn't mean you are a criminal, does it?

21       A.    No.

22                   MR. EKELAND:    No further questions.

23                   THE COURT:   Okay.      Redirect?

24                   MR. BROWN:   The Court's indulgence.

25                   THE COURT:   Okay.
     Case 1:21-cr-00399-RDM   Document 281    Filed 03/16/24   Page 45 of 125
                          CROSS-EXAMINATION OF MR. ROVENSKY                     45

1                   MR. BROWN:    No redirect, Your Honor.

2                   THE COURT:    Okay.      The witness is excused.       Thank

3        you.

4                   And the government may call its next witness.

5                   MR. BROWN:    The government calls Duncan Townsend.

6                   MR. PEARLMAN:     Your Honor, could I have one minute

7        of -- the Court's indulgence.

8                   THE COURT:    Okay.      Is it just one minute?

9                   MR. PEARLMAN:     I think so.

10                  THE COURT:    I didn't know whether we should take a

11       break or not, but if it is one minute, that is fine.

12                  MR. PEARLMAN:     I don't think it will take more.

13                  THE COURT:    Okay.

14                  MR. BROWN:    And this should not last very long, Your

15       Honor.

16                  THE COURT:    Feel free to stand up and stretch if you

17       like.

18                  (Pause.)

19                  MR. BROWN:    Your Honor, he is just coming from

20       another floor, but --

21                  THE COURT:    Okay.      No worries.

22                  MR. BROWN:    We could also take a break now, either

23       way.

24                  THE COURT:    How long do you think the testimony is

25       going to take?
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 46 of 125
                          DIRECT EXAMINATION OF MR. TOWNSEND                   46

1                    MR. BROWN:   Maybe 15, 20 minutes for direct.

2                    THE COURT:   I think we are going to break today for

3        lunch today at 11:30.      So maybe it just as convenient now to

4        take the break now, if --

5                    Oh, here is the other witness.

6                    So then we'll break right after this witness and then

7        have a short session before lunch.

8                    MR. BROWN:   Yes, Your Honor.

9                               DUNCAN TOWNSEND, sworn.

10                   THE WITNESS:    Yes.

11                   THE COURTROOM DEPUTY:      Thank you.     Please be seated.

12                                  DIRECT EXAMINATION

13       BY MR. BROWN:

14       Q.    Good morning, Mr. Townsend.

15       A.    Good morning.

16       Q.    Could you please introduce yourself to the jury, spelling

17       your full first and last name?

18       A.    My name is Duncan Townsend.       I am a software engineer in

19       De-Fi.   I have -- and many years ago, I wrote a Bitcoin mixer

20       with a superficial resemblance to Bitcoin Fog.

21       Q.    And could you also spell your first and last name?

22       A.    My first name is Duncan, D-U-N-C-A-N; and my last name is

23       Townsend, T-O-W-N-S-E-N-D.

24       Q.    And, Mr. Townsend, going back to the spring of 2011, where

25       were you?
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 47 of 125
                          DIRECT EXAMINATION OF MR. TOWNSEND                   47

1        A.    I was a undergraduate student at MIT.

2        Q.    What were you majoring in?

3        A.    Software engineering -- computer science and electrical

4        engineering.

5        Q.    And in 2011, at some point did you create a

6        Bitcoin-related website?

7        A.    Yes.   I wrote a website BlindBitcoin.com.

8        Q.    When did you write that website approximately?

9        A.    It would have been like May, June of that year.

10       Q.    And what was Blind Bitcoin?

11       A.    So it was based on David Chaum's blind digital cash

12       scheme.     Essentially you could deposit Bitcoin, receive a

13       coupon, cash in the coupon, get the Bitcoin back.             But then the

14       scheme was designed such that the issuer of the coupon could

15       not know the deposit that created the coupon.

16       Q.    And is that -- is that or is that not what you might call

17       a mixer or a tumbler?

18       A.    It absolutely is.

19       Q.    And did you advertise Blind Bitcoin at the time?

20       A.    No.    As I was actually discovered by some enterprising

21       individuals before I was ready to launch it.           People started

22       using it and then I said, well, I suppose I should tell people

23       that it exists and posted a thread on BitcoinTalk.org.

24       Q.    What was BitcoinTalk.org?

25       A.    So a fairly major -- or at the time the major internet
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 48 of 125
                          DIRECT EXAMINATION OF MR. TOWNSEND                   48

1        forum for discussing cryptocurrencies, which at the time was

2        just Bitcoin -- cryptocurrency-related services, the

3        developments therein.

4        Q.    And did you post under a name or a moniker of some sort?

5        A.    I used the same handle that I had at MIT, which was

6        DuncanT.

7        Q.    And were you open about your identity on Bitcoin Talk?

8        A.    Yes.    I posted my full name and that was a student at MIT.

9        Q.    Now, after you launched Blind Bitcoin, was there

10       discussion about Blind Bitcoin on Bitcoin Talk?

11       A.    Yeah.    There was some criticism of my design in the

12       respect that it was -- there was a centralized issuing

13       authority who could conceivably run off with all of the money.

14       And I was encouraged to design something better, a design that

15       later resembled things like CoinJoin, which I didn't implement

16       because I shut the website down.

17       Q.    At some point, did you consult with a lawyer?

18       A.    I did.   I asked an attorney if it was illegal to run

19       BlindBitcoin.com and the best answer that I got was that it

20       probably wasn't money laundering because Bitcoin isn't money.

21       Q.    And on the Bitcoin Talk forum, was there some discussion

22       about the legality of running a website like this?

23       A.    Yeah.    A bunch of people suggested it was unnecessarily

24       legally risky.

25       Q.    And if I could direct your attention to Exhibit 22, which
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 49 of 125
                          DIRECT EXAMINATION OF MR. TOWNSEND                     49

1        I believe was admitted under Mr. Rovensky's testimony.                And

2        scrolling up to the very top of this for a second, do you

3        recognize this exhibit?

4        A.    Yeah.   That is the post that I made after people started

5        using the service.

6        Q.    If we just scroll down really quickly.          What is the whole

7        document here?

8        A.    That is the thread on BitcoinTalk.org about

9        BlindBitcoin.com.

10       Q.    Now, if I could direct your attention to post number 27.

11       Do you see post number 27 here?

12       A.    Yep.

13       Q.    Could you just read out the first sentence of that post

14       and -- well, actually before that, who is making the post 27.

15       Is that you or somebody else?

16       A.    That is definitely not me.

17       Q.    Could you read that first sentence in post 27?

18       A.    "I would suggest consulting on the record with a lawyer

19       who has significant professional standing to lose."

20       Q.    Could we scroll down to post 29.        And, again, is post 29 a

21       post that you did or somebody else?

22       A.    That is somebody else.

23       Q.    And then, could you read the first sentence of what that

24       poster said?

25       A.    "I agree this is really dumb from a liability perspective
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 50 of 125
                          DIRECT EXAMINATION OF MR. TOWNSEND                   50

1        and you are asking for trouble, IMO."

2        Q.    So by the end of July of 2011, had you decided anything in

3        particular with respect to Blind Bitcoin?

4        A.    Yeah.    I shut the website down.      At least initially I left

5        it open whether I was going to bring it back.            I never brought

6        it back.   It never seemed like a good idea to do.

7        Q.    If I could direct your attention to post 35, please.            And

8        post 35, is this your post or somebody else's?

9        A.    That is mine.

10       Q.    And if I could just ask you to read post 35 into the

11       record.

12       A.    "Scratch that on the business resuming.          I have decided

13       that the liability of running a site like this is just too

14       great and the monetary benefit is too small.           I will continue

15       to honor unredeemed tokens and existing scheduled payouts.             I

16       will not be accepting new transactions.          If anyone wants to

17       carry on this site, I can help you get everything up and

18       running.   Duncan."

19       Q.    And did you end up selling the site to somebody else?

20       A.    I did not.

21       Q.    Now, did Bitcoin Talk have a private message function?

22       A.    It did.

23       Q.    And were you able to send and receive private messages

24       with other Bitcoin Talk users?

25       A.    I was.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 51 of 125
                          DIRECT EXAMINATION OF MR. TOWNSEND                   51

1        Q.    And did you receive any private messages asking about

2        Blind Bitcoin?

3        A.    I did.

4        Q.    So I would like to direct your attention to Exhibit 15,

5        which has been previously been admitted and specifically

6        message 115161.      And to begin with, Mr. Townsend, the

7        formatting may be different, but do you recognize what this is?

8        A.    I do.

9        Q.    And what is shown on the screen here?

10       A.    This is the top of the screen is a message that I received

11       on BitcoinTalk.org as a private direct message about asking to

12       take over BlindBitcoin.com.

13       Q.    Where it says recipients and there are two bullets -- but

14       do you recognize what is under one of those bullets?

15       A.    Yeah, that is my username, Duncan T.

16       Q.    And do you have an independent recollection of receiving

17       this message?

18       A.    I don't remember it, but I have my own records that I

19       trust implicitly that say that I received this message.

20       Q.    And scrolling down to -- I believe it is message 116334.

21       Now looking at the full text of this message.            Do you --

22       looking at the body of this message, do you recognize this

23       message?

24       A.    I discussed it with you previously, but I have no

25       independent recollection of this message.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 52 of 125
                          DIRECT EXAMINATION OF MR. TOWNSEND                   52

1        Q.    And then looking at the format of the body, it appears

2        there is a quoted section.      And then there is further text

3        below.   Does the quoted section -- does that match the message

4        that we just looked at?

5        A.    Yes.

6        Q.    That was sent to you.

7              And then looking at the text below, I just want to walk

8        through a few details.      Is there a reference to an MIT email

9        address?

10       A.    Yes.

11       Q.    And what is that MIT email address?

12       A.    Duncan@mit.edu.

13       Q.    Was that your MIT email address?

14       A.    Yes.

15       Q.    Do you recognize the reference to IRC?

16       A.    Yeah.   That is internet relay chat, just a chat protocol

17       that I used extensively at the time.

18       Q.    If this was in October of 2011, what would you have been

19       doing with your time in 2011?

20       A.    Studying computer science.

21       Q.    And did you check your email account frequently?

22       A.    Extensively, yes.

23       Q.    Do you have any reason to doubt that this is than

24       authentic message that was sent from your account?

25       A.    No.    It certainly sounds like something I would send and I
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 53 of 125
                          DIRECT EXAMINATION OF MR. TOWNSEND                    53

1        definitely sent many messages similar to this in response to

2        similar inquiries.

3        Q.    And could I ask you to just read the lower part of this

4        body from the word "Hi" and then going into the next paragraph,

5        please?

6        A.    "Hi.   Sorry for taking so long to get back to you.             The

7        semester has just gotten into full swing and I have had no time

8        for myself.    I have not handed over the site to anybody yet.              I

9        don't really have any sort of IM client, but I check my email

10       every 5 minutes or thereabouts, so that is probably the best

11       way to get ahold of me.      DuncanT@mit.edu.        I am moderately

12       comfortable with IRC, if you prefer that."

13       Q.    To the best of your recollection, did you have any further

14       contact with Killdozer?

15       A.    No.

16                    MR. BROWN:   No further questions.

17                    THE COURT:   All right.    Mr. Ekeland.

18                                  CROSS-EXAMINATION

19       BY MR. EKELAND:

20       Q.    I think you said in the spring of 2011, you were at MIT?

21       A.    Yes, I was.

22       Q.    And that is when you became interested in Bitcoin?

23       A.    Yep.

24       Q.    And you said you started Blind Bitcoin around then; is

25       that right?
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24    Page 54 of 125
                          DIRECT EXAMINATION OF MR. TOWNSEND                    54

1        A.    Yeah.   I had learned about RSA, Chaumian blind signing,

2        Bitcoin seemed like an obvious marriage.

3        Q.    You said Blind Bitcoin was a mixer?

4        A.    Yes.

5        Q.    And you created your Blind Bitcoin mixer to launder money?

6        A.    It was really a demonstration of my technical skills.

7        Q.    But -- so you did create it to launder money?

8        A.    No, I did not.

9        Q.    You said that it -- I just -- you said it leaked or

10       somehow other people found out about it.             How did that happen?

11       A.    I never advertised, posted about it anywhere.             I presume

12       somebody checked Whois records or certificate transparency,

13       found out about the domain, investigated it further, decided it

14       was a useful service.       I presume that there is private chat

15       somewhere where it got around through word of mouth, but that

16       is pure speculation.

17       Q.    But so people started using it?

18       A.    Yes.

19       Q.    And at first you didn't know that people were using it?

20       A.    No.    I had logs.    I knew that people were using it.

21       Q.    You kept logs?

22       A.    Yeah.

23                    MR. BROWN:    Objection.   Can we not have comments on

24       the witness' answers, please.

25                    MR. EKELAND:   Okay.   I was just confirming.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 55 of 125
                          DIRECT EXAMINATION OF MR. TOWNSEND                   55

1        Absolutely, Your Honor.

2        BY MR. EKELAND:

3        Q.     And was the Blind Bitcoin mixer source code, was that open

4        source?

5        A.     The source was available, yes.

6        Q.     So anybody could access the source code to it?

7        A.     Yes.

8        Q.     And you also said on Bitcoin Talk that if people wanted to

9        get the source code from you, they should just reach out to

10       you?

11       A.     Yeah.   At some point, I had taken the source code down off

12       the web server or stopped updating it.          I forget exactly when

13       that was.

14       Q.     But anybody who wanted to get the source code from you

15       could get it?

16       A.     Yes.

17       Q.     And people did come to you for the source code?

18       A.     Yes, they did.

19       Q.     But you don't have any record of Mr. Sterlingov getting

20       the source code from you?

21       A.     I have no record of that, no.

22       Q.     And the government asked you to search your records?

23       A.     Yes.

24       Q.     And nothing came up?

25       A.     Nothing came up.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 56 of 125
                          DIRECT EXAMINATION OF MR. TOWNSEND                   56

1                     MR. EKELAND:   No further questions, Your Honor.

2                     THE COURT:   All right.    Any redirect?

3                                  REDIRECT EXAMINATION

4        BY MR. BROWN:

5        Q.    Mr. Townsend, did you use your true name openly in setting

6        up Blind Bitcoin?

7        A.    Yes.

8        Q.    And did you advertise Blind Bitcoin as a way to avoid the

9        authorities?

10       A.    Not that I recall, but it has been a really long time.

11       Q.    And did you advertise that Blind Bitcoin would never

12       cooperate with the authorities?

13       A.    No, certainly not.

14                    MR. BROWN:   No further questions.

15                    THE COURT:   All right.    You are excused.       Thank you.

16                    And members of the jury, let's just take a short

17       break, because we are going to take our lunch break at 11:30 so

18       let's just take a short bathroom break and we'll come back at

19       10 minutes to 11:00.      And please don't discuss the case even

20       amongst yourselves or do any research.

21                    (Jury out at 10:40 a.m.)

22                    THE COURT:   All right.    Anything before the quick

23       break?

24                    MR. BROWN:   No, Your Honor.

25                    MR. EKELAND:   No, Your Honor.
     Case 1:21-cr-00399-RDM   Document 281   Filed 03/16/24   Page 57 of 125
                          DIRECT EXAMINATION OF MR. TOWNSEND                   57

1                   THE COURT:    All right.     I will see you back shortly.

2                   Just before we go, I -- just before we go -- I'm

3        sorry.   Mr. Ekeland, before we go, I know that it is -- you are

4        not even thinking as you are doing it, Mr. Ekeland, with

5        respect to commenting on the answers.         And it is -- you are not

6        even conscious of it.      But if you can try and be careful about

7        that.    I don't think you are doing it intentionally, but I know

8        it is happening.

9                   MR. EKELAND:     I am not, but I will put that filter

10       in.

11                  THE COURT:    All right.     Thank you.

12                  (Recess taken at 10:41 a.m.)

13                  THE COURT:    So the juror who had the appointment at

14       11:30 does not have it today after all.          We still have it on

15       Mondays going forward.      So we can go a little bit longer.         I

16       think we will maybe go until 12:15.         I don't want to go all of

17       the way until 12:30 because that is a long stretch for the

18       court reporter.

19                  You can get the jury.

20                  (Jury in at 10:56 a.m.)

21                  THE COURT:    All right.     And the government may call

22       its next witness.

23                  MS. PELKER:     Thank you, Your Honor.        The government

24       calls Mr. Luke Scholl.

25                  THE COURT:    Okay.
     Case 1:21-cr-00399-RDM   Document 281    Filed 03/16/24   Page 58 of 125
                          DIRECT EXAMINATION OF MR. TOWNSEND                    58

1                                 LUKE SCHOLL, sworn.

2                   MR. EKELAND:     Your Honor, can we --

3                   THE COURT:    Yes.

4                   (Conference held at the bench.)

5                   MR. EKELAND:     Just because the Daubert issue, because

6        the defense has an outstanding Daubert motion in relation to

7        Mr. Scholl.    If the Court could rule on it and put on the

8        record its decision as to whether or not he is qualified as an

9        expert, what he is qualified to testify to.

10                  THE COURT:    Yeah.      So I didn't realize that he was

11       taking the stand now or I would have done this during the break

12       or prior to this.     It is seems to me that the only question at

13       all with respect to him -- and I am not sure whether the motion

14       even extends beyond this is whether the Chainalysis reactor is

15       sufficiently reliable to clear the Daubert hurdle.              And I am

16       going to get you a more complete opinion on this.              I have spent

17       a lot of time thinking about the question.            And I am convinced

18       that it is sufficiently reliable.         And I can give you more.          As

19       I said, I can and will give you more detail with respect to my

20       conclusion with respect to this.

21                  But there are the three heuristics.            I am not sure

22       whether heuristic 3 comes into play at all with respect to this

23       witness.   If it does, it is only sort of a marginal issue.             And

24       with respect to heuristic 1, I think even although I understand

25       that you are no longer offering her as an expert, even your
     Case 1:21-cr-00399-RDM    Document 281    Filed 03/16/24   Page 59 of 125
                          DIRECT EXAMINATION OF MR. TOWNSEND                     59

1        expert I think didn't have fundamental disagreements with the

2        methodology with respect to heuristic 1.

3                   So it was really heuristic 2 was the issue, in which

4        I provided to the defense and ensure the defendants received

5        the details with respect to that heuristic.             And I think that

6        in many ways, this is -- just a sophisticated form of following

7        a money trail.       And I understand that it is a particularly

8        sophisticated way to do it where there are some assumptions

9        which are grounds for fair cross-examination on the issue.               And

10       one of the things that -- and the reasons why I was persuaded

11       that it is appropriate in this case -- and I have other reasons

12       which I will get into detail about.           But one of the reasons I

13       concluded that it was appropriate in this case is this is not a

14       case in which the analysis is directly, for example,

15       implicating Mr. Sterlingov.          And it is done at a much grosser

16       level in which it is -- it doesn't need to, at least as offered

17       in this case, offer, you know, absolute precision.               So if it

18       were right, you know, only 90 percent of the time or only

19       80 percent of the time, I think it would still be valuable for

20       offering the evidence that the government is seeking to offer

21       it for.

22                  And what I do have in front of me, although as you

23       made the point, many, many times, is there may not be a sort of

24       peer-reviewed study or a study that has given us an actual

25       error rate.    I do have evidence in front of me with respect to
     Case 1:21-cr-00399-RDM     Document 281    Filed 03/16/24   Page 60 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                    60

1        the reliability of Reactor, as it has been used in law

2        enforcement for many, many thousands of subpoenas, as I

3        understand or thousands of subpoenas over time and which there

4        is a natural check in that those who have testified at a

5        Daubert hearing with respect to this have indicated to me that

6        they are not aware of any incidents in which the results were

7        incorrect.

8                   And so given the extensive evidence that is in front

9        of me and given the fact that is not being used for the

10       precision of saying that this particular one transaction is

11       necessarily what it reports to be, but it is being used at a

12       more general -- given the evidence that even the previous

13       defense expert didn't have fundamental disagreement with

14       respect to the heuristic 1.           And I understand there are

15       CoinJoin issues and that is, again, fair ground for

16       cross-examination.       I conclude that it is appropriate to rely

17       on the Chainalysis Reactor.           But as I said, I am going to get

18       you a more detailed opinion on this issue.              I just didn't

19       realize the witness was going to be taking the stand today.

20                  MR. EKELAND:       Thank you, Your Honor.

21                  (End of bench conference.)

22                                  LUKE SCHOLL, sworn.

23                  THE WITNESS:       I do.

24                  THE COURTROOM DEPUTY:          Thank you.     Please be seated.

25                  THE COURT:      You may proceed.
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 61 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   61

1                                    DIRECT EXAMINATION

2        BY MS. PELKER:

3        Q.     Mr. Scholl, could you please state and spell your name for

4        the record?

5        A.     My name is Luke Scholl; L-U-K-E, S-C-H-O-L-L.

6        Q.     Mr. Scholl, where do you work?

7        A.     I work at the Federal Bureau of Investigation.

8        Q.     What is your current assignment?

9        A.     I am a staff operation specialist assigned to an

10       intelligence squad in Newark division.

11       Q.     Can you please briefly describe your educational

12       background?

13       A.     I have a bachelor degree in optics from the University of

14       Rochester and a master's degree in cybersecurity from Stevens

15       Institute of Technology.

16       Q.     Where did you work between graduating college and getting

17       your master's in cybersecurity?

18       A.     I worked at the United States Navy.

19       Q.     What was your role there?

20       A.     I was a submarine officer.

21       Q.     When did you join the FBI?

22       A.     I started as an intern in 2014 while competing my master's

23       degree and started full time in 2015.

24       Q.     Were you recently on a special detail assignment for the

25       FBI?
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 62 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   62

1        A.    Yes, ma'am.

2        Q.    Could you tell us about that?

3        A.    I was on a joint duty assignment detailed to the National

4        Cryptocurrency Enforcement Team at the Department of Justice.

5        Q.    What is the National Cryptocurrency Enforcement Team?

6        A.    It is a group of prosecutors and an analyst that

7        specialize in cryptocurrency law and investigations.

8        Q.    What did your work on the National Cryptocurrency

9        Enforcement Team entail?

10       A.    Case support work, consulting, reviewing legislation,

11       mostly case support.

12       Q.    Were you selected for that team because of your

13       cryptocurrency tracing experience at FBI?

14       A.    Yes, ma'am.

15       Q.    How long have you been working cases involving

16       cryptocurrency?

17       A.    Since I joined the FBI in 2015.

18       Q.    Are you also a member of the FBI's virtual currency

19       response team?

20       A.    Yes, ma'am, I am.

21       Q.    What is the virtual currency response team?

22       A.    The FBI's virtual currency response team is a group of

23       cryptocurrency subject matter experts from all over the FBI

24       that have volunteered to support cryptocurrency investigations

25       that are on different squads across the bureau.              So you could
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 63 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   63

1        be working from Newark in supporting a case in Houston, for

2        example.

3        Q.    Do you have experience searching for and seizing

4        cryptocurrency?

5        A.    Yes, ma'am, I do.

6        Q.    What does that involve?

7        A.    I mean, it involves a logical investigation, often

8        receiving a search warrant that might be for a Gmail account or

9        where a seed phrase or wallet identifiers are found.               Or it

10       might involve a physical search where you are locating wallets

11       on devices or hardware wallets at a residence or something

12       depending on the warrant search warrant.

13       Q.    Are you also certified by the FBI to conduct online

14       undercover work?

15       A.    Yes, ma'am, I am.

16       Q.    Does that certification require additional specialized

17       training?

18       A.    Yes, ma'am.      I have attended two specialized trainings for

19       online covert activity with the Bureau.

20       Q.    Do you have experience doing undercover work involving

21       cryptocurrency and the darknet?

22       A.    Yes, ma'am.      I have engaged online covert activity in

23       involving Bitcoin transactions, sending funds, making

24       purchases, those sorts of things.

25       Q.    Without getting into anything sensitive, could you explain
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 64 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   64

1        generally what you would do as an online undercover?

2        A.    Most of my work as an online undercover employee has been

3        fairly transactional.        There is something being sold, usually

4        on the dark web or through some forum communication, somebody

5        is posting an offer to buy something.           And I'd reach out

6        purporting to be an individual interested engaging in the

7        solicit activity or having the solicit thing and arranging to

8        purchase that with cryptocurrencies.           And then finalizing the

9        purchase and receiving whatever goods that was purchasing for

10       evidence.

11       Q.    Does that work involve actually doing cryptocurrency

12       transactions while looking as though you are a cybercriminal?

13       A.    Yes, ma'am.

14       Q.    Now, you mentioned earlier that you have been working on

15       cryptocurrency cases with the FBI since 2015.              Can you tell us

16       a bit about your early work in cryptocurrency for the FBI?

17       A.    Yes, ma'am.      The first investigation that I was involved

18       in that involved virtual cryptocurrency was a darknet market

19       investigation.       The goal there, again, was to engage as an

20       online undercover to make evidentiary purchases of hacking

21       tools and other indications of cybercriminal activity on that

22       forum.   Shortly thereafter, FBI cybersquads essentially stopped

23       working darknet market investigations and focused on computer

24       intrusion hacking cases.

25       Q.    Are those some of the cases you continue to work on using
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 65 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   65

1        your cryptocurrency experience?

2        A.    Yes, ma'am, they are.

3        Q.    Could you speak a bit what the investigative day to day

4        would look like for you on a case?

5                   MR. EKELAND:       Objection, Your Honor; relevance.

6                   MS. PELKER:       I think it is very relevant to establish

7        what the testifying witness' background and experience is here

8        and to explain -- he is about to explain a lot of

9        cryptocurrency concepts to the jury.           We have a right to lay a

10       foundation of why he knows those concepts.

11                  THE COURT:      Go ahead.

12                  Do you want to pick up?

13                  MR. EKELAND:       Yes.

14                  (Conference held at the bench.)

15                  MR. EKELAND:       Your Honor, what -- the defense would

16       just like to get clear just on what exactly Mr. Scholl is being

17       offered as an expert in.        Because it is not clear to me that --

18       first of all, we had a Daubert hearing.            The Court has

19       recognized him as an expert.          And now we are hearing about his

20       day to day his -- I don't understand why this is necessary at

21       all if he already has been recognized as an expert by the

22       Court.

23                  THE COURT:      I think the government does still need to

24       carry its burden with the jury of convincing the jury he is an

25       expert, even though the Court is admitting him as an expert or
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 66 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                    66

1        whether they -- the jury may not need to make that legal

2        conclusion, but it goes to the credibility or believability of

3        the witness' testimony what their experience and background is.

4                   MR. EKELAND:       But it is my understanding that he is

5        being offered as an expert in the tracing in this case.                 And he

6        didn't do any of the undercover transactions.              So what I am

7        concerned with here is that we are just going outside the scope

8        of what is necessary in terms of what is necessary to lay the

9        foundation with the jury for him as an expert.

10                  THE COURT:      Ms. Pelker.

11                  MS. PELKER:       So he is about to speak in the

12       investigative day to day, not to the undercover activity, but

13       about the tracing.       That said, the fact that he has validated

14       his undercover transactions using his blockchain analysis goes

15       to his validation and why he is so confident in these tools and

16       his experience in tracing.

17                  THE COURT:      I am going to go ahead and allow it.           My

18       only concern is making sure that he is not getting into what he

19       did in other cases in a particular level that is not relevant

20       here that could in any way be prejudicial.             Okay?

21                  MR. BROWN:      Yes.

22                  MS. PELKER:       Yes, Your Honor.

23                  MR. EKELAND:       Thank you, Your Honor.

24                  (End of bench conference.)

25                  THE COURT:      You may proceed.
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 67 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                       67

1        BY MS. PELKER:

2        Q.    Mr. Scholl, without speaking to the details of any

3        particular case, could you speak a bit to what the

4        investigative day to day looks like for you on a case?

5        A.    Without speaking to the details --

6        Q.    Of any particular case.         You can speak generally about

7        what you do on a case.

8        A.    I work a lot of ransomware investigations.             So a typical

9        day might be investigating a specific victim payment.                   A

10       ransomware investigation -- a cybercriminal attacks a victim

11       company, encrypts all of their computers.              And then extorts

12       them for a ransom payment in Bitcoin.           I do a lot of collecting

13       those ransom payment addresses and following funds forward to

14       see where they are deposited, where the money goes from there.

15       It can be reviewing evidence, so just search warrant returns

16       from email providers, lots of just -- yeah, lots of logical

17       investigative steps around identifying cryptocurrency

18       investigation and then tracing funds forward and backward.

19       Q.    Have you received training related to virtual currency and

20       blockchain analysis?

21       A.    Yes, ma'am, I have.

22       Q.    Can you speak a bit to what that involved?

23       A.    I received a lot of training from the FBI and am a part of

24       not only the virtual currency response team, but also the

25       virtual currency evolving threat working group.              Both of those
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 68 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   68

1        have monthly calls where updates and training are provided.                  I

2        have taken virtual academy classes, our online training portal

3        on virtual currency.       I have received training from outside

4        private sector companies, been to multiple government

5        conferences, symposiums discussing cryptocurrency tracing.

6        Yes, ma'am.

7        Q.    Do you hold certifications in blockchain analysis?

8        A.    I do.   I hold several certifications from Chainalysis

9        including cryptocurrency fundamentals, a reactor certification,

10       reactor investigative specialist, I think it is called,

11       Ethereum tracing from Chainalysis, as well as similar

12       certifications from TRM, cryptocurrency fundamental-type

13       certification and investigator-type certification and advance

14       investigator certification.

15       Q.    What are Chainalysis Reactor and TRM?

16       A.    So Chainalysis Reactor is blockchain analysis software

17       that we use on a daily basis.         It is used by the company

18       Chainalysis.    The software is called Reactor.            Sometimes you

19       will hear Chainalysis.        And TRM a competitor of Chainalysis,

20       also produces blockchain analysis software for investigators

21       and financial institutions that have AML, anti-money laundering

22       responsibilities to review their customer's transactions.

23       Q.    Do you have an estimate roughly of how many training hours

24       you have received in blockchain analysis?

25       A.    I believe we added up just the certification course hours
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 69 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   69

1        is 80, but I would say hundreds of hours of training.

2        Q.    And in addition to receiving the training, do you also

3        give trainings and presentations on topics related to

4        cryptocurrency?

5        A.    Yes, ma'am, I do.       I provided training to FBI Newark as

6        well as other FBI divisions.          I provided training to local law

7        enforcement.    I have provided training to the US Attorney's

8        Offices.   I have even provided training to the FBI's own

9        virtual currency response team.

10       Q.    Do you have a very rough estimate of how many hours you

11       have spent on blockchain analysis or cryptocurrency-related

12       work?

13       A.    I mean, thousands of hours.         I have been doing this since

14       2015.   And today it is the majority of what I do.

15       Q.    Have you received awards from the FBI and DOJ for your

16       cryptocurrency tracing work?

17       A.    Yes, ma'am, I have.

18       Q.    Has your blockchain work been used to support search

19       warrants, arrest warrants and indictments?

20       A.    Yes, ma'am, as well as convictions.

21                  MS. PELKER:       Your Honor, the government would seek to

22       qualify Mr. Scholl in cryptocurrency and blockchain analysis.

23                  THE COURT:      All right.     I conclude that Mr. Scholl is

24       qualified to testify as an expert on blockchain analysis and

25       cryptocurrency.
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 70 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   70

1                    You may proceed.

2        BY MS. PELKER:

3        Q.    Mr. Scholl, we have heard a lot about this already, but

4        could you explain to the jury what is cryptocurrency or what is

5        virtual currency to start?

6        A.    A virtual currency is just an online payment system.              It

7        doesn't exist in the real world.          It has to be done on the

8        internet.

9        Q.    What is cryptocurrency specifically?

10       A.    Cryptocurrency is just a subset of virtual currency.              So

11       it is a virtual currency that is online only.              And what

12       distinguishes cryptocurrency from other virtual currencies is

13       that they are distributed, that the ledgers with all of the

14       transaction records, are contained on a blockchain, which is

15       just decentralized among different users and protected by

16       cryptography.    So cryptography is what secures Bitcoin

17       transactions and cryptocurrency transactions.

18       Q.    Are there multiple types of cryptocurrency?

19       A.    Yes, ma'am, there are.

20       Q.    What is one of the most popular?

21       A.    Bitcoin is the most common.

22       Q.    If I want to buy Bitcoin, where could I get it?

23       A.    You could create an account in an exchange and buy Bitcoin

24       from an exchange.       There are other methods.        You can

25       potentially use an ATM.        There are Bitcoin ATMs where you could
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 71 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   71

1        insert cash and receive Bitcoin to your cryptocurrency address.

2        Q.    What is a Bitcoin exchange?

3        A.    A Bitcoin exchange is a like a bank for Bitcoin or

4        cryptocurrency.       It is a financial institution that maintains

5        accounts, allows you to purchase and sell and often trade

6        cryptocurrencies.

7        Q.    For a user what is the process like to set up an account

8        at an exchange?

9        A.    The process for setting up an account on an exchange is

10       very similar to setting up an account at a bank.              For a

11       regulated exchange you would be providing your name, your date

12       of birth, usually a government ID of some sort to validate your

13       identity and frequently a utility bill to prove your address,

14       your location.

15       Q.    And what payment methods can you use to buy Bitcoin at an

16       exchange?

17       A.    I think, most commonly you would be linking a bank

18       account.    And that is where, you know, providing your KYC

19       information comes in.        But you could pay with other

20       cryptocurrency to buy cryptocurrencies.            And there is lots of

21       exchanges out there that offer payments in different forms.

22       Q.    I think we are invoking the ire of the court reporter, if

23       we could both of us try to slow down.           Apologies.

24                   THE COURT:     If you could do your best, thank you.

25       BY MS. PELKER:
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24    Page 72 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                      72

1        Q.    Is there a set price to buy one Bitcoin?

2        A.    No, ma'am.      The price of Bitcoin fluctuates.

3        Q.    And what is one Bitcoin worth today, approximately?

4        A.    It is approaching fifty -- it is fifty something thousand

5        dollars.    I didn't look this morning.

6        Q.    Once someone has Bitcoin, can they store those funds on an

7        account with the exchange?

8        A.    Yes, ma'am, they can in some cases.              Because exchanges

9        offer custodial wallet services where they would maintain your

10       funds for you.       You log into your account, you see how much is

11       there.   But you don't actually have the keys, the private keys

12       for that Bitcoin.       You can't spend them, other than by logging

13       into the exchange and making a payment or a withdrawal through

14       them.

15       Q.    Is there a real world equivalent to that?

16       A.    It is just like a bank.         The bank holds your money, so can

17       the exchange.

18       Q.    Are there other ways that users can store their Bitcoin if

19       they don't want to keep it on an exchange?

20       A.    Yes, ma'am, there are.

21       Q.    And what is that?

22       A.    Users can host their own wallets.           A wallet is just an

23       application you can download to a mobile device or your

24       computer.    It is a software application and it stores your

25       Bitcoin, the private key and your address essentially.                   There
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 73 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   73

1        is many forms of wallets.        Wallets could also not be a software

2        application, a piece of hardware, like a USB device that is

3        designed to be a cryptocurrency wallet or even printing out

4        private keys on pieces of paper.

5        Q.    What is a Bitcoin address?

6        A.    A Bitcoin address is a string of random numbers and

7        letters that acts like an account number.              A Bitcoin address is

8        a public identifier that is just like an account number.

9        Q.    Can you explain what a private key is in relation to a

10       Bitcoin address?

11       A.    Yes, ma'am.      So each address on the Bitcoin blockchain has

12       a corresponding private key where you need to sign a

13       transaction that is spending Bitcoin from that address with a

14       private key.    It is what allows you to unlock funds in a

15       Bitcoin address.

16       Q.    Can you spend money from a Bitcoin address without the

17       private key?

18       A.    No, ma'am.

19       Q.    And where is that private key generally stored?

20       A.    It would be stored on your wallet application.

21       Q.    And does each Bitcoin wallet hold just one address and

22       private key?

23       A.    No.   No, ma'am.     Most Bitcoin wallets -- a wallet could,

24       but most Bitcoin wallets contain multiple addresses.

25       Q.    Can someone use their own wallet to send Bitcoin to
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 74 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   74

1        another person?

2        A.    Yes, they could.

3        Q.    Do Bitcoin transactions get recorded somewhere?

4        A.    They do.   They get recorded on the Bitcoin blockchain.

5        Q.    Can you explain -- we have heard about this a bit, but

6        what is the blockchain?

7        A.    The blockchain is just a long ledger of all of the Bitcoin

8        transactions that have ever happened from 2009 until right now.

9        The Bitcoin blockchain contains all of the valid Bitcoin

10       transactions.

11       Q.    Mr. Scholl, did you prepare a series or help to prepare a

12       series of visuals that explain Bitcoin transactions?

13       A.    I did.

14       Q.    I am showing you Exhibit 307.         Do you recognize it?

15       A.    Yes, ma'am.

16       Q.    Is this the PowerPoint that you assisted in preparing?

17       A.    Yes, ma'am, it is.

18       Q.    And would these visuals help the jury to understand your

19       testimony?

20       A.    Yes, ma'am.

21                  MS. PELKER:       Government seeks to publish Exhibit 307

22       as a demonstrative.

23                  THE COURT:      Any objection?

24                  MR. EKELAND:       No objection, Your Honor.

25                  THE COURT:      Exhibit 307 can be published as a
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 75 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                      75

1        demonstrative.

2        BY MS. PELKER:

3        Q.    If we can go ahead and put this in present.             Thank you

4        very much.

5              Mr. Scholl, directing your attention to slide 1.                  Can you

6        explain what is shown on the screen?

7        A.    Yes, ma'am.      This is an example of a Bitcoin wallet.             We

8        are calling it Bob's wallet here.          This wallet currently has

9        three Bitcoin addresses that hold different amounts of Bitcoin.

10       So the Bitcoin address starting with 1Btu73Y currently holds 2

11       Bitcoin.   And another Bitcoin address starting with 1PyT5F3t

12       holding 3 Bitcoin and another address starting with 1FSE9Y6

13       holding 1.5 Bitcoin.

14       Q.    Now, if Bob wants to send funds from his wallet to another

15       user, so here Alice, what is the first thing he needs?

16       A.    The first thing that Bob would need to send funds to Alice

17       is Alice's address, Alice's Bitcoin address.

18       Q.    And how does Alice get a Bitcoin address?

19       A.    So Alice would have to have a wallet software or some sort

20       of Bitcoin wallet.       And that wallet would provide her with an

21       address to receive funds.        And she would provide that address

22       here, 1YuR38j.       I can underline to that word.

23       Q.    You should be able to draw on the screen.             You might have

24       to tap the top corner.

25       A.    I don't know what is going on.
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 76 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   76

1              I knew I was going to struggle with this.

2                   MS. PELKER:       Ms. Walker, we can go through without

3        it.

4        BY MS. PELKER:

5        Q.    And, Mr. Scholl, can you just describe the place on the

6        screen that you would be circling?

7                   MS. PELKER:       We can work on it at lunch.         It is not

8        essential.

9                   Thank you, Ms. Walker.

10                  THE WITNESS:       So Alice would have to provide the

11       first step in Bob sending funds to Alice would be Alice

12       creating an address for Bob to send the funds to and then

13       providing that address to Bob.

14       BY MS. PELKER:

15       Q.    And what will Bob do now?

16       A.    Bob would open his Bitcoin wallet application and he would

17       copy and paste the address he has received from Alice into a

18       withdrawal that he is going to send.           So he'll paste the

19       address that he would like to withdraw to and type in the

20       amount that he wants to send to this address, in this case 1.5

21       Bitcoin.

22       Q.    What happens next in Bob's wallet?

23       A.    Bob's wallet will broadcast a transaction to the Bitcoin

24       network from Bitcoin address starting 1Btu73y and sending 1.5

25       Bitcoin to the address 1YuR38j.          And then it would sign that
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 77 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                      77

1        transaction with Bob's private key for the address 1Btu.

2        Q.    How is that transaction then recorded?

3        A.    That transaction is recorded on the Bitcoin blockchain.

4        So eventually it will be picked up by a mining node, a Bitcoin

5        miner.   That miner will validate that transaction, that is, he

6        will verify that those funds haven't been spent yet and Bob's

7        address does contain those funds and that the signature for

8        that address is correct.        And then it will be included in a

9        block on the Bitcoin blockchain.

10       Q.    Showing you this slide in front of you.            What is shown

11       here?

12       A.    This is raw transaction data for a Bitcoin transaction.

13       Q.    And can you explain the key information that is shown in

14       these boxes?

15       A.    Yes, ma'am.      At the top, we have transaction ID.              That

16       transaction is a unique identifier for this specific Bitcoin

17       transaction.    Below that in blue we have the input information.

18       This is a reference to an input address and amount specified by

19       previous Bitcoin transaction ID.          And then in the yellow, we

20       have the output information.          You see Vout.     The value, 25.4395

21       Bitcoin sending to the address 1CRm, the address starting with

22       1CRm.

23       Q.    What is shown here in this box at the bottom now?

24       A.    So this is just a summary of that relevant transaction

25       information that we would need to conduct blockchain analysis,
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 78 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                      78

1        the unique transaction hash, starting with e9521b in orange.

2        And the input address in blue, 1Bba, the amount of funds it is

3        sending 25.44.       That is an input to this transaction.              And then

4        in yellow the address it is sending to 1CRm and the amount it

5        is sending to that address 25.4395 Bitcoin.

6        Q.     Why does the amount drop there from 25.44 to 25.4395?

7        A.     So most Bitcoin transactions include a fee.            By and large

8        the vast minority of them are.         They don't have to include a

9        fee.   But that just incentivizes the blockchain miners to

10       include a transaction.        So any difference between the input

11       amounts and the output amounts is essentially a fee that gets

12       paid to the miner.       It incentivizes them to include your

13       transaction quickly essentially.

14       Q.     Does Alice's computer, the recipient computer, have to be

15       online for this transaction to go through?

16       A.     No, it does not have to be online.          Bob's computer is

17       going to be connected to the internet.            So Bob's computer has

18       to be online.    And when it sends that transaction to the

19       Bitcoin blockchain, the Bitcoin ledger, which is the

20       blockchain, is updated for this transaction.             Alice's wallet

21       doesn't have to be online.        The next time Alice's wallet

22       connects to the internet, it will check for transactions and

23       see that it received this payment.

24       Q.     So could you explain a bit more of this concept of the

25       blockchain?    Why is it called a blockchain, first of all?
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 79 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   79

1        A.    Yeah.   It is called a blockchain because the blocks are

2        sequential and they are linked together by cryptography

3        essentially.    So there is -- you know, block 8,002 or 80,002

4        comes after 80,001.       And the cryptography ensures there is a

5        link between those two transactions.           So it is a sequential

6        order of blocks.       It is a chain of blocks.

7        Q.    And how does this single transaction we see down in the

8        bottom box that we just looked at, how does that relate to the

9        structure of a single block?

10       A.    That one transaction would be included in a list of

11       potentially thousands of transactions that are included in a

12       single block.    And a block is created approximately every 10

13       minutes on the Bitcoin network.

14       Q.    Where is this blockchain with all of these transactions

15       stored?

16       A.    The blockchain is -- to the Bitcoin network is

17       decentralized.       Anyone can have a copy of the blockchain.          So

18       anyone running a full node wallet or a wallet that verifies

19       transactions has a copy of the Bitcoin blockchain.               It is also

20       publicly available to view on the internet at many different

21       block explorers.       So the answer is there is not one copy.          It

22       is a shared copy.       And then everybody can verify their copy is

23       correct through the cryptography built into the system.

24       Q.    So can every user look at the blockchain and the

25       transactions?
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 80 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                      80

1        A.    Yes, ma'am.

2        Q.    And is the blockchain constantly growing as more

3        transactions occur?

4        A.    Yes, ma'am.

5        Q.    Is there a real world analogy to the blockchain?

6        A.    It is just like the ledgers that your bank would keep.

7        They have to keep records of all the transactions for all of

8        the accounts in the bank.        And the blockchain keeps records for

9        all of the transactions on the Bitcoin network.

10       Q.    Is there a real world equivalent or a rough real world

11       equivalent to the information that is associated with each

12       Bitcoin transaction?

13       A.    Yes, ma'am.      We often use a check as an analogy for

14       information in a Bitcoin transaction.

15       Q.    I would like to have you walk through the different

16       features of a check and how they equate to information in a

17       Bitcoin transaction.       So, first, what is the Bitcoin equivalent

18       of an account number?

19       A.    The account number is like the input address.              On the

20       check this account is like the account sending funds.                   So it is

21       like the input address in a Bitcoin transaction.

22       Q.    And what is the equivalent of a pay to field?

23       A.    The pay to field would be the equivalent of the output

24       address.   This is who is receiving funds from this check.                 And

25       an output address is who is receiving funds from a Bitcoin
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 81 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   81

1        transaction.

2        Q.    And the equivalent of the amount?

3        A.    That would be the amount being sent to that output

4        address, very similar to Bitcoin transaction.

5        Q.    What about the signature line?

6        A.    There is a signature on a Bitcoin transaction that you

7        need that private key to make, just like there is a signature

8        on a check.    It is there to make sure that the person who is

9        spending those funds that is making the transaction has the

10       authority to spend those funds.

11             So this signature on the check is just like a signature on

12       a Bitcoin transaction that needs the private key.

13       Q.    And the check number?

14       A.    The check number is the unique identifier for a payment in

15       this account.    It is just like the transaction ID on Bitcoin.

16       Only different checking accounts could all have a check number

17       2400, whereas on the Bitcoin network all transaction IDs are

18       you unique.    You don't have to share them.           It is not like your

19       wallet has its own check numbers.          That transaction ID is

20       completely unique.

21       Q.    And the date?

22       A.    The date time stamp on your check -- in blockchain

23       analysis this isn't part of a transaction.             It is part of the

24       block.   The block that the transaction gets included has a time

25       stamp associated with it.        And the date time on the check would
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 82 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   82

1        be equivalent to the time stamp that is associated with the

2        block.

3        Q.    Does every transaction have just one input and one output?

4        A.    No, ma'am.      Bitcoin transactions can have multiple inputs

5        and multiple outputs.

6        Q.    Why would a transaction have more than one input?

7        A.    Transactions might have more than one input if Bob wanted

8        to send a larger amount of money than he had in any single

9        address, but had enough funds in multiple addresses to send to

10       Alice.   He could combine multiple addresses in one transaction

11       using multiple addresses and input to send the required amount

12       of funds to Alice.

13       Q.    Can you walk us through an example on this screen?

14       A.    Yes, ma'am.      So in this example, Bob owes Alice 4.5

15       Bitcoin.    You can see the addresses in Bob's wallet.             None of

16       them have 4.5 Bitcoin to send.         So Bob's wallet will pick which

17       addresses to combine as inputs to this transaction.               Again, the

18       first step is that Bob needs Alice's Bitcoin address to send

19       funds to.    So we have 1YuR here.        Bob would copy and paste that

20       address into his Bitcoin wallet, and then type in that he would

21       like to send 4.5 Bitcoin.        Bob's Bitcoin wallet would then

22       select two addresses that have the right amount of funds to

23       send to Alice.       And then broadcast the transaction to the

24       Bitcoin network.

25       Q.    So how would this transaction appear on the blockchain?
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 83 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                    83

1        A.    This would appear as a transaction with two inputs and one

2        output.

3        Q.    And what would that tell you about the inputs?

4        A.    That would tell me that the two input addresses belong

5        together, that they are controlled by the same entity, that

6        they belong to the same wallet because they co-spent, which

7        means just been used as inputs to the same transaction.                 And

8        the private keys for both of those addresses were needed at

9        that time.    So we would assess that 1Btu and 1Pyt belongs to

10       the same wallet.       There are some exceptions to the rule.

11       Q.    Why would a transaction have more than one output?

12       A.    Bitcoin transactions frequently have more than one output.

13       The most common reason is that the sender needs change for this

14       transaction.

15             So in this example that we have, Bob owes Alice 1 Bitcoin.

16       He doesn't have an address that has 1 Bitcoin.              Bob's wallet

17       needs to spend one of those Bitcoin address' inputs in its

18       entirety.    And so he is going to need change from this

19       transaction.

20       Q.    So what is his first step?

21       A.    The first step again is to receive Alice's Bitcoin

22       address.    And then his wallet -- he will paste that into his

23       wallet's withdrawal page where he wants to send the funds.                And

24       he will type in 1 Bitcoin.        At that point, when Bob creates

25       this transaction, his wallet will create not only the input,
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 84 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   84

1        but an output that will send change back to Bob.              So in this

2        case, we have an input of 1.5 Bitcoin.            He owed Alice 1, 1

3        Bitcoin output goes to 1YuR.          The other .5 Bitcoin goes to a

4        new address created in Bob's wallet by Bob's wallet software.

5        So you can see the .5, which is the remainder here, the change,

6        got sent to a new address in Bob's wallet.

7        Q.     How would this transaction appear on the blockchain?

8        A.     This transaction would appear as a transaction with one

9        input and two outputs.

10       Q.     How does this compare to real world activity?

11       A.     We often use the example of buying coffee with cash to

12       compare this analogy with change on the Bitcoin network.                So if

13       you had a $5 bill and you went in to buy a $4 cup of coffee,

14       you would have to spend the whole $5 bill.             You can't rip a 5th

15       of it and hand over a ripped-up bill to the cashier.               You have

16       to spend the whole bill and then get change.             So in this case,

17       you get the $4 coffee and $1 bill as change.             And in Bitcoin,

18       it works the same way with the exception of you don't have to

19       send -- you don't have to give the cashier all of the money up

20       front and wait for your money to come back.             You create your

21       change when you are making the transaction.             The sender creates

22       the change.    Otherwise, it is very similar.

23       Q.     Now, directing your attention to the slide in front of

24       you.   Is the same raw blockchain transaction information that

25       we saw on the earlier slide?
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 85 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                     85

1        A.    Yes, ma'am.

2        Q.    Would this type of record exist for every Bitcoin

3        transaction?

4        A.    Yes, ma'am.

5        Q.    As law enforcement, if this were a criminal transaction,

6        what can you do with the information on this slide?

7        A.    We can determine the source and destination of funds for

8        this transaction.       And then we could continue to look at the

9        next transaction, so the previous transactions on the Bitcoin

10       blockchain to follow the flow of funds forward and backward

11       depending on the context of the investigation.

12       Q.    Now, this may be a bit difficult without the ability to

13       circle.   It looks like I can circle.          I have great control

14       here.   Can you point us to the fields that we have been

15       describing as input?       And let me clear here.

16             And if you would tell me where to circle, I will attempt

17       to circle --

18       A.    So the input here is Vin.        And then transaction ID, Vout.

19       That is input information.

20       Q.    Have I circled the right place?

21       A.    Yes, ma'am.

22       Q.    Now, it might be a bit hard to see on the screen.                 Is that

23       a Bitcoin address listed in the input section?

24       A.    No, ma'am, it is not.

25       Q.    What is it?
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24    Page 86 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                     86

1        A.     That is a transaction ID.       Again, that is a unique

2        identifier for another Bitcoin transaction.

3        Q.     Why is it that it is a transaction ID that is listed here?

4        A.     Because it is referencing a previous output.              All Bitcoin

5        transactions -- all of the funds that are being spent in a

6        Bitcoin transaction are referenced to where that address

7        received those funds on the blockchain previously.                So in this

8        case, we are spending funds from one of the outputs, the number

9        1 output from transaction bfd3134.

10       Q.     So what do you have to do to figure out what the actual

11       input address is?

12       A.     I would have to go look at that transaction and find the

13       number 1 output, which is a little confusing because they are

14       actually indexed.       They start with zero.          So number 1 here

15       would actually be the second output from that transaction is

16       the funds that are being spent in this Bitcoin transaction.

17       Q.     So, as an example, could you remind us what the output of

18       the transaction currently showed on the screen was and I can --

19       if you tell me where to circle, I can circle?

20       A.     So the address is 1CRm.        And the value here is 25.4395.

21       And there is only one output.         So this would be index zero.             So

22       to spend funds from this output, I would reference this

23       transaction, which is up top, the e9521, all of the way at the

24       top.   I don't know if you want to -- yeah.             So my input would

25       be that transaction ID and the output address number zero,
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 87 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                    87

1        which is the first output and the only output in the specific

2        transaction.

3        Q.    And my left-handed drawing on the screen is not going

4        well, but can you summarize what we are talking about here of

5        what the input to that transaction would be?

6        A.    Yeah.   In summary, if I wanted to spend -- so this is a

7        transaction where 1CRm234 is receiving 25.4395 Bitcoin.                 And

8        the transaction is e9521b all of the way at the top.

9              Subsequently, when those funds are going to be spent, that

10       output to 1CRm will be referenced by this transaction ID at the

11       top and the output number zero because it is the first one.

12       Q.    So, Mr. Scholl, is reviewing even an otherwise simple

13       transaction by hand, in fact, a multi-step process?

14       A.    Yes, ma'am.      It could be tedious.

15       Q.    If you want to follow the money in one of your

16       investigations, do you hand review all of these text records?

17       A.    Not frequently.

18       Q.    Are there tools and software that make this easier?

19       A.    Yes, ma'am.

20       Q.    I am showing you this next slide.           Can you explain what

21       this is?

22       A.    This is a screenshot from the block explorer Mempool.space

23       showing the same transaction information.

24       Q.    Generally what is a block explorer?

25       A.    A block explorer is a tool that allows users to query the
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 88 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   88

1        Bitcoin blockchain.       You can search in the block explorer by

2        transaction hashes, which are the unique IDs or Bitcoin

3        addresses.    And it will pull up information on the Bitcoin

4        blockchain related to that transaction or addresses.

5        Q.    And what is the underlying data set that it is actually

6        querying from?

7        A.    It is querying the Bitcoin blockchain.

8        Q.    That is the same blockchain that everyone has access to?

9        A.    Yes, ma'am.

10       Q.    Now, is this just a zoomed in version of that same visual?

11       A.    Yes, it is.

12       Q.    Can you explain to the jury what is shown here?              And if

13       you tell me what to circle, I will do so.

14       A.    It is the same transaction we saw before.             So at the top,

15       there is the unique transaction ID, starting with e9521.                We

16       have the time stamp, right below that.            That time stamp is

17       2011-10-08.

18             I would note that that came from the block that this

19       transaction was included.        It is not included in the raw

20       transaction information.        And then below that, we have a

21       transaction with one input and one output.             The input address

22       to this transaction is the address starting 1Bba.               It is

23       spending -- its input here is 25.44 Bitcoin or BTC.               And then

24       we have the output addresses on the right, a single address

25       1CRm234.   And the amount that it is receiving, 25.4395 Bitcoin.
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 89 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                     89

1              And then below that there is some metadata about the

2        transaction.

3        Q.    And then showing you this next slide, I remind all of my

4        witnesses to clear it and I can't remember to clear it myself.

5        Showing you the next slide, what is shown here?

6        A.    This is that same transaction again as viewed in the

7        Chainalysis Reactor software.

8        Q.    And could you just walk through again what is shown?

9        A.    So on the left we have a graphical representation of a

10       node representing the address 1Bba with an arrow sending funds

11       in the amount of 25.4395 Bitcoin to the Bitcoin address 1CRm.

12       Q.    And your real world analysis, are you just looking at one

13       transaction at a time?

14       A.    Almost never.

15       Q.    And what is the benefit of using a blockchain analysis

16       tool like Chainalysis Reactor?

17       A.    The benefit is that you can -- I say there is really a

18       couple of benefits.       The benefit that it is graphical.             You can

19       have a graph with thousands of transactions on it and not have

20       to be flipping through page, after page, after page of a block

21       explorer.    You can lay it out in a graphical view so that you

22       can kind of see the flow of funds.          It is more intuitive.         That

23       is the first benefit.

24             Is there -- do you want me to --

25       Q.    You speak to all of the benefits.
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 90 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                       90

1        A.    The second benefit is that the tools provide attribution.

2        When you are reviewing the addresses on the Bitcoin blockchain,

3        they don't contain any attribution information.              So it won't

4        know if a Bitcoin address belongs to Coinbase or belongs to

5        Kraken, a place where I can send legal process.              These tools

6        have worked to identify addresses that belong to the exchanges.

7              The third thing is grouping of those Bitcoin addresses

8        into clusters or entities.        So a cluster is a group of

9        addresses that one of these tools has determined belonged to

10       the same entity usually by using the heuristics about

11       co-spending and other heuristics.

12             And the fourth thing is that they come with a lot of

13       analytical support tools.        So conversion between Bitcoin and US

14       dollars and totaling flows between two entities, things like

15       that.

16       Q.    How do you decide what tool to use?

17       A.    I always say right tool for the right job.             There is some

18       instances where I am going to be reviewing transactions step by

19       step.   In a block explorer, there is times where I am going to

20       choose Chainalysis, because I want to see the clustering that

21       Chainalysis does at graphing at the entity level.               There are

22       times when TRM might be a better fit when you want to see

23       really granular, you want to see address level tracing.                 I

24       would use TRM.       And the truth is that in most of my

25       investigations, I am using many of these tools all at the same
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 91 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   91

1        time for different purposes.          And that is true in this case in

2        this investigation.

3        Q.    We talked about this earlier, but can one person have more

4        than one Bitcoin address?

5        A.    Yes, ma'am.      One person can have many Bitcoin addresses.

6        Q.    In investigations can it be helpful to identify all of the

7        addresses that someone controls?

8        A.    That would be ideal.

9        Q.    Is one way to do that by looking at transaction patterns

10       on the blockchain?

11       A.    Yes, ma'am, it is.

12       Q.    Can you explain that a bit more?

13       A.    Yeah.   So when we are looking at transaction patterns on

14       the Bitcoin blockchain, we are using information about how

15       those addresses have been used previously on the Bitcoin

16       blockchain, looking for things like, that co-spend where I know

17       these two addresses belong together because, you know, they

18       were used as inputs to the same transaction.             There is other

19       things like, identifying change and following control forward

20       or if this is change for this address, then these two are

21       likely controlled by the same individual.              Or I know that this

22       is the pattern that my actor always does, I am looking for that

23       pattern while I am analyzing the transactions to see where

24       funds are going.

25       Q.    I am showing you slide 15.         Is this the co-spending
     Case 1:21-cr-00399-RDM     Document 281    Filed 03/16/24   Page 92 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                    92

1        transaction that we saw earlier?

2        A.    Yes, ma'am, it is.

3        Q.    And can you remind us what is happening here or what has

4        happened here?

5        A.    What has happened here is that Bob owed Alice 4.5 Bitcoin.

6        Alice provided her address.           Bob's wallet sent 4.5 Bitcoin from

7        two different Bitcoin addresses in the same transaction.

8        Q.    What would this tell you about 1BTu and 1Py?

9        A.    It would tell me that 1BTu and 1PyT belong to the same

10       wallet.

11       Q.    And is that sort of grouping that you are able to do

12       sometimes called clustering?

13       A.    Yes, ma'am, it is.

14       Q.    Would the third address in Bob's wallet here 1Fsev be

15       clustered at this point?

16       A.    If those -- if this was the only transaction that had

17       occurred with those addresses, no.           1Fsev has not co-spent with

18       1BTu or 1PyT.    So in Chainalysis, those would appear as two

19       separate clusters even though in this example we know the

20       addresses in Bob's wallet.        But as an investigator, you don't

21       get to see all of the addresses in Bob's wallet.               That is just

22       not how this is recorded on the blockchain.              So I'd just be

23       looking at this transaction.          I would know that 1BTu and 1PyT

24       belong together.       I wouldn't yet know necessarily that 1Fsev

25       belongs with these other two addresses without further
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 93 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   93

1        information.

2        Q.    Are there other types of patterns and behaviors that can

3        be used to cluster addresses together?

4        A.    Yes, ma'am.

5        Q.    Is part of blockchain analysis also studying those

6        patterns to be able to accurately cluster the addresses?

7        A.    Yes, ma'am.

8        Q.    Is that one of the topics that is covered in your

9        trainings and certifications in your work?

10       A.    It is.

11       Q.    What are some of the patterns and behaviors that you look

12       at?

13       A.    We look at change address identification and different

14       features.     We saw a little bit of -- I pointed out the metadata

15       in those transactions.        We are looking for transaction

16       behaviors.     If it is using certain features, like replace by

17       fee or lock time or even how it handles change, how much fees

18       it is paying, things like that.

19       Q.    Now, you tossed out a few phrases there.             Without getting

20       into anything overly technical, can you describe generally what

21       sort of things you are looking at and how it is used?

22       A.    Yeah.    We are looking at how these addresses are behaving.

23       We are looking at patterns in the blockchain, essentially.

24       Q.    And when you are doing that sort of behavioral analysis or

25       looking for patterns, are you looking at just one feature of a
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 94 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   94

1        transaction in a vacuum?

2        A.    No.   Multiple features and frequently many transactions.

3        Q.    So how would that sort of analysis apply to this

4        transactions on the screen?

5        A.    So, again, there is this co-spending happening here.              So

6        we would assess that 1BTu and 1PyT belong to the same wallet.

7        Q.    And would you then look at subsequent or earlier

8        transaction to try to get a more holistic picture of what else

9        is going on?

10       A.    Yes, ma'am.      We would look at all of the transaction

11       history for 1BTu73y and 1PyT53t.          So it is possible that there

12       was other transactions on the blockchain where one 1BTu was

13       co-spent with other address.          And so if I could find a

14       transaction where 1BTu co-spent with another address then I

15       would I know that all three addresses 1Btu, 1Pyt --

16                   THE REPORTER:      You have to slow down on those

17       addresses.

18                   THE WITNESS:      Yeah.

19                   If we could find another example of co-spending, I

20       could create a larger cluster identifying more addresses that

21       were controlled by the same wallet.

22       BY MS. PELKER:

23       Q.    For your work in law enforcement, are you intentionally

24       conservative when approaching your clustering?

25                   MR. EKELAND:      Objection.
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 95 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   95

1                   THE COURT:      I'm sorry?

2                   MR. EKELAND:       That is just vague and ambiguous.

3                   THE COURT:      You can ask the witness to --

4                   MS. PELKER:       I can rephrase.

5        BY MS. PELKER:

6        Q.    For law enforcement, what is your approach when

7        clustering?

8        A.    So I like to be conservative.         But I would point out that

9        most of the time, the clustering is done in these tools.                The

10       tools are providing that information about the clusters.                I am

11       making assessments that involve clusters, but I would say

12       generally the approach is conservative.            And the tools that we

13       use are conservative.        But there are times that I might make an

14       assessment and send a subpoena for something that I am being a

15       little bit -- I am not sure, but I think this might be the case

16       and I will send a subpoena, but general conservative

17       clustering.

18       Q.    And when you are doing the sort of attribution work or

19       preparing something for testimony in court, what is your

20       approach to how conservative you want to be in your tracing,

21       your clustering?

22       A.    I want to be conservative and I want to be clear about the

23       assessments that are made.

24       Q.    When you are observing activity on the blockchain is there

25       behavior or patterns that you take note of but that might not
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 96 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   96

1        cause you to immediately cluster something together?

2        A.    Yes.

3        Q.    And could you give an example of that?

4        A.    Change addresses are something that I don't generally

5        merge together when I am doing this analysis.              I leave all of

6        the change addresses out on the graph.            I try to organize my

7        graphs in such a way that I know I have reviewed it and assess

8        this is likely change but I haven't combined the clusters.

9        Q.    And if we could pull up Exhibit 324A, which has not yet

10       been admitted.

11             It should be 324A.       Thanks.

12             Mr. Scholl, do you recognize this?

13       A.    I do.

14       Q.    And what is it, generally?

15       A.    This is the depiction of a peel chain, a description of

16       what a peel chain is.

17       Q.    Would this be helpful to the jury in understanding your

18       testimony about peel chains?

19       A.    Yes, ma'am.

20                    MS. PELKER:     Government seeks to publish Exhibit 324A

21       as a demonstrative.

22                    THE COURT:    Any objection?

23                    MR. EKELAND:     No objection.

24                    THE COURT:    You may publish 324A as a demonstrative.

25       BY MS. PELKER:
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 97 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                    97

1        Q.    Mr. Scholl, can you explain what a peel chain is?

2        A.    Yes, ma'am.      A peel chain is a behavior and blockchain

3        analysis where one address with a relatively large amount of

4        funds, spends those funds in a transaction with a payment and

5        change.   So in this case address 1 has 100 Bitcoin.              It wants

6        to make a payment of 5 Bitcoin.          It sends change to change

7        address 1 of 95 Bitcoin.        And that is a transaction with one

8        input and two outputs.        Subsequently another transaction with

9        one input and two outputs, one being payment and one being

10       change occurs.       And funds are sent to change address 2.            This

11       pattern continues where there is a relatively large amount of

12       funds being spent in smaller sequential payments with change

13       going to the next address.        That is a peel chain.

14       Q.    What is your general approach to peel chains when you see

15       them come up in your tracing?

16       A.    My general approach is to note there is a peel chain

17       happening to identify which address is likely the change

18       address and which address is the payment address.               I tend to

19       keep them aligned horizontally on my graphs and I sometimes

20       color code them.

21       Q.    Now, we can take this down.         Did the blockchain records

22       themselves contain anyone's name or address?

23       A.    No, ma'am.

24       Q.    So how do you go about connecting a Bitcoin address to a

25       real person?
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 98 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   98

1        A.    The goal generally is to trace funds forward or backward

2        to exchanges that have KYC information for their customers.                  So

3        if a ransom payment goes to this address and then that address

4        sends funds into an exchange, I want to send a subpoena to that

5        exchange to see whose account at that exchange received funds.

6        Q.    In your investigations, do you often seek records from

7        exchanges in that way?

8        A.    Yes, ma'am, all of the time.

9        Q.    What type of information do you receive in response?

10       A.    We receive back in the subpoena response information about

11       the customers themselves, the name, date of birth, the place of

12       the residence, often government IDs of some sort to prove their

13       identity, as well as all of the transaction records for that

14       account, withdrawals, deposits, trades, things of that nature.

15       Q.    Are there laws requiring exchanges to collect that

16       information?

17       A.    Yes, there are.

18       Q.    Why is it important for law enforcement that exchanges do

19       collect that information?

20                  MR. EKELAND:       Objection; leading.

21                  THE COURT:      Overruled.

22                  THE WITNESS:       It allows law enforcement to

23       investigate crime and money laundering on cryptocurrency

24       blockchains.

25       BY MS. PELKER:
     Case 1:21-cr-00399-RDM     Document 281   Filed 03/16/24   Page 99 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   99

1        Q.    Can you give us a simple example of how his would play out

2        in an investigation of you tracing funds to an exchange?

3        A.    The most simple example from one of my cases involved a

4        victim company in New Jersey who had been the victim of a cyber

5        attack.   The FBI investigation revealed that a specific hacking

6        tool was used in that attack, a tool that had to be purchased.

7        The FBI obtained records from that tool provider and identified

8        the attack for that specific victim and saw that there was a

9        payment in Bitcoin for the use of that tool in this attack.                  I

10       conducted a very short blockchain analysis which showed that

11       the funds that made -- the funds that made the payment, they

12       came directly from Coinbase according to Chainalysis Reactor.

13       I sent a subpoena to Coinbase.         And Coinbase confirmed that the

14       transaction did, in fact, come from a Coinbase account and

15       provided me the account records for the subject of the

16       investigation, who subsequently plead guilty for that attack.

17       Q.    If you're following transactions on the blockchain, like

18       what you just described, how can you tell when they go to an

19       exchange?

20       A.    We generally rely on initial attribution from the tools.

21       And then, we get confirmation that the tool was accurate when

22       Coinbase says, yes, that is my account, just like Chainalysis

23       told you.    I am just using these as generic examples in this

24       case.

25       Q.    Does that happen frequently in your cases?
     Case 1:21-cr-00399-RDM    Document 281   Filed 03/16/24   Page 100 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   100

1        A.    All of the time.

2        Q.    Do your colleagues at FBI and other agencies also

3        regularly request and obtain records based on clustering from

4        Chainalysis and other tools?

5                    MR. EKELAND:     Objection, Your Honor.

6                    Can we speak on the phone?

7                    THE COURT:     Okay.

8                    (Conference held at the bench.)

9                    MR. EKELAND:     We object to this line of questioning.

10       Because as it was well established in the Daubert hearing,

11       there actually is no collection of data on the error rates.

12       This is completely one sided.         There is no baseline data.         I

13       just don't think this is an appropriate way.             It is

14       unscientific methodology that as we have been through all of

15       these points in the Daubert hearing.           I think it is sufficient

16       that the witness just testifies, okay, well, whatever we -- I

17       have sent out a subpoena before and corroborated.              But to start

18       getting into this kind of unscientific data collection process

19       for which there is no basis, we absolutely object to.

20                   THE COURT:     All right.    Response.

21                   MS. PELKER:     I don't think that he is testifying to a

22       data collection process.       He is testifying as to his practice

23       and the practice -- as an expert the practice of his colleagues

24       and why he is able to confidently rely on this data.

25                   THE COURT:     Okay.
     Case 1:21-cr-00399-RDM    Document 281   Filed 03/16/24   Page 101 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   101

1                    MR. EKELAND:     Your Honor, they are trying to give the

2        appearance that there is some sort of solid empirical

3        foundation for the reliability of data that they cannot produce

4        any statistical error rates for or any scientific evidence for.

5        And I think this would be highly prejudicial to the jury to

6        hear this.    I think he should be limited to just testify, okay,

7        I have gotten confirmation from Coinbase before.              But to start

8        to bring in all sorts of investigations, none of which have

9        been produced to the defense in discovery is highly prejudicial

10       and very unscientific.

11                   THE COURT:     I am about as confident as I can be that

12       in either cross-examining this witness or other witnesses, you

13       are going to ask them about whether there is a known error rate

14       and it seems to me that it is fair for the government to offer

15       whatever it has with respect to the reliability.              And you can,

16       in your cross-examination, explore those issues.              I think it is

17       appropriate for both sides to explore the question.               So I will

18       overrule the objection.

19                   (End of bench conference.)

20                   THE COURT:     You can proceed.

21       BY MS. PELKER:

22       Q.    I wasn't sure whether the witness had completed his

23       answer.    Do you and your colleagues at the FBI and other

24       agencies regularly request and obtain records based on

25       clustering from Chainalysis and other products?
     Case 1:21-cr-00399-RDM    Document 281   Filed 03/16/24   Page 102 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   102

1        A.    Yes, ma'am.

2        Q.    What does that tell you about the clustering and

3        attribution in Chainalysis Reactor?

4        A.    Every time we send a subpoena, based on initial

5        attribution provided by one of the tools, we have the ability

6        to confirm whether the tool was accurate or not accurate.                And

7        in my experience, Chainalysis Reactor is very accurate.

8        Q.    Have you also validated the information in Chainalysis by

9        comparing it to information gathered in other parts of

10       investigations?

11       A.    Yes, ma'am.

12       Q.    Does that include information retrieved in other subpoenas

13       or search warrants?

14       A.    Yes, ma'am.

15       Q.    Could you explain that?

16       A.    Certainly.      In an investigation you might be conducting

17       blockchain analysis and seeing that funds are going to an

18       exchange and then you get a search warrant return back for an

19       email account or something like that.           And you receive the

20       confirmation emails from the exchange, like I received your

21       deposit that was correctly attributed in one of the tools.

22       Q.    Have you also had occasion to validate the information

23       through interviews with defendants who wind up cooperating?

24       A.    Yes, ma'am.

25       Q.    Can you explain how that would play out?
     Case 1:21-cr-00399-RDM    Document 281   Filed 03/16/24   Page 103 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   103

1        A.    We can -- when a subject is cooperating, we can interview

2        them and confirm the information that we are seeing in the

3        tools is matching up with their testimony.             They will admit

4        that they used this service that was identified already in the

5        investigation through the use of the tools, confirming the

6        attribution in the tools.

7        Q.    And has that, in fact, happened in the cases of -- your

8        cases and cases of your colleagues?

9        A.    Yes, ma'am.

10       Q.    Has your own undercover work provided opportunities for

11       validation?

12       A.    Yes, ma'am, it has.

13       Q.    And is blockchain analysis frequently used by

14       investigators in criminal cases?

15       A.    Yes, it is.

16       Q.    Mr. Scholl, do many criminals know that law enforcement

17       can trace their transactions on the blockchain?

18                   MR. EKELAND:     Objection.

19                   THE COURT:     Sustained.    I think you need to lay a

20       foundation as to how he would know.

21       BY MS. PELKER:

22       Q.    Mr. Scholl, are you aware of whether criminals take steps

23       to avoid law enforcement tracing their transactions on the

24       blockchain?

25       A.    Yes, ma'am.
     Case 1:21-cr-00399-RDM    Document 281   Filed 03/16/24   Page 104 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   104

1        Q.    What do criminals do to try to hide their activity on the

2        blockchain?

3        A.    Many different obfuscation techniques, making complicated

4        transactions, trying to make it more difficult to determine

5        which address is payment and which address is change,

6        frequently using multiple accounts to send the funds through.

7        We call that layering.       Sending funds through multiple

8        accounts, frequently in different jurisdictions, cross-chain

9        hopping, switching from one cryptocurrency to another

10       cryptocurrency and using services like mixers.

11       Q.    Can you explain to the jury what a cryptocurrency mixer

12       actually is?

13       A.    A cryptocurrency mixer is just a service that pools your

14       input funds with other user's and allows you to make a

15       withdrawal in such a way that it is difficult for someone

16       looking at the blockchain to determine which output goes with

17       which input, thereby breaking our ability to do blockchain

18       analysis or hindering our ability to do blockchain analysis --

19       more accurate.

20       Q.    If we could return to your PowerPoint, which we are using

21       as a demonstrative.       And at slide 16, can you explain what is

22       shown here?

23       A.    This is just an example of --

24       Q.    Just a moment, if we could publish this to the jury.

25       Thank you.
     Case 1:21-cr-00399-RDM    Document 281   Filed 03/16/24   Page 105 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   105

1        A.    This is just an example of a mixing service.             Excuse me.

2        Q.    Could you explain what is shown on the slide with the flow

3        of funds?

4        A.    Yes, ma'am.      In this case, a user is sending one Bitcoin

5        into the deposit address, at the mixing service, address B.

6        And then subsequently, the user withdraws funds at address C.

7        But those two addresses are not connected necessarily on the

8        blockchain.    The amounts are -- the input and the output are

9        related, but you can't make connection on the Bitcoin

10       blockchain without the records from the service.

11       Q.    Are there different types of mixing?

12       A.    Yes, ma'am, there are.

13       Q.    Can you explain at a very high level some of those

14       different types?

15                   MR. EKELAND:     Objection, Your Honor.        Can we talk on

16       the phone real quick?

17                   (Conference held at the bench.)

18                   MR. EKELAND:     I'm sorry.     I don't believe that

19       Mr. Scholl has been qualified as an expert in blockchain

20       mixers.    I believe he has been qualified as an expert in

21       cryptocurrency and blockchain tracing.           But I think the actual

22       functionality of mixers is something completely different that

23       I don't think he is qualified to testify to.

24                   THE COURT:     Ms. Pelker.

25                   MS. PELKER:     Your Honor, I don't think that in the
     Case 1:21-cr-00399-RDM    Document 281   Filed 03/16/24     Page 106 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                     106

1        expert qualification we are required to enumerate each

2        subsection.    But if we were, we are certainly happy to qualify

3        Mr. Scholl as an expert in this area.           He is going -- he was

4        qualified as an expert in blockchain analysis, including -- a

5        big part of that is dealing with mixers.              And he is now going

6        to explain how mixers function.         A big part of his work on this

7        case was looking at the internal functionality of Bitcoin Fog.

8        That is how he was noticed as an expert.

9                    MR. EKELAND:     Your Honor, I don't believe he was

10       noticed as an expert on mixers.         Perhaps I am mistaken and the

11       government can point to the expert disclosure where it says

12       that.    I just don't off the top of my head recall that.                 And I

13       don't recall him being Dauberted on his knowledge of the

14       mixers.    It is my understanding we Dauberted him on the things

15       that the Court just mentioned, Chainalysis Reactor and

16       clustering.    This is an entirely different area that we -- the

17       time for noticing an expert on mixers has passed.

18                   THE COURT:     I think your recollection is wrong.             He

19       was, in fact, noticed as an expert on common techniques used to

20       launder money on the blockchain, which is what a mixer is.

21                   THE COURTROOM DEPUTY:       Judge, we have a juror that

22       needs a break.

23                   (End of bench conference.)

24                   THE COURT:     We need to break.          Why don't we go ahead

25       and have the lunch break.       So it is a little after noon.             Why
     Case 1:21-cr-00399-RDM    Document 281   Filed 03/16/24     Page 107 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                      107

1        don't we come back at 1:15 and continue at 1:15.                Please don't

2        discuss the case with anybody.         Don't conduct any type of

3        research and I will see you back here at 1:15.

4                    (Jury out at 12:06 p.m.)

5                    THE COURT:     All right.    So I was just saying, based

6        on my review, it appears the government did notice Mr. Scholl

7        as an expert not just on blockchain and tracing, which I think

8        tracing involves some knowledge of how mixers work, but also he

9        was actually noticed with respect to common techniques used to

10       launder money on the blockchain, which I believe is essentially

11       what a mixer is.

12                   MR. EKELAND:     Your Honor, I'd first submit that just

13       the use of a mixer isn't necessarily money laundering.                    And

14       using a mixer and Mr. Scholl testifying as to the use of a

15       mixer as a money laundering technique is completely different

16       than actually testifying as to the functionality of the mixer.

17       And I think that is where the problem comes in is he hasn't

18       been noticed as an expert in that area.               It is one thing to

19       say, oh, you are using a particular device to launder money.

20       It is entirely another thing to start talking about the

21       functionality of the device, how it works, what kind of source

22       code it has.     And I think that is where the problem is.

23                   THE COURT:     I am not sure we were getting into the

24       source code.     But, Ms. Pelker.

25                   MS. PELKER:     Mr. Scholl is not going to testify about
     Case 1:21-cr-00399-RDM    Document 281     Filed 03/16/24   Page 108 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                     108

1        the source code.       And we did notice that Mr. Scholl will

2        explain how mixers make it more difficult to trace funds on the

3        blockchain and will testify as to their popularity among

4        criminals for that reason.           The testimony will include a

5        discussion of the modus operandi of criminals operating on the

6        darknet, including common money laundering techniques used to

7        complicate blockchain analysis.           And explaining how Bitcoin Fog

8        works is clearly a big part of the government's case and a

9        burden of their proof here.          And Mr. Scholl is well qualified

10       and his been noticed as providing testimony in that vein.

11                   MR. EKELAND:     Your Honor --

12                   THE COURT:     I do think this falls within the scope of

13       his testimony, within the scope of the notice.               I suppose it

14       could get into technical levels that go beyond that, at which

15       point, I think the defense would be free to renew its

16       objections or for example if he is getting into distinct

17       signatures depending on the computer code that was used or

18       something like that, that would be a different matter.

19                   MS. PELKER:     Yes, Your Honor.

20                   THE COURT:     I will see you all back then at 1:15.

21       And I just remind the witness not to discuss your testimony

22       until it is complete.

23                   THE WITNESS:     Yes, Your Honor.

24                   (Recess taken at 12:09 p.m.)

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     Case 1:21-cr-00399-RDM    Document 281   Filed 03/16/24   Page 109 of 125
                              DIRECT EXAMINATION OF MR. SCHOLL                   109

1                                  C E R T I F I C A T E
2

3                    I, SHERRY LINDSAY, Official Court Reporter, certify
4        that the foregoing constitutes a true and correct transcript of
5        the record of proceedings in the above-entitled matter.
6

7

8

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10                                    Dated this 22nd day of February, 2024.
11

12                                    ________________________
                                      Sherry Lindsay, RPR
13                                    Official Court Reporter
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    Case 1:21-cr-00399-RDM 10:41
 BY MR. BROWN: [2] 46/13 56/4
                                    Document      281 Filed 03/16/2446 [1]
                                          [1] 57/12                          Page
                                                                                3/6 110 of 125
                                   10:56 [1] 57/20
 BY MR. EKELAND: [30] 6/15 7/14                                         5
                                   115161 [1] 51/6
 9/9 10/2 14/7 17/15 20/22 22/4
                                   116334 [1] 51/20                     5.1527 [1] 1/17
 22/17 25/1 26/6 28/2 28/7 28/16
                                   11:00 [1] 56/19                      502 [1] 37/21
 30/9 30/18 32/1 32/10 32/24 33/25
                                   11:30 [3] 5/14 46/3 56/17            502H [2] 37/19 38/24
 35/9 36/6 37/25 39/12 41/13 42/19
                                   11:30 does [1] 57/14                 53 [1] 3/6
 43/2 44/17 53/19 55/2
                                   12:06 [1] 107/4                      55 [1] 3/7
 BY MS. PELKER: [13] 61/2 67/1
                                   12:09 [1] 108/24                     5th [1] 84/14
 70/2 71/25 75/2 76/4 76/14 94/22
                                   12:15 [1] 57/16
 95/5 96/25 98/25 101/21 103/21                                         6
                                   12:30 because [1] 57/17
 MR. BROWN: [42] 4/6 7/9 9/7 9/21
                                   1301 [1] 1/20                        60 [1] 3/9
 14/4 21/25 22/13 24/22 25/19
                                   15 [3] 46/1 51/4 91/25               601 [1] 1/16
 27/12 28/5 28/10 29/4 29/12 29/18
                                   16 [1] 104/21                        6710 [1] 2/8
 29/25 30/14 31/16 32/7 32/21
                                   19th [1] 32/2
 33/20 35/2 37/16 39/9 41/9 42/11
                                   1:15 [4] 107/1 107/1 107/3 108/20 7
 42/23 44/8 44/10 44/24 45/1 45/5
                                   1Bba [3] 78/2 88/22 89/10            702 [3] 9/19 10/13 31/17
 45/14 45/19 45/22 46/1 46/8 53/16
                                   1Btu [10] 77/1 83/9 92/8 92/9
 54/23 56/14 56/24 66/21                                                8
                                    92/18 92/23 94/6 94/12 94/14
 MR. EKELAND: [61] 4/10 4/15 4/21
                                    94/15                               8,002 [1] 79/3
 5/4 5/7 5/17 5/20 6/1 6/6 6/13
                                   1Btu73Y [3] 75/10 76/24 94/11        80 [1] 69/1
 9/23 10/1 20/17 22/16 26/4 27/11
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 27/14 27/20 27/24 28/1 28/12
                                    87/10 89/11                         80,001 [1] 79/4
 29/10 29/15 29/21 30/6 30/16
                                   1CRm234 [2] 87/7 88/25               80,002 [1] 79/3
 31/18 31/25 37/19 37/22 37/24
                                   1FSE9Y6 [1] 75/12                    892 [3] 17/12 17/16 17/23
 39/10 41/10 42/13 44/22 54/25
                                   1Fsev [3] 92/14 92/17 92/24          8th [1] 2/4
 56/1 56/25 57/9 58/2 58/5 60/20
                                   1Py [1] 92/8
 65/5 65/13 65/15 66/4 66/23 74/24
 94/25 95/2 96/23 98/20 100/5
                                   1Pyt [6] 83/9 92/9 92/18 92/23       9
                                    94/6 94/15                          90 [1] 59/18
 100/9 101/1 103/18 105/15 105/18
                                   1PyT53t [1] 94/11                    95 [1] 97/7
 106/9 107/12 108/11
                                   1PyT5F3t [1] 75/11                   950 [1] 1/14
 MR. PEARLMAN: [3] 45/6 45/9
                                   1YuR [2] 82/19 84/3                  9:26 [1] 1/6
 45/12
                                   1YuR38j [2] 75/22 76/25              9:28 [1] 6/10
 MS. PELKER: [14] 57/23 65/6
 66/11 66/22 69/21 74/21 76/2 76/7 2
 95/4 96/20 100/21 105/25 107/25
                                                                        A
 108/19                            20 [1] 46/1                          a.m [5] 1/6 6/10 56/21 57/12
                                   20001 [1] 2/9                         57/20
 THE COURT: [93] 4/9 4/13 4/19
 5/2 5/5 5/8 5/12 5/16 5/19 5/21   20005 [1] 1/21                       ability [4] 85/12 102/5 104/17
 6/2 6/8 6/11 7/10 9/8 9/24 14/6   2008 [2] 10/23 20/11                  104/18
 17/13 20/15 20/18 22/1 22/15      2009 [1] 74/8                        able [5] 50/23 75/23 92/11 93/6
 24/25 25/20 27/7 27/16 27/23      2010 [1] 29/1                         100/24
                                              15/1 32/2 40/24 46/24
 27/25 28/14 29/6 29/19 29/24 30/3 2011 [9]                             about [79] 6/25 7/19 7/23 14/8
                                    47/5 50/2 52/18 52/19 53/20          14/11 15/7 15/12 15/16 15/20 16/3
 31/21 32/8 32/23 35/3 35/11 35/14
                                                     88/17
 41/12 42/15 43/1 44/9 44/13 44/23 2011-10-08 [1]                        16/9 16/13 16/13 18/7 19/10 20/2
                                              29/1 61/22
 44/25 45/2 45/8 45/10 45/13 45/16 2014 [2]                              20/5 20/7 26/3 27/6 27/14 33/10
                                              13/16 61/23 62/17 64/15
 45/21 45/24 46/2 53/17 56/2 56/15 2015 [5]                              35/4 35/16 36/8 36/11 36/11 36/16
                                    69/14                                36/21 36/25 37/13 38/19 38/20
 56/22 57/1 57/11 57/13 57/21
 57/25 58/3 58/10 60/25 65/11      2017 [3] 13/11 13/12 14/3             40/10 40/23 41/3 41/5 42/13 44/12
 65/23 66/10 66/17 66/25 69/23     2021 [1] 7/22                         48/7 48/10 48/22 49/8 51/1 51/11
                                              13/15 13/16
 71/24 74/23 74/25 95/1 95/3 96/22 2022 [2]                              54/1 54/10 54/11 54/13 57/6 58/17
 96/24 98/21 100/7 100/20 100/25   2024 [2] 1/5 109/10                   59/12 62/2 64/16 65/8 65/19 66/11
 101/11 101/20 103/19 105/24       2026 [1] 39/20                        66/13 67/6 70/3 74/5 81/5 83/3
                                               1/14 1/17
 106/18 106/24 107/5 107/23 108/12 20530 [2]                             87/4 89/1 90/10 91/3 91/14 92/8
 108/20                            20th [1] 33/15                        95/10 95/22 96/18 97/24 98/10
                                   21 [1] 1/5                            101/11 101/13 102/2 107/20 107/25
 THE COURTROOM DEPUTY: [9] 4/2
                                                 1/4 4/2
 5/10 5/15 30/7 37/21 37/23 46/11 21-399 [2]                            above [1] 109/5
 60/24 106/21                      22 [1] 48/25                         above-entitled [1] 109/5
                                   22nd [1] 109/10                      absolute [1] 59/17
 THE REPORTER: [1] 94/16
                                   2400 [1] 81/17                       absolutely [3] 47/18 55/1 100/19
 THE WITNESS: [13] 20/20 28/6
                                                  77/20 78/5 78/6 86/20 academy [1] 68/2
 29/7 32/9 33/22 35/4 42/17 46/10 25.4395 [7]
                                    87/7 88/25 89/11                    accepting [1] 50/16
 60/23 76/10 94/18 98/22 108/23
                                   25.44 [3] 78/3 78/6 88/23            access [5] 8/20 42/7 43/14 55/6
$                                  27 [4] 49/10 49/11 49/14 49/17        88/8
                                   27th [1] 7/22                        accessed [5] 12/12 21/15 21/23
$1 [1] 84/17
                                   29 [2] 49/20 49/20                    22/2 38/14
$2 [2] 37/7 37/11
$4 [2] 84/13 84/17                 3                                    according [1] 99/12
$5 [2] 84/13 84/14                                                      account [75] 11/2 11/7 11/10
                                   30 [2] 2/3 3/12                       14/12 14/13 14/16 14/18 15/8
$80 [2] 33/15 34/13
                                   307 [3] 74/14 74/21 74/25             15/10 15/12 15/14 15/20 16/3 16/5
.                                  313 [3] 29/11 29/12 29/22             16/25 17/4 17/20 18/8 18/15 18/19
                                   313A [5] 3/12 30/1 30/3 30/5          19/3 20/4 20/7 20/12 21/3 22/25
.5 [2] 84/3 84/5
                                    36/23                                22/25 23/21 24/1 24/14 31/2 31/4
0                                  324A [4] 96/9 96/11 96/20 96/24       31/6 31/9 32/11 32/12 32/25 33/9
                                   333 [1] 2/8                           33/12 34/7 34/8 34/9 34/10 34/14
08 [1] 88/17
                                   35 [4] 33/4 50/7 50/8 50/10           34/19 34/22 36/18 36/20 39/22
1                                  36 [2]   33/3  33/3                   40/6 40/12 41/3 52/21 52/24 63/8
                                   399 [2] 1/4 4/2                       70/23 71/7 71/9 71/10 71/18 72/7
1.5 [4] 75/13 76/20 76/24 84/2
                                                                         72/10 73/7 73/8 80/18 80/19 80/20
10 [2] 56/19 79/12                 4                                     80/20 81/15 98/5 98/14 99/14
100 [1] 97/5                       4.5 [5] 82/14 82/16 82/21 92/5
10005 [1] 2/4                                                            99/15 99/22 102/19
A                                  Alice [16] 75/15 75/16 75/18       anti [1] 68/21
    Case 1:21-cr-00399-RDM Document
accounts [10] 15/7 15/16 15/18
                                    75/19 76/10 281     Filed76/17
                                                 76/11 76/11  03/16/24anti-money
                                                                           Page [1]
                                                                                  111 68/21
                                                                                      of 125
                                    82/10 82/12 82/14 82/23 83/15     any [43] 5/2 6/7 7/25 8/4 8/14
 24/16 33/23 71/5 80/8 81/16 104/6
                                    84/2 92/5 92/6                     8/21 9/14 11/15 11/22 12/17 21/6
 104/8
                                   Alice's [7] 75/17 75/17 78/14       25/22 27/1 28/3 28/8 28/18 29/24
accurate [5] 99/21 102/6 102/6
                                    78/20 78/21 82/18 83/21            32/18 34/12 37/9 38/12 38/15
 102/7 104/19
                                   aligned [1] 97/19                   39/24 51/1 52/23 53/9 53/13 55/19
accurately [1] 93/6
                                   all [64] 4/9 4/13 6/11 6/20 7/19    56/2 56/20 60/6 66/6 66/20 67/2
across [1] 62/25
                                    8/24 9/6 14/10 17/9 20/13 22/12    67/6 74/23 78/10 82/8 90/3 96/22
Action [1] 1/3
                                    22/14 27/19 34/12 35/5 48/13       101/4 101/4 107/2
activity [8] 63/19 63/22 64/7
                                    53/17 56/2 56/15 56/22 57/1 57/11 anybody [4] 53/8 55/6 55/14 107/2
 64/21 66/12 84/10 95/24 104/1
                                    57/14 57/16 57/21 58/13 58/22     anyone [3] 50/16 79/17 79/18
actor [1] 91/22
                                    62/23 65/18 65/21 67/11 69/23     anyone's [1] 97/22
acts [1] 73/7
                                    70/13 74/7 74/9 78/25 79/14 80/7 anything [16] 8/25 11/12 12/22
actual [3] 59/24 86/10 105/21
                                    80/7 80/9 81/16 81/17 84/19 86/4   14/8 19/18 19/21 25/10 32/19
actually [15] 40/4 40/5 41/21
                                    86/5 86/23 87/8 87/16 89/3 89/25   34/20 35/16 38/14 38/16 50/2
 44/7 47/20 49/14 64/11 72/11
                                    90/25 91/6 92/21 94/10 94/15 96/5 56/22 63/25 93/20
 86/14 86/15 88/5 100/11 104/12
                                    98/8 98/13 100/1 100/14 100/20    anyway [1] 39/11
 107/9 107/16
                                    101/8 107/5 108/20                anywhere [21] 5/23 9/10 11/25
added [1] 68/25
                                   allow [8] 4/16 4/18 28/14 32/8      12/4 12/8 12/19 21/3 21/19 23/7
addition [1] 69/2
                                    35/3 42/15 42/16 66/17             23/10 23/13 23/23 24/11 25/7
additional [1] 63/16
                                   allowed [1] 4/21                    25/11 32/15 32/18 37/10 38/15
address [109] 11/3 11/20 11/23
                                   allows [6] 16/10 71/5 73/14 87/25 38/21 54/11
 14/23 15/22 20/24 21/1 22/10
                                    98/22 104/14                      apartment [1] 15/25
 22/18 23/4 23/6 24/21 25/2 31/10
                                   Almost [1] 89/14                   Apologies [1] 71/23
 31/12 31/15 32/3 32/6 38/9 40/15
                                   alpha [1] 30/1                     appear [34] 9/10 11/7 11/23 11/25
 43/17 52/9 52/11 52/13 71/1 71/13
                                   already [4] 32/22 65/21 70/3        12/4 12/8 20/11 20/13 20/20 21/3
 72/25 73/5 73/6 73/7 73/10 73/11
                                    103/4                              21/6 21/9 21/12 21/15 21/17 22/10
 73/13 73/15 73/16 73/21 75/10
                                   also [28] 4/21 8/20 16/13 16/20     23/7 23/10 23/13 23/17 23/20
 75/11 75/12 75/17 75/17 75/18
                                    16/25 18/7 18/15 23/21 24/7 33/6   23/21 23/23 24/8 24/11 24/13
 75/21 75/21 76/12 76/13 76/17
                                    43/13 43/16 44/14 45/22 46/21      24/14 32/15 32/18 82/25 83/1 84/7
 76/19 76/20 76/24 76/25 77/1 77/7
                                    55/8 62/18 63/13 67/24 68/20 69/2 84/8 92/18
 77/8 77/18 77/21 77/21 78/2 78/4
                                    73/1 79/19 93/5 100/2 102/8       appearance [1] 101/2
 78/5 80/19 80/21 80/24 80/25 81/4
                                    102/22 107/8                      APPEARANCES [3] 1/12 1/23 2/1
 82/9 82/18 82/20 83/16 83/22 84/4
                                   although [2] 58/24 59/22           appeared [1] 40/25
 84/6 85/23 86/6 86/11 86/20 86/25
                                   always [2] 90/17 91/22             appears [5] 12/12 12/15 12/21
 88/21 88/22 88/24 89/10 89/11
                                   am [51] 5/10 5/21 6/6 8/16 10/13    52/1 107/6
 90/4 90/23 91/4 91/20 92/6 92/14
                                    11/4 22/21 24/5 24/5 24/20 26/15 application [5] 72/23 72/24 73/2
 93/13 94/13 94/14 97/3 97/5 97/7
                                    27/14 27/16 27/20 28/10 28/17      73/20 76/16
 97/10 97/13 97/17 97/18 97/18
                                    38/2 38/6 38/23 41/10 42/13 46/18 apply [2] 4/19 94/3
 97/18 97/22 97/24 98/3 98/3 104/5
                                    53/11 57/9 58/13 58/15 58/17      appointment [1] 57/13
 104/5 105/5 105/5 105/6
                                    58/21 60/17 61/9 62/20 63/15 66/6 appreciate [3] 5/7 30/16 36/24
address' [1]  83/17
                                    66/17 67/23 74/14 87/20 90/18     approach [6] 4/4 95/6 95/12 95/20
addresses [36] 67/13 73/24 75/9
                                    90/19 90/25 91/22 91/23 91/25      97/14 97/16
 82/9 82/10 82/11 82/15 82/17
                                    95/10 95/14 95/15 96/5 99/23      approaching [2] 72/4 94/24
 82/22 83/4 83/8 88/3 88/4 88/24
                                    101/11 106/10 107/23              appropriate [5] 59/11 59/13 60/16
 90/2 90/6 90/7 90/9 91/5 91/7
                                   ambiguity [1] 25/21                 100/13 101/17
 91/15 91/17 92/7 92/17 92/20
                                   ambiguous [1] 95/2                 approximately [3] 47/8 72/3 79/12
 92/21 92/25 93/3 93/6 93/22 94/15
                                   AMERICA [2] 1/3 4/3                April [1] 7/22
 94/17 94/20 96/4 96/6 105/7
                                   AML [1] 68/21                      April 27th [1] 7/22
administrator [3] 43/8 43/25 44/2
                                   among [3] 10/24 70/15 108/3        are [144]
admission [2] 29/19 29/21
                                   amongst [1] 56/20                  area [3] 106/3 106/16 107/18
admit [2] 30/1 103/3
                                   amount [16] 25/13 25/15 76/20      argumentative [3] 9/7 21/25 35/19
admitted [8] 9/18 29/13 29/18
                                    77/18 78/2 78/4 78/6 81/2 81/3    around [5] 13/15 29/1 53/24 54/15
 30/3 30/5 49/1 51/5 96/10
                                    82/8 82/11 82/22 88/25 89/11 97/3 67/17
admitting [1] 65/25
                                    97/11                             arranging [1] 64/7
advance [1] 68/13
                                   amounts [4] 75/9 78/11 78/11       arrest [6] 12/25 26/19 27/4 28/19
advertise [3] 47/19 56/8 56/11
                                    105/8                              28/20 69/19
advertised [1] 54/11
                                   analogy [3] 80/5 80/13 84/12       arrested [3] 7/22 7/24 26/14
affiliated [1] 14/13
                                   analysis [26] 59/14 66/14 67/20    arrow [2] 36/17 89/10
afield [1] 27/13
                                    68/7 68/16 68/20 68/24 69/11      as [107] 5/12 5/12 9/19 10/3
after [12] 27/4 28/15 36/17 42/24
                                    69/22 69/24 77/25 81/23 89/12      10/22 10/23 12/21 13/19 13/23
 46/6 48/9 49/4 57/14 79/4 89/20
                                    89/15 93/5 93/24 94/3 96/5 97/3    13/23 16/23 17/12 17/23 21/24
 89/20 106/25
                                    99/10 102/17 103/13 104/18 104/18 24/1 25/9 26/10 26/10 29/11 29/23
again [15] 14/20 24/14 25/13 29/7
                                    106/4 108/7                        30/1 30/7 30/7 34/20 34/25 35/25
 38/12 39/23 49/20 60/15 64/19
                                   analyst [1] 62/6                    37/22 38/10 40/22 40/22 43/4 44/6
 82/17 83/21 86/1 89/6 89/8 94/5
                                   analytical [1] 90/13                46/3 47/20 51/11 56/8 57/4 58/8
against [2] 6/4 43/14
                                   analyzing [1] 91/23                 58/8 58/18 58/25 59/16 59/22 60/1
agencies [2] 100/2 101/24
                                   Andrew [5] 40/10 40/14 40/17        60/2 60/17 61/22 64/1 64/2 64/12
agent [4] 6/16 10/3 13/20 26/7
                                    40/19 40/22                        64/19 65/17 65/19 65/21 65/25
ago [4] 4/24 42/18 43/4 46/19
                                   Angeles [8] 7/21 12/1 12/6 12/9     66/5 66/9 68/11 68/11 69/5 69/6
agree [2] 10/21 49/25
                                    23/11 23/14 23/18 32/20            69/20 69/20 69/24 74/22 74/25
agreed [1] 31/21
                                   another [13] 32/3 37/15 45/20       80/2 80/13 82/17 83/1 83/7 84/8
ahead [4] 65/11 66/17 75/3 106/24
                                    74/1 75/11 75/12 75/14 86/2 94/14 84/17 85/5 85/15 86/17 89/6 91/18
ahold [1] 53/11
                                    94/19 97/8 104/9 107/20            92/18 92/20 96/21 96/24 98/13
air [1] 35/20
                                   answer [6] 20/19 34/24 44/16        98/13 99/23 100/10 100/14 100/22
Airport [8] 7/21 12/2 12/6 12/10
                                    48/19 79/21 101/23                 100/23 101/11 101/11 103/20
 23/11 23/15 23/18 32/20
                                   answered [6] 14/5 25/19 28/5 29/4 104/21 105/19 105/20 106/3 106/4
Akemashite [12] 10/25 11/2 12/21
                                    32/22 35/2                         106/8 106/10 106/19 107/7 107/14
 36/10 37/6 38/8 40/11 41/2 41/6
                                   answering [1] 20/18                 107/15 107/16 107/18 108/3 108/10
 43/12 43/16 44/3
                                   answers [7] 22/14 24/23 35/22      ask [12] 5/17 7/12 22/2 22/13
Alden [1] 4/7
                                    36/1 42/24 54/24 57/5              29/2 35/23 35/23 41/12 50/10 53/3
A                                   95/8 95/15 95/20 95/22 95/22       79/12 79/21 81/24 81/24 82/2
    Case 1:21-cr-00399-RDM Document
ask... [2] 95/3 101/13
                                    96/11 96/17 281     Filed
                                                 99/6 101/5   03/16/2487/22
                                                            101/6          Page  112
                                                                             87/24     of 125
                                                                                   87/25  88/1 88/18
                                    101/11 102/16 108/15 108/18        89/20 90/19
asked [9] 14/4 25/19 28/5 29/4
                                   became [1] 53/22                   blockchain [75] 66/14 67/20 68/7
 32/22 35/2 39/10 48/18 55/22
                                   because [21] 21/23 28/22 35/19      68/16 68/20 68/24 69/11 69/18
asking [10] 15/3 25/21 25/24
                                    43/10 48/16 48/20 56/17 57/17      69/22 69/24 70/14 73/11 74/4 74/6
 27/14 36/1 41/10 42/13 50/1 51/1
                                    58/5 58/5 62/12 65/17 72/8 79/1    74/7 74/9 77/3 77/9 77/25 78/9
 51/11
                                    83/6 86/4 86/13 87/11 90/20 91/17 78/19 78/20 78/25 78/25 79/1
assess [3] 83/9 94/6 96/7
                                    100/10                             79/14 79/16 79/17 79/19 79/24
assessment [1] 95/14
                                   become [1] 26/13                    80/2 80/5 80/8 81/22 82/25 84/7
assessments [2] 95/11 95/23
                                   been [37] 9/18 13/16 14/4 15/25     84/24 85/10 86/7 88/1 88/4 88/7
assigned [1] 61/9
                                    23/25 24/3 25/22 29/8 29/18 32/22 88/8 89/15 90/2 91/10 91/14 91/16
assignment [3] 61/8 61/24 62/3
                                    34/21 40/1 47/9 51/5 51/5 52/18    92/22 93/5 93/23 94/12 95/24 97/2
assisted [1] 74/16
                                    56/10 60/1 62/15 64/2 64/14 65/21 97/21 99/10 99/17 102/17 103/13
associated [8] 17/9 20/8 23/3
                                    68/4 69/13 69/18 77/6 83/7 85/14   103/17 103/24 104/2 104/16 104/17
 24/3 40/22 80/11 81/25 82/1
                                    91/15 96/10 99/4 100/14 101/9      104/18 105/8 105/10 105/19 105/21
assumptions [1] 59/8
                                    105/19 105/20 107/18 108/10        106/4 106/20 107/7 107/10 108/3
ATM [1] 70/25
                                   before [17] 1/9 24/23 26/18 28/9    108/7
ATMs [1] 70/25
                                    28/19 28/20 28/22 46/7 47/21      blockchains [1] 98/24
attack [5] 99/5 99/6 99/8 99/9
                                    49/14 56/22 57/2 57/2 57/3 88/14 blocks [3] 79/1 79/6 79/6
 99/16
                                    100/17 101/7                      blue [2] 77/17 78/2
attacks [1] 67/10
                                   begin [2] 14/24 51/6               board [1] 30/22
attempt [2] 41/18 85/16
                                   behalf [1] 34/6                    Bob [15] 75/14 75/16 76/11 76/12
attempted [2] 41/19 42/7
                                   behaving [1] 93/22                  76/13 76/15 76/16 82/7 82/14
attempts [2] 41/25 42/6
                                   behavior [2] 95/25 97/2             82/18 82/19 83/15 83/24 84/1 92/5
attended [1] 63/18
                                   behavioral [1] 93/24               Bob's [18] 75/8 76/22 76/23 77/1
attention [8] 13/24 22/23 48/25
                                   behaviors [3] 93/2 93/11 93/16      77/6 78/16 78/17 82/15 82/16
 49/10 50/7 51/4 75/5 84/23
                                   being [13] 60/9 60/11 64/3 65/16    82/21 83/16 84/4 84/4 84/6 92/6
attorney [1] 48/18
                                    66/5 81/3 86/5 86/16 95/14 97/9    92/14 92/20 92/21
Attorney's [1] 69/7
                                    97/9 97/12 106/13                 body [5] 35/17 35/24 51/22 52/1
attributed [1]  102/21
                                   believability [1] 66/2              53/4
attribution [7] 90/1 90/3 95/18
                                   believe [21] 7/19 8/18 14/4 15/12 both [6] 33/6 33/23 67/25 71/23
 99/20 102/3 102/5 103/6
                                    16/19 21/18 25/13 29/4 32/21 33/7 83/8 101/17
audibly [2] 42/24 42/24
                                    36/7 37/16 37/19 40/9 49/1 51/20 bottom [4] 32/25 33/13 77/23 79/8
Aurum [14]  33/15  33/22 34/2 34/7
                                    68/25 105/18 105/20 106/9 107/10 box [2] 77/23 79/8
 34/7 34/9 34/10 34/12 34/18 34/21
                                   belong [7] 83/4 83/6 90/6 91/17    boxes [1] 77/14
 34/24 35/7 36/8 36/17
                                    92/9 92/24 94/6                   break [13] 45/11 45/22 46/2 46/4
AUSA [1] 4/6
                                   belonged [2] 40/17 90/9             46/6 56/17 56/17 56/18 56/23
authentic [1]  52/24
                                   belongs [4] 83/9 90/4 90/4 92/25    58/11 106/22 106/24 106/25
authorities [2] 56/9 56/12
                                   below [6] 52/3 52/7 77/17 88/16    breaking [2] 5/13 104/17
authority [2] 48/13 81/10
                                    88/20 89/1                        briefly [2] 4/15 61/11
available [2] 55/5 79/20
                                   bench [10] 35/13 36/5 58/4 60/21 bring [3] 29/14 50/5 101/8
Ave [2]  1/14 1/20
                                    65/14 66/24 100/8 101/19 105/17   broadcast [2] 76/23 82/23
Avenue [1] 2/8
                                    106/23                            BRODIE [1] 1/15
avoid [2] 56/8 103/23
                                   benefit [6] 50/14 89/15 89/17      Brooklyn [1] 2/4
awards [1] 69/15
                                    89/18 89/23 90/1                  brought [1] 50/5
aware [13] 4/16 10/18 11/2 13/10
                                   benefits [2] 89/18 89/25           BROWN [5] 1/15 3/6 3/7 4/6 29/17
 22/18 22/22 24/7 26/10 33/4 43/3
                                   best [6] 36/15 42/17 48/19 53/10 BTC [1] 88/23
 43/6 60/6 103/22
                                    53/13 71/24                       built [1] 79/23
B                                  better [3] 30/11 48/14 90/22       bullets [2] 51/13 51/14
                                   between [6] 9/15 61/16 78/10 79/5 bunch [1] 48/23
bachelor [1] 61/13                  90/13 90/14                       burden [2] 65/24 108/9
back [19] 5/12 10/22 17/13 20/11 beyond [3] 31/23 58/14 108/14        bureau [3] 61/7 62/25 63/19
 27/16 46/24 47/13 50/5 50/6 53/6
                                   bfd3134 [1] 86/9                   business [1] 50/12
 56/18 57/1 84/1 84/20 98/10
                                   big [5] 20/2 30/22 106/5 106/6     buy [7] 64/5 70/22 70/23 71/15
 102/18 107/1 107/3 108/20
                                    108/8                              71/20 72/1 84/13
background [3] 61/12 65/7 66/3
                                   bill [6] 71/13 84/13 84/14 84/15 buying [2] 41/4 84/11
backup [3] 18/21 18/25 19/2         84/16 84/17
backward [3] 67/18 85/10 98/1                                         C
                                   Binance [2] 15/8 15/10
bag [3] 8/19 10/7 13/8             birth [2] 71/12 98/11              California [1] 42/2
bank [7] 71/3 71/10 71/17 72/16    bit [13] 16/9 57/15 64/16 65/3     call [5] 27/17 45/4 47/16 57/21
 72/16 80/6 80/8                    67/3 67/22 74/5 78/24 85/12 85/22 104/7
Bankruptcy [1] 2/7                  91/12 93/14 95/15                 called [9] 37/15 39/2 40/19 43/3
based [5] 47/11 100/3 101/24       Bitcoin [209]                       68/10 68/18 78/25 79/1 92/12
 102/4 107/5
                                   Bitcoin-related [1] 47/6           calling [3] 22/23 27/9 75/8
baseline [1]  100/12
                                   Bitcoin.com [3] 9/4 30/24 38/5     calls [7] 7/9 31/16 41/9 44/10
basically [1] 14/18
                                   Bitcoiner [1] 40/14                 45/5 57/24 68/1
basis [2] 68/17 100/19
                                   Bitcoiner's [1] 40/10              came [5] 37/13 55/24 55/25 88/18
bathroom [1] 56/18
                                   BitcoinFog.com [10] 8/25 9/5 9/10 99/12
be [89] 5/22 5/24 5/24 8/8 8/10     37/14 38/7 38/17 38/20 39/1 39/24 can [113]
 11/18 22/3 25/20 26/2 27/18 30/3   43/13                             can't [13] 6/16 6/21 6/24 8/4
 30/11 36/3 36/12 37/18 40/25 43/5
                                   BitcoinFog.onion [2] 42/7 43/17     8/14 17/16 33/3 36/12 39/7 72/12
 43/7 43/8 43/12 44/6 46/11 50/16
                                   BitcoinTalk.org [4] 47/23 47/24     84/14 89/4 105/9
 51/7 57/6 59/19 59/23 60/11 60/19
                                    49/8 51/11                        cannot [1] 101/3
 60/24 63/1 63/8 64/6 66/20 67/9
                                   Bitfinex [1] 15/12                 CapO [3] 27/3 28/22 28/24
 67/15 70/7 71/11 71/17 73/1 73/3
                                   blind [15] 47/10 47/11 47/19 48/9 cards [1] 13/6
 73/20 74/25 75/23 76/6 76/11 77/4
                                    48/10 50/3 51/2 53/24 54/1 54/3   careful [1] 57/6
 77/8 78/14 78/16 78/17 78/18
                                    54/5 55/3 56/6 56/8 56/11         carry [2] 50/17 65/24
 78/21 79/10 80/23 81/3 82/1 85/12
                                   Blind Bitcoin [1] 55/3             case [34] 4/2 8/12 11/13 11/16
 85/22 86/15 86/21 86/25 87/5 87/9
                                   BlindBitcoin.com [4] 47/7 48/19     13/14 13/20 26/20 29/7 56/19
 87/10 87/14 89/20 90/18 90/22      49/9 51/12                         59/11 59/13 59/14 59/17 62/10
 91/6 91/8 92/14 92/22 93/3 93/6
                                   block [16] 77/9 79/3 79/9 79/12     62/11 63/1 65/4 66/5 67/3 67/4
C                                   95/11 96/8                        confirmed [1] 99/13
    Case 1:21-cr-00399-RDM co
case... [14] 67/6 67/7 76/20 84/2
                                    Document
                                      [9] 83/6 281      Filed91/25
                                                 90/11 91/16  03/16/24confirming
                                                                           Page [2]
                                                                                 113 54/25
                                                                                      of 125103/5
                                    92/17 94/5 94/13 94/14 94/19      confusing [1] 86/13
 84/16 86/8 91/1 95/15 97/5 99/24
                                   co-spend [1] 91/16                 connected [2] 78/17 105/7
 105/4 106/7 107/2 108/8
                                   co-spending [4] 90/11 91/25 94/5 connecting [1] 97/24
cases [14] 6/19 6/20 62/15 64/15
                                    94/19                             connection [1] 105/9
 64/24 64/25 66/19 72/8 99/3 99/25
                                   co-spent [4] 83/6 92/17 94/13      connects [1] 78/22
 103/7 103/8 103/8 103/14
                                    94/14                             conscious [1] 57/6
cash [4] 47/11 47/13 71/1 84/11
                                   code [18] 8/21 16/20 33/1 33/3     conservative [7] 94/24 95/8 95/12
cashier [2] 84/15 84/19
                                    33/8 33/12 55/3 55/6 55/9 55/11    95/13 95/16 95/20 95/22
CATHERINE [1] 1/13
                                    55/14 55/17 55/20 97/20 107/22    considerably [1] 8/13
cause [1] 96/1
                                    107/24 108/1 108/17               constantly [1] 80/2
Ccips [1] 1/19
                                   codes [3] 33/5 34/1 34/4           constitutes [1] 109/4
centralized [1] 48/12
                                   coffee [3] 84/11 84/13 84/17       Constitution [1] 2/8
certain [1] 93/16
                                   Coinbase [7] 90/4 99/12 99/13      consult [1] 48/17
certainly [5] 8/2 52/25 56/13
                                    99/13 99/14 99/22 101/7           consulting [2] 49/18 62/10
 102/16 106/2
                                   CoinJoin [2] 48/15 60/15           contact [1] 53/14
certificate [1] 54/12
                                   colleagues [4] 100/2 100/23        contain [4] 73/24 77/7 90/3 97/22
certification [6] 63/16 68/9
                                    101/23 103/8                      contained [1] 70/14
 68/13 68/13 68/14 68/25
                                   collect [2] 98/15 98/19            contains [1] 74/9
certifications [4] 68/7 68/8
                                   collecting [1] 67/12               CONTENTS [1] 3/1
 68/12 93/9
                                   collection [3] 100/11 100/18       context [1] 85/11
certified [1] 63/13
                                    100/22                            continue [4] 50/14 64/25 85/8
certify [1] 109/3
                                   college [1] 61/16                   107/1
chain [8] 79/6 96/15 96/16 97/1
                                   color [1] 97/20                    continued [3] 1/23 2/1 3/4
 97/2 97/13 97/16 104/8
                                   COLUMBIA [1] 1/1                   continues [1] 97/11
Chainalysis [22] 58/14 60/17 68/8
                                   combine [2] 82/10 82/17            control [2] 85/13 91/19
 68/11 68/15 68/16 68/18 68/19
                                   combined [1] 96/8                  controlled [3] 83/5 91/21 94/21
 68/19 89/7 89/16 90/20 90/21
                                   come [9] 5/12 27/9 55/17 56/18     controls [2] 31/15 91/7
 92/18 99/12 99/22 100/4 101/25
                                    84/20 90/12 97/15 99/14 107/1     convenient [1] 46/3
 102/3 102/7 102/8 106/15
                                   comes [5] 30/7 58/22 71/19 79/4    conversation [3] 41/5 41/15 41/15
chains [2] 96/18 97/14
                                    107/17                            conversion [1] 90/13
change [29] 4/22 5/3 43/20 43/21
                                   comfortable [1] 53/12              convert [1] 34/4
 43/25 83/13 83/18 84/1 84/5 84/12
                                   coming [2] 22/18 45/19             converts [1] 33/12
 84/16 84/17 84/21 84/22 91/19
                                   comment [2] 22/14 42/24            convictions [1] 69/20
 91/20 93/13 93/17 96/4 96/6 96/8
                                   commenting [1] 57/5                convinced [1] 58/17
 97/5 97/6 97/6 97/10 97/10 97/12
                                   comments [1] 54/23                 convincing [1] 65/24
 97/17 104/5
                                   common [5] 70/21 83/13 106/19      cooperate [1] 56/12
changed [4]  43/17 43/22 43/23
                                    107/9 108/6                       cooperating [2] 102/23 103/1
 43/24
                                   commonly [1] 71/17                 coordination [1] 35/6
charged [1] 26/14
                                   communicate [1] 44/1               copy [7] 76/17 79/17 79/19 79/21
charging [1] 37/5
                                   communicating [1] 35/25             79/22 79/22 82/19
chart [4]  20/2 29/13 29/16 29/23
                                   communication [2] 28/25 64/4       corner [1] 75/24
chat [3] 52/16 52/16 54/14
                                   communications [2] 9/14 41/6       correct [32] 6/23 7/1 10/6 12/10
Chaum's [1] 47/11
                                   companies [1] 68/4                  12/11 12/13 12/14 13/7 14/16 15/9
Chaumian [1] 54/1
                                   company [3] 67/11 68/17 99/4        15/10 15/14 15/20 15/23 15/24
check [16] 52/21 53/9 60/4 78/22
                                   compare [2] 84/10 84/12             16/18 19/15 19/18 23/5 26/15 31/3
 80/13 80/16 80/20 80/24 81/8
                                   comparing [1] 102/9                 32/17 33/14 34/3 34/8 36/9 38/22
 81/11 81/13 81/14 81/16 81/19
                                   competing [1] 61/22                 40/18 40/20 77/8 79/23 109/4
 81/22 81/25
                                   competitor [1] 68/19               correctly [1] 102/21
checked [1] 54/12
                                   complete [2] 58/16 108/22          corresponding [1] 73/12
checking [1] 81/16
                                   completed [1] 101/22               corroborated [1] 100/17
choose [1] 90/20
                                   completely [4] 81/20 100/12        could [77] 5/23 9/19 13/23 17/11
CHRISTOPHER [2] 1/15 4/6
                                    105/22 107/15                      17/11 17/18 17/18 17/22 17/23
circle [7] 85/13 85/13 85/16
                                   complicate [1] 108/7                22/13 24/2 24/18 24/22 25/18
 85/17 86/19 86/19 88/13
                                   complicated [1] 104/3               28/15 29/10 30/1 33/6 34/4 38/1
circled [1] 85/20
                                   computer [13] 12/13 12/17 13/2      42/23 43/5 43/8 43/9 45/6 45/22
circling [1] 76/6
                                    30/15 47/3 52/20 64/23 72/24       46/16 46/21 47/12 47/14 48/13
claiming [1] 44/6
                                    78/14 78/14 78/16 78/17 108/17     48/25 49/10 49/13 49/17 49/20
classes [1] 68/2
                                   computers [6] 12/1 13/4 21/6        49/23 50/7 50/10 53/3 55/6 55/15
classic [1] 27/17
                                    23/10 24/11 67/11                  58/7 61/3 62/2 62/25 63/25 65/3
cleaners.com [1] 40/20
                                   conceivably [1] 48/13               66/20 67/3 70/4 70/22 70/23 70/25
clear [11] 26/3 41/6 43/9 44/1
                                   concept [1] 78/24                   71/19 71/23 71/24 73/1 73/23 74/2
 58/15 65/16 65/17 85/15 89/4 89/4
                                   concepts [2] 65/9 65/10             78/24 81/16 82/10 85/8 86/17
 95/22
                                   concern [1] 66/18                   87/14 89/8 94/13 94/19 94/20 96/3
clearly [2] 9/3 108/8
                                   concerned [1] 66/7                  96/9 102/15 104/20 104/24 105/2
clearnet [11] 9/1 37/1 37/14 38/5
                                   conclude [2] 60/16 69/23            108/14
 38/18 38/20 39/1 39/2 43/3 43/6
                                   concluded [2] 41/16 59/13          couldn't [1] 4/25
 43/13
                                   conclusion [2] 58/20 66/2          counsel [9] 4/4 4/5 4/7 4/12
client [1] 53/9
                                   conclusions [1] 25/23               22/14 35/11 42/23 44/11 44/15
clients [2] 33/24 34/6
                                   conduct [3] 63/13 77/25 107/2      couple [3] 6/3 41/25 89/18
close [4] 5/23 34/15 35/5 35/14
                                   conducted [1] 99/10                coupon [4] 47/13 47/13 47/14
closings [1] 5/20
                                   conducting [1] 102/16               47/15
clothes [4] 4/22 4/23 4/25 5/3
                                   conference [10] 35/13 36/5 58/4    course [1] 68/25
Club [1] 38/3
                                    60/21 65/14 66/24 100/8 101/19    court [17] 1/1 2/6 2/7 4/11 4/15
cluster [5] 90/8 93/3 93/6 94/20
                                    105/17 106/23                      4/17 6/4 57/18 58/7 65/18 65/22
 96/1
                                   conferences [1] 68/5                65/25 71/22 95/19 106/15 109/3
clustered [1] 92/15
                                   confident [2] 66/15 101/11          109/13
clustering [11] 90/20 92/12 94/24
                                   confidently [1] 100/24             Court's [2] 44/24 45/7
 95/7 95/9 95/17 95/21 100/3
                                   confirm [2] 102/6 103/2            Courts [1] 2/7
 101/25 102/2 106/16
                                   confirmation [3] 99/21 101/7       covered [1] 93/8
clusters [5] 90/8 92/19 95/10
                                    102/20                            covert [3] 26/13 63/19 63/22
C                                     decentralized [2] 70/15 79/17      directing [2] 75/5 84/23
    Case 1:21-cr-00399-RDM decide
coworkers [1] 27/3
                                       Document    281 Filed 03/16/24directly
                                              [1] 90/16                       Page[2]114 of 125
                                                                                       59/14 99/12
                                      decided [4] 41/7 50/2 50/12 54/13 disagreement [1] 60/13
create [6] 47/5 54/7 70/23 83/25
                                      decision [1] 58/8                  disagreements [1] 59/1
 84/20 94/20
                                      defendant [6] 1/7 2/2 4/11 8/7     disclosure [1] 106/11
created [4] 47/15 54/5 79/12 84/4
                                       8/9 8/13                          discovered [1] 47/20
creates [2] 83/24 84/21
                                      defendant's [2] 31/17 39/21        discovery [1] 101/9
creating [1] 76/12
                                      defendants [2] 59/4 102/23         discuss [7] 5/21 5/22 5/23 12/19
credibility [1] 66/2
                                      defense [9] 22/13 42/23 44/11       56/19 107/2 108/21
crime [1] 98/23
                                       58/6 59/4 60/13 65/15 101/9       discussed [1] 51/24
criminal [5] 1/3 4/2 44/20 85/5
                                       108/15                            discussing [4] 9/15 40/1 48/1
 103/14
                                      definitely [2] 49/16 53/1           68/5
criminals [5] 103/16 103/22 104/1
                                      degree [3] 61/13 61/14 61/23       discussion [3] 48/10 48/21 108/5
 108/4 108/5
                                      demonstration [1] 54/6             dispute [2] 17/16 17/19
criticism [1] 48/11
                                      demonstrative [5] 74/22 75/1       distinct [1] 108/16
CRM [1] 1/19
                                       96/21 96/24 104/21                distinguishes [1] 70/12
cross [9] 3/4 3/6 6/14 53/18 59/9
                                      DEPARTMENT [2] 1/13 62/4           distributed [1] 70/13
 60/16 101/12 101/16 104/8
                                      depending [3] 63/12 85/11 108/17 DISTRICT [4] 1/1 1/1 1/10 2/7
cross-chain [1] 104/8
                                      depiction [1] 96/15                division [1] 61/10
cross-examination [7] 3/4 3/6
                                      deposit [4] 47/12 47/15 102/21     divisions [1] 69/6
 6/14 53/18 59/9 60/16 101/16
                                       105/5                             DNS [5] 37/1 39/16 39/20 39/24
cross-examining [1] 101/12
                                      deposited [1] 67/14                 40/4
cryptocurrencies [4] 48/1 64/8
                                      deposits [1] 98/14                 do [98] 5/2 11/9 14/11 14/14
 71/6 71/20
                                      Dept [1] 1/20                       16/10 16/14 18/5 19/17 20/1 20/4
cryptocurrency [42] 48/2 62/4
                                      describe [3] 61/11 76/5 93/20       20/6 20/7 20/9 22/25 23/2 24/19
 62/5 62/7 62/8 62/13 62/16 62/23
                                      described [1] 99/18                 32/4 33/6 33/6 34/20 34/25 35/7
 62/24 63/4 63/21 64/11 64/15
                                      describing [1] 85/15                35/7 36/12 36/18 37/4 39/1 39/8
 64/16 64/18 65/1 65/9 67/17 68/5
                                      description [1] 96/15               39/13 39/15 39/18 39/19 40/9
 68/9 68/12 69/4 69/11 69/16 69/22
                                      design [3] 48/11 48/14 48/14        41/14 42/4 44/4 44/19 45/24 49/2
 69/25 70/4 70/9 70/10 70/12 70/17
                                      designed [2] 47/14 73/3             49/11 50/6 51/7 51/8 51/14 51/16
 70/18 71/1 71/4 71/20 73/3 98/23
                                      destination [1] 85/7                51/21 51/22 52/15 52/23 56/20
 104/9 104/10 104/11 104/13 105/21
                                      detail [4] 13/24 58/19 59/12        59/8 59/22 59/25 60/23 61/6 63/3
cryptocurrency-related [2] 48/2
                                       61/24                              63/5 63/20 64/1 65/12 66/6 67/7
 69/11
                                      detailed [2] 60/18 62/3             67/12 68/7 68/8 68/23 69/2 69/5
cryptography [5]   70/16  70/16  79/2
                                      details [5] 38/8 52/8 59/5 67/2     69/10 69/14 71/24 74/3 74/4 74/14
 79/4 79/23
                                       67/5                               76/15 85/6 86/10 86/10 87/16
cup [1] 84/13
                                      determine [3] 85/7 104/4 104/16     88/13 89/24 90/16 91/9 92/11
curious [1] 6/6
                                      determined [1] 90/9                 96/12 96/13 97/24 98/6 98/9 98/18
currencies [1]   70/12
                                      developments [1] 48/3               100/2 101/23 103/16 104/1 104/1
currency [12] 62/18 62/21 62/22
                                      device [5] 8/17 72/23 73/2 107/19 104/17 104/18 108/12
 67/19 67/24 67/25 68/3 69/9 70/5
                                       107/21                            document [12] 8/16 9/2 9/3 9/5
 70/6 70/10 70/11
                                      devices [17] 7/20 7/23 7/25 8/3     9/21 11/14 11/15 20/21 23/9 39/6
current [1]  61/8
                                       8/4 8/14 8/18 8/24 9/13 10/4       40/7 49/7
currently [4] 44/6 75/8 75/10
                                       12/17 25/10 32/19 37/10 38/13     documents [3] 7/23 12/20 37/4
 86/18
                                       39/25 63/11                       does [42] 9/12 11/6 11/8 12/3
custodial [1] 72/9
                                      diary [8] 12/12 12/14 21/20 21/23 12/7 12/18 12/20 12/25 16/19
customer [3] 14/21 19/3 38/8
                                       21/24 22/3 22/5 22/6               20/11 20/20 21/18 22/14 23/7 24/8
customer's [1] 68/22
                                      did [72] 9/10 11/22 11/24 13/13     24/9 24/10 31/12 44/20 52/3 52/3
customers [2] 98/2 98/11
                                       13/21 14/1 14/8 14/10 14/19 14/24 57/14 58/23 63/6 63/16 64/11
cut [1] 30/11
                                       15/13 15/15 15/21 16/8 18/20       65/23 73/21 75/18 77/7 78/6 78/14
cyber [1] 99/4
                                       19/12 21/1 21/21 21/23 22/9 23/21 78/16 79/7 79/8 82/3 84/10 90/21
cyberattacks [1] 43/11
                                       24/14 24/16 25/4 25/6 25/8 26/7    91/22 99/25 102/2 102/12
cybercrime [1] 6/19
                                       26/19 26/25 27/3 28/24 29/2 37/3 doesn't [33] 7/2 7/5 7/15 9/5
cybercriminal [4] 8/6 64/12 64/21
                                       41/17 41/25 42/10 43/20 43/21      11/25 12/4 12/8 21/6 21/8 21/9
 67/10
                                       43/25 47/5 47/8 47/19 48/4 48/17   21/11 21/12 21/15 21/16 23/7
cybersecurity [2] 61/14 61/17
                                       48/18 49/21 50/19 50/20 50/21      23/10 23/12 23/13 23/23 24/11
cybersquads [1] 64/22
                                       50/22 51/1 51/3 52/21 53/13 54/7   24/13 31/11 31/14 32/5 32/15
D                                      54/8 54/10 55/17 55/18 56/5 56/8   32/18 36/3 44/11 44/20 59/16 70/7
                                       56/11 61/16 61/21 62/8 66/19       78/21 83/16
daily [1] 68/17                        74/11 74/13 97/21 99/14 107/6     doing [9] 52/19 57/4 57/7 63/20
dark [1] 64/4                          108/1                              64/11 69/13 93/24 95/18 96/5
darknet [4] 63/21 64/18 64/23         didn't [31] 5/2 10/20 14/10 16/7 DOJ [3] 1/16 1/19 69/15
 108/6                                 19/2 20/13 21/3 21/22 23/16 23/17 DOJ-CRM [1] 1/19
data [11] 8/2 18/21 18/25 77/12        23/20 24/5 24/17 24/21 25/2 26/13 DOJ-USAO [1] 1/16
 88/5 100/11 100/12 100/18 100/22
                                       26/24 27/11 35/16 39/10 41/24     dollars [6] 33/5 33/13 34/4 34/5
 100/24 101/3
                                       43/23 45/10 48/15 54/19 58/10      72/5 90/14
date [5] 71/11 81/21 81/22 81/25       59/1 60/13 60/18 66/6 72/5        domain [3] 9/4 30/24 54/13
 98/11
                                      difference [1] 78/10               don't [66] 5/4 6/7 7/10 7/11 7/11
Dated [1] 109/10
                                      different [20] 26/2 51/7 62/25      7/11 7/17 7/18 11/5 11/6 12/14
Daubert [7]  58/5  58/6  58/15  60/5   70/15 71/21 75/9 79/20 80/15       15/3 15/5 15/6 17/16 17/19 19/16
 65/18 100/10 100/15                   81/16 91/1 92/7 93/13 104/3 104/8 19/17 19/25 20/15 20/18 20/25
Dauberted [2] 106/13 106/14            105/11 105/14 105/22 106/16        21/18 22/1 22/6 22/21 25/9 25/17
David [1] 47/11                        107/15 108/18                      29/16 35/22 39/5 39/14 41/8 42/5
day [13]  4/20 16/10   30/22 65/3
                                      difficult [4] 85/12 104/4 104/15    43/24 45/12 51/18 53/9 55/19
 65/3 65/20 65/20 66/12 66/12 67/4
                                       108/2                              56/19 57/7 57/16 65/20 72/11
 67/4 67/9 109/10
                                      digital [5] 8/10 29/15 29/18        72/19 75/25 78/8 81/18 84/18
days [3] 5/24 27/15 43/4               29/25 47/11                        84/19 86/24 90/3 92/20 96/4
DC [5]  1/5 1/14  1/17  1/21 2/9
                                      digitally [1] 29/22                 100/13 100/21 105/18 105/23
de [5] 30/15 30/16 36/23 37/24        diligent [1] 13/19                  105/25 106/9 106/12 106/13 106/24
 46/19
                                      direct [14] 3/6 3/9 25/14 27/13     107/1 107/1 107/2
De-Fi [1] 46/19                        28/11 42/12 46/1 46/12 48/25      done [6] 20/18 37/6 58/11 59/15
dealing [3] 8/6 8/11 106/5             49/10 50/7 51/4 51/11 61/1         70/7 95/9
D                                  equivalent [8] 72/15 80/10 80/11    65/17 65/19 65/21 65/25 65/25
    Case 1:21-cr-00399-RDM Document
door [1] 31/20
                                    80/17 80/22 281     Filed
                                                 80/23 81/2   03/16/2466/5Page
                                                            82/1                  115 of100/23
                                                                             66/9 69/24   125 105/19
                                   error [4] 59/25 100/11 101/4        105/20 106/1 106/3 106/4 106/8
doubt [1] 52/23
                                    101/13                             106/10 106/11 106/17 106/19 107/7
down [16] 4/23 18/6 33/13 36/18
                                   essential [1] 76/8                  107/18
 36/23 38/24 48/16 49/6 49/20 50/4
                                   essentially [10] 6/20 38/3 47/12 experts [1] 62/23
 51/20 55/11 71/23 79/7 94/16
                                    64/22 72/25 78/11 78/13 79/3      explain [23] 14/20 63/25 65/8
 97/21
                                    93/23 107/10                       65/8 70/4 73/9 74/5 74/12 75/6
download [1] 72/23
                                   establish [1] 65/6                  77/13 78/24 87/20 88/12 91/12
dozens [1] 11/6
                                   established [1] 100/10              97/1 102/15 102/25 104/11 104/21
draw [2] 25/23 75/23
                                   estimate [2] 68/23 69/10            105/2 105/13 106/6 108/2
drawing [1] 87/3
                                   Ethereum [1] 68/11                 explaining [1] 108/7
drive [9] 9/2 21/15 21/16 23/17
                                   Euros [1] 33/6                     explore [2] 101/16 101/17
 23/20 23/22 25/5 38/14 40/1
                                   even [15] 7/17 26/20 56/19 57/4    explorer [6] 87/22 87/24 87/25
drives [25] 8/19 8/20 8/20 9/13
                                    57/6 58/14 58/24 58/25 60/12       88/1 89/21 90/19
 9/14 10/5 10/7 10/8 10/10 12/5
                                    65/25 69/8 73/3 87/12 92/19 93/17 explorers [1] 79/21
 12/8 12/18 12/18 13/8 21/10 21/12
                                   eventually [1] 77/4                expressing [1] 35/25
 23/14 24/13 24/15 25/3 37/10
                                   ever [5] 25/11 41/8 41/14 42/7     expressions [1] 35/21
 38/13 38/13 39/25 39/25
                                    74/8                              extending [1] 39/19
drop [1] 78/6
                                   every [7] 4/19 53/10 79/12 79/24 extends [1] 58/14
dumb [1] 49/25
                                    82/3 85/2 102/4                   extensive [2] 13/1 60/8
Duncan [8] 3/5 45/5 46/9 46/18
                                   everybody [1] 79/22                extensively [2] 52/17 52/22
 46/22 50/18 51/15 52/12
                                   everyone [1] 88/8                  extorts [1] 67/11
DuncanT [2] 48/6 53/11
                                   everything [6] 7/20 8/24 19/16     extraction [1] 10/20
during [4] 12/24 22/19 35/22
                                    22/7 40/1 50/17                   extremely [1] 34/15
 58/11
                                   evidence [27] 8/2 9/19 12/24 13/1 eyewitness [3] 6/16 6/21 6/24
duty [1] 62/3
                                    17/12 17/23 25/10 25/14 25/16
E                                   25/22 25/24 29/11 33/20 37/4 37/9 F
                                    37/13 37/20 39/15 44/15 44/15     facial [1] 35/21
e9521 [2] 86/23 88/15               59/20 59/25 60/8 60/12 64/10      fact [8] 12/21 25/9 60/9 66/13
e9521b [2] 78/1 87/8                67/15 101/4                        87/13 99/14 103/7 106/19
each [4] 73/11 73/21 80/11 106/1
                                   evidentiary [1] 64/20              fair [4] 22/15 59/9 60/15 101/14
earlier [6] 22/1 64/14 84/25 91/3 evolving [1] 67/25
                                                                      fairly [2] 47/25 64/3
 92/1 94/7
                                   exactly [2] 55/12 65/16            Falco [4] 30/15 30/16 36/23 37/24
early [2] 10/22 64/16              examination [15] 3/4 3/6 3/6 3/7 falls [1] 108/12
easier [1] 87/18                    3/9 6/14 35/17 35/23 46/12 53/18 familiar [6] 7/19 23/25 24/5 24/6
educational [1] 61/11               56/3 59/9 60/16 61/1 101/16        24/7 38/2
effect [2] 27/20 27/21
                                   examined [1] 25/22                 far [4] 26/10 27/12 27/13 42/16
either [2] 45/22 101/12
                                   examining [1] 101/12               FBI [17] 61/21 61/25 62/13 62/17
EKELAND [9] 2/2 2/3 3/4 3/6 4/10
                                   example [16] 59/14 63/2 75/7        62/23 63/13 64/15 64/16 64/22
 6/11 53/17 57/3 57/4
                                    82/13 82/14 83/15 84/11 86/17      67/23 69/5 69/6 69/15 99/5 99/7
electrical [1] 47/3                 92/19 94/19 96/3 99/1 99/3 104/23 100/2 101/23
else [10] 9/15 25/11 38/14 38/15    105/1 108/16                      FBI's [3] 62/18 62/22 69/8
 40/1 49/15 49/21 49/22 50/19 94/8
                                   examples [1] 99/23                 feature [1] 93/25
else's [1] 50/8                    Excel [1] 10/21                    features [4] 80/16 93/14 93/16
email [29] 11/3 11/19 16/13 16/21
                                   exception [1] 84/18                 94/2
 16/23 19/15 20/8 20/20 20/24 21/1
                                   exceptions [1] 83/10               February [2] 1/5 109/10
 22/9 22/18 23/3 23/6 24/21 25/2
                                   excerpts [1] 8/9                   Federal [1] 61/7
 38/3 38/9 40/10 40/11 40/14 40/15
                                   exchange [22] 14/23 16/15 40/11    fee [4] 78/7 78/9 78/11 93/17
 52/8 52/11 52/13 52/21 53/9 67/16
                                    70/23 70/24 71/2 71/3 71/8 71/9   Feel [1] 45/16
 102/19                             71/11 71/16 72/7 72/13 72/17      fees [1] 93/17
emails [2] 41/1 102/20              72/19 98/4 98/5 98/5 99/2 99/19   few [2] 52/8 93/19
empirical [1] 101/2                 102/18 102/20                     Fi [1] 46/19
employee [1] 64/2                  exchanges [8] 16/11 71/21 72/8     field [2] 80/22 80/23
employers [3] 28/9 28/18 28/21      90/6 98/2 98/7 98/15 98/18        fields [1] 85/14
encouraged [1] 48/14
                                   excuse [3] 14/15 18/11 105/1       fifty [2] 72/4 72/4
encrypted [3] 10/11 10/16 10/18
                                   excused [2] 45/2 56/15             figure [1] 86/10
encrypts [1] 67/11
                                   execute [1] 43/11                  file [5] 10/11 10/12 10/13 10/17
end [7] 36/5 50/2 50/19 60/21
                                   executed [4] 11/18 20/23 33/24      13/20
 66/24 101/19 106/23                35/5                              filter [1] 57/9
enforcement [20] 26/8 26/10 26/15 exhibit [22] 3/12 9/19 17/12
                                                                      finalizing [1] 64/8
 26/21 27/1 28/8 28/18 29/3 60/2    17/22 17/23 29/11 29/11 29/12     financial [5] 18/7 18/9 18/11
 62/4 62/5 62/9 69/7 85/5 94/23     29/13 29/22 30/5 30/21 37/18       68/21 71/4
 95/6 98/18 98/22 103/16 103/23     37/19 48/25 49/3 51/4 74/14 74/21 find [6] 5/11 17/16 43/9 86/12
engage [1] 64/19                    74/25 96/9 96/20                   94/13 94/19
engaged [2] 7/8 63/22
                                   Exhibit 15 [1] 51/4                fine [1] 45/11
engaging [1] 64/6
                                   Exhibit 22 [1] 48/25               finish [1] 24/23
engineer [1] 46/18
                                   Exhibit 307 [3] 74/14 74/21 74/25 first [22] 10/19 46/17 46/21
engineering [2] 47/3 47/4
                                   Exhibit 313 [2] 29/12 29/22         46/22 49/13 49/17 49/23 54/19
enough [2] 22/15 82/9              Exhibit 324A [2] 96/9 96/20         64/17 65/18 75/15 75/16 76/11
ensure [1] 59/4                    Exhibit 502H [1] 37/19              78/25 80/17 82/18 83/20 83/21
ensures [1] 79/4                   Exhibit 702 [1] 9/19                87/1 87/11 89/23 107/12
entail [1] 62/9                    Exhibit 892 [2] 17/12 17/23        fit [1] 90/22
entered [1]  4/19
                                   Exhibit Exhibit 313 [1] 29/11      flipping [1] 89/20
enterprising [1] 47/20
                                   EXHIBITS [1] 3/11                  floor [2] 2/4 45/20
entirely [2] 106/16 107/20
                                   exist [2] 70/7 85/2                flow [11] 20/3 29/23 31/1 31/22
entirety [1] 83/18
                                   existing [1] 50/15                  32/2 32/11 34/11 34/15 85/10
entities [2]  90/8 90/14
                                   exists [1] 47/23                    89/22 105/2
entitled [1] 109/5                 expect [2] 8/7 8/10                flows [1] 90/14
entity [3] 83/5 90/10 90/21        experience [8] 62/13 63/3 63/20    fluctuates [1] 72/2
enumerate [1] 106/1                 65/1 65/7 66/3 66/16 102/7        foam [2] 20/2 30/22
equate [1] 80/16                   expert [25] 58/9 58/25 59/1 60/13 focused [1] 64/23
F                                   go [18] 35/11 36/15 57/2 57/2      has [53] 9/18 9/21 13/16 13/18
    Case 1:21-cr-00399-RDM Document
Fog [36] 6/18 6/22 6/25 7/2 7/5
                                                 281 57/16
                                     57/3 57/15 57/16    Filed 03/16/2414/4Page
                                                             65/11           14/13 116  of23/25
                                                                                    16/17  125 24/3 25/22
                                     66/17 75/3 76/2 78/15 86/12 97/24 26/4 27/15 29/18 44/11 44/16
 7/8 7/15 7/17 8/1 8/5 8/15 8/21
                                     99/18 106/24 108/14                49/19 51/5 53/7 56/10 58/6 59/24
 9/16 11/1 12/19 19/1 19/4 19/18
                                    goal [2] 64/19 98/1                 60/1 64/2 65/18 65/21 66/13 69/18
 25/12 25/16 27/6 28/23 39/17 41/4
                                    goes [9] 20/11 32/3 66/2 66/14      70/7 72/6 73/11 75/8 76/17 78/17
 43/7 43/9 43/12 43/15 44/1 44/2
                                     67/14 84/3 84/3 98/3 104/16        79/19 81/9 81/19 81/24 83/16 88/8
 44/6 44/7 44/7 46/20 106/7 108/7
                                    going [42] 5/6 5/14 6/3 8/8 9/3     90/9 92/3 92/5 92/17 96/9 97/5
Fog.site [1] 43/4
                                     10/22 13/16 20/10 28/10 28/17      101/15 103/7 103/10 103/12 105/19
follow [2] 85/10 87/15
                                     31/10 34/13 36/17 45/25 46/2       105/20 106/17 107/22
following [5] 20/3 59/6 67/13
                                     46/24 50/5 53/4 56/17 57/15 58/16 hash [1] 78/1
 91/19 99/17
                                     60/17 60/19 66/7 66/17 75/25 76/1 hashes [1] 88/2
footprint [1] 8/10
                                     76/18 78/17 83/18 87/3 87/9 90/18 hasn't [2] 13/17 107/17
foregoing [1] 109/4
                                     90/19 91/24 94/9 97/13 101/13     HASSARD [2] 2/2 4/12
forget [1] 55/12
                                     102/17 106/3 106/5 107/25         have [151]
form [2] 18/2 59/6
                                    Gold [1] 15/20                     haven't [3] 29/8 77/6 96/8
format [2] 10/17 52/1
                                    good [10] 4/6 4/9 4/10 4/13 5/16 having [3] 34/20 34/25 64/7
formatting [1] 51/7
                                     8/8 8/11 46/14 46/15 50/6         he [96] 4/21 4/24 4/24 4/25 5/1
forms [3] 17/19 71/21 73/1
                                    goods [1] 64/9                      7/21 7/24 9/3 12/20 13/11 13/12
forum [5] 11/2 48/1 48/21 64/4
                                    Google [10] 8/20 9/2 9/14 21/15     14/12 14/18 14/19 15/15 16/7 16/7
 64/22
                                     21/16 23/20 23/21 25/5 38/14 40/1 16/8 16/20 16/25 17/4 17/7 17/8
forward [6] 57/15 67/13 67/18
                                    got [9] 8/20 21/2 31/1 34/21        18/15 18/19 18/19 19/15 19/16
 85/10 91/19 98/1
                                     34/25 36/4 48/19 54/15 84/6        19/17 20/18 22/2 22/3 24/17 25/22
found [7] 10/11 10/16 10/19 17/22
                                    GothenCoin [1] 16/17                26/1 28/22 28/22 31/22 36/10
 54/10 54/13 63/9
                                    gotten [2] 53/7 101/7               36/11 39/10 40/25 41/10 41/23
foundation [5] 22/2 65/10 66/9
                                    government [50] 3/12 4/5 7/2 7/5    41/24 41/25 41/25 42/5 44/11
 101/3 103/20
                                     7/15 9/19 10/4 10/11 10/16 10/19   45/19 58/8 58/9 58/10 65/8 65/10
fourth [1] 90/12
                                     11/1 13/10 14/2 17/12 17/22 17/23 65/21 65/24 66/4 66/5 66/11 66/13
free [2] 45/16 108/15
                                     19/23 23/25 26/7 27/11 27/15       66/15 66/18 66/18 75/15 76/16
frequently [9] 52/21 71/13 83/12
                                     27/21 29/2 29/11 29/22 29/23       76/17 76/18 76/19 76/20 77/5 82/8
 87/17 94/2 99/25 103/13 104/6
                                     30/15 31/11 31/14 32/5 41/17       82/10 82/20 83/16 83/18 83/22
 104/8
                                     41/19 41/21 41/24 45/4 45/5 55/22 83/23 83/24 84/2 100/21 100/22
friends [2] 27/2 28/3
                                     57/21 57/23 59/20 65/23 68/4       100/24 101/6 103/20 105/20 105/23
front [8] 30/22 35/16 59/22 59/25
                                     69/21 71/12 74/21 96/20 98/12      106/3 106/3 106/5 106/8 106/9
 60/8 77/10 84/20 84/23
                                     101/14 106/11 107/6                106/18 107/8 107/17 108/16
full [8] 13/8 30/12 46/17 48/8
                                    government's [3] 22/19 27/21       he'll [1] 76/18
 51/21 53/7 61/23 79/18
                                     108/8                             head [1] 106/12
function [2] 50/21 106/6
                                    Gox [24] 14/11 14/12 14/15 14/16 hear [4] 27/11 27/18 68/19 101/6
functionality [4]   105/22   106/7
                                     14/24 15/2 20/3 20/7 22/25 22/25 heard [3] 6/25 70/3 74/5
 107/16 107/21
                                     24/1 31/2 31/4 31/6 31/9 32/11    hearing [5] 60/5 65/18 65/19
fundamental [3] 59/1 60/13 68/12
                                     32/12 32/25 33/4 33/9 33/23 34/1   100/10 100/15
fundamental-type [1] 68/12
                                     34/13 34/22                       hearsay [6] 27/9 27/12 27/17
fundamentals [1]   68/9
                                    graduating [1] 61/16                27/18 27/23 27/25
funds [60] 20/3 31/1 31/9 31/23
                                    granular [1] 90/23                 heavily [1] 40/24
 32/2 32/11 33/8 36/15 63/23 67/13
                                    graph [2] 89/19 96/6               held [5] 35/13 58/4 65/14 100/8
 67/18 72/6 72/10 73/14 75/14
                                    graphical [3] 89/9 89/18 89/21      105/17
 75/16 75/21 76/11 76/12 77/6 77/7
                                    graphing [1] 90/21                 Hello [1] 18/3
 78/2 80/20 80/24 80/25 81/9 81/10
                                    graphs [2] 96/7 97/19              help [3] 50/17 74/11 74/18
 82/9 82/12 82/19 82/22 83/23 85/7
                                    great [2] 50/14 85/13              helpful [3] 37/18 91/6 96/17
 85/10 86/5 86/7 86/8 86/16 86/22
                                    Grin [1] 16/20                     her [3] 58/25 75/20 92/6
 87/9 89/10 89/22 91/24 97/4 97/4
                                    grosser [1] 59/15                  here [43] 5/15 18/10 27/7 27/9
 97/10 97/12 98/1 98/4 98/5 99/2
                                    ground [1] 60/15                    31/1 31/1 31/10 32/12 32/25 33/1
 99/11 99/11 102/17 104/6 104/7
                                    grounds [1] 59/9                    33/17 46/5 49/7 49/11 51/9 65/7
 104/14 105/3 105/6 108/2
                                    group [4] 62/6 62/22 67/25 90/8     66/7 66/20 75/8 75/15 75/22 77/11
further [9] 41/24 44/22 52/2
                                    grouping [2] 90/7 92/11             77/23 82/19 84/5 85/14 85/15
 53/13 53/16 54/13 56/1 56/14
                                    growing [1] 80/2                    85/18 86/3 86/14 86/20 87/4 88/12
 92/25
                                    guilty [1] 99/16                    88/23 89/5 92/3 92/4 92/5 92/14
G                                                                       94/5 104/22 107/3 108/9
                                    H                                  heuristic [6] 58/22 58/24 59/2
gathered [1] 102/9                                                      59/3 59/5 60/14
                                    hacking [3] 64/20 64/24 99/5
general [5] 7/12 60/12 95/16
                                    had [30] 5/1 7/17 13/10 14/2 15/8 heuristics [3] 58/21 90/10 90/11
 97/14 97/16
                                     16/20 16/25 17/8 18/10 18/15      Hi [2] 53/4 53/6
generally [10] 64/1 67/6 73/19                                         hide [1] 104/1
                                     18/19 22/7 33/4 34/21 48/5 50/2
 87/24 93/20 95/12 96/4 96/14 98/1
                                     53/7 54/1 54/20 55/11 57/13 65/18 hiding [1] 8/10
 99/20
                                     82/8 82/9 84/13 92/16 99/4 99/6   high [2] 30/24 105/13
generating [1] 33/1
                                     101/22 102/22                     highhosting.net [3] 37/2 37/5
generic [1] 99/23                                                       38/4
                                    hand [3] 84/15 87/13 87/16
get [30] 5/14 9/20 10/1 17/11
                                    handed [2] 53/8 87/3               highly [2] 101/5 101/9
 21/1 29/10 42/16 47/13 50/17 53/6
                                    handle [1] 48/5                    him [20] 5/3 7/24 8/15 9/15 13/2
 53/11 55/9 55/14 55/15 57/19                                           22/2 25/11 25/11 25/24 25/25 26/1
                                    handles [1] 93/17
 58/16 59/12 60/17 65/16 70/22                                          27/14 31/18 39/10 58/13 65/19
                                    happen [2] 54/10 99/25
 74/3 74/4 75/18 84/16 84/17 92/21                                      65/25 66/9 106/13 106/14
                                    happened [8] 34/15 41/8 41/11
 94/8 99/21 102/18 108/14
                                     41/14 74/8 92/4 92/5 103/7        hindering [1] 104/18
gets [3]  33/8  78/11  81/24
                                    happening [5] 41/16 57/8 92/3      his [92] 4/25 8/10 8/14 8/20 9/13
getting [10] 5/10 10/3 55/19                                            9/13 9/14 10/5 10/10 12/12 12/14
                                     94/5 97/17
 61/16 63/25 66/18 93/19 100/18
                                    happens [1] 76/22                   12/15 12/16 12/18 12/24 14/15
 107/23 108/16
                                    happy [3] 5/21 27/18 106/2          15/10 15/14 15/16 15/18 15/20
give [7]  58/18  58/19  69/3  84/19
                                    hard [12] 8/19 9/13 12/5 12/18      15/22 15/25 16/3 16/17 16/17
 96/3 99/1 101/1                                                        16/23 17/2 17/20 18/7 18/13 18/17
                                     21/9 23/14 24/13 24/14 37/10
given [4] 59/24 60/8 60/9 60/12                                         18/23 19/15 20/18 21/15 21/19
                                     38/13 39/25 85/22
Gmail [1] 63/8                                                          21/21 21/22 21/22 21/23 21/23
                                    hardware [2] 63/11 73/2
gmail.com [1] 40/15                                                     23/10 23/17 23/20 23/21 23/23
                                    Harry [1] 37/22
H                                   IDs [3] 81/17 88/2 98/12           investigative [5] 65/3 66/12 67/4
    Case 1:21-cr-00399-RDM illegal
his... [45] 24/11 24/13 24/14
                                     Document
                                            [1] 281
                                                  48/18 Filed 03/16/2467/17 Page   117 of 125
                                                                               68/10
                                    IM [1] 53/9                        investigator [3] 68/13 68/14
 24/16 24/23 25/3 25/5 25/7 26/18
                                    immediately [1] 96/1                92/20
 27/3 27/4 27/14 28/19 28/20 28/21
                                    IMO [1] 50/1                       investigator-type [1] 68/13
 31/7 34/22 37/10 37/10 38/13
                                    implement [1] 48/15                investigators [2] 68/20 103/14
 38/13 38/14 42/13 43/9 65/19
                                    implicating [1] 59/15              invoices [2] 39/15 39/19
 65/20 66/14 66/14 66/15 66/16
                                    implicitly [1] 51/19               invoking [1] 71/22
 75/14 76/16 82/20 83/20 83/22
                                    important [1] 98/18                involve [4] 63/6 63/10 64/11
 83/22 83/25 99/1 100/22 100/23
                                    imposters [1] 43/10                 95/11
 101/22 106/6 106/13 108/10 108/13
                                    incentivizes [2] 78/9 78/12        involved [5] 40/24 64/17 64/18
history [1] 94/11
                                    incidents [1] 60/6                  67/22 99/3
hold [5] 27/7 68/7 68/8 73/21
                                    include [6] 78/7 78/8 78/10 78/12 involves [2] 63/7 107/8
 75/9
                                     102/12 108/4                      involving [3] 62/15 63/20 63/23
holding [2] 75/12 75/13
                                    included [6] 77/8 79/10 79/11      IRC [2] 52/15 53/12
holds [2] 72/16 75/10
                                     81/24 88/19 88/19                 ire [1] 71/22
holistic [1] 94/8
                                    including [3] 68/9 106/4 108/6     is [511]
home [1] 15/22
                                    incorrect [2] 15/4 60/7            is happening [1] 57/8
honor [58] 4/10 4/15 5/4 5/10
                                    incredible [1] 35/6                is not [1] 33/19
 5/17 6/13 9/21 14/4 20/17 21/25
                                    independent [2] 51/16 51/25        isn't [4] 15/1 48/20 81/23 107/13
 22/13 22/16 24/22 25/19 26/5
                                    index [1] 86/21                    issue [5] 58/5 58/23 59/3 59/9
 28/10 28/12 29/5 29/12 29/25
                                    indexed [1] 86/14                   60/18
 30/14 31/18 31/25 32/7 32/21 39/9
                                    indicated [1] 60/5                 issuer [1] 47/14
 41/9 42/14 42/23 44/8 45/1 45/6
                                    indications [1] 64/21              issues [3] 31/23 60/15 101/16
 45/15 45/19 46/8 50/15 55/1 56/1
                                    indictments [1] 69/19              issuing [1] 48/12
 56/24 56/25 57/23 58/2 60/20 65/5
                                    individual [2] 64/6 91/21          it [333]
 65/15 66/22 66/23 69/21 74/24
                                    individuals [1] 47/21              its [10] 14/25 29/19 45/4 57/22
 100/5 101/1 105/15 105/25 106/9
                                    indulgence [2] 44/24 45/7           58/8 65/24 81/19 83/17 88/23
 107/12 108/11 108/19 108/23
                                    inferences [1] 25/23                108/15
HONORABLE [1] 1/9
                                    information [35] 9/22 14/22 14/25
hopping [1]   104/9
                                     19/3 26/5 28/12 40/21 71/19 77/13 J
horizontally [1] 97/19
                                     77/17 77/20 77/25 80/11 80/14     Japanese [1] 38/9
host [1] 72/22
                                     80/16 84/24 85/6 85/19 87/23 88/3 JEFFREY [2] 1/18 4/7
HostGator [4] 39/2 39/3 39/4
                                     88/20 90/3 91/14 93/1 95/10 98/2 Jersey [1] 99/4
 39/13
                                     98/9 98/10 98/16 98/19 102/8      job [1] 90/17
hosting [6] 30/24 37/8 37/15 39/2
                                     102/9 102/12 102/22 103/2         join [1] 61/21
 39/16 39/24
                                    initial [2] 99/20 102/4            joined [2] 13/19 62/17
hotmail.com [22] 11/3 11/7 11/16
                                    initially [1] 50/4                 joint [1] 62/3
 11/19 11/25 19/5 19/21 20/8 20/11
                                    input [30] 77/17 77/18 78/2 78/3 JUDGE [2] 1/10 106/21
 21/2 21/16 21/19 22/9 24/4 24/8
                                     78/10 80/19 80/21 82/3 82/6 82/7 July [1] 50/2
 25/3 32/12 37/6 38/10 39/21 40/11
                                     82/11 83/4 83/25 84/2 84/9 85/15 June [1] 47/9
 41/3
                                     85/18 85/19 85/23 86/11 86/24     jurisdictions [1] 104/8
hour [2]  6/1  6/2
                                     87/5 88/21 88/21 88/23 97/8 97/9 juror [4] 5/9 5/13 57/13 106/21
hours [6] 6/3 68/23 68/25 69/1
                                     104/14 104/17 105/8               jurors [1] 6/9
 69/10 69/13
                                    inputs [7] 82/4 82/17 83/1 83/3    jury [33] 1/9 6/5 6/10 14/20
housekeeping [1] 5/17
                                     83/7 83/17 91/18                   25/23 26/4 30/4 30/6 30/22 35/17
Houston [1] 63/1
                                    inquiries [1] 53/2                  35/21 35/21 35/24 35/25 44/14
how [41] 7/17 9/3 11/6 32/2 35/4
                                    insert [1] 71/1                     46/16 56/16 56/21 57/19 57/20
 36/15 42/16 45/24 54/10 62/15
                                    instances [1] 90/18                 65/9 65/24 65/24 66/1 66/9 70/4
 68/23 69/10 72/10 75/18 77/2 79/7
                                    Institute [1] 61/15                 74/18 88/12 96/17 101/5 104/11
 79/8 80/16 82/25 84/7 84/10 90/16
                                    institution [1] 71/4                104/24 107/4
 91/14 92/22 93/17 93/17 93/21
                                    institutions [1] 68/21             just [89] 6/6 14/20 17/11 17/24
 93/22 94/3 95/20 97/24 99/1 99/18
                                    intelligence [1] 61/10              19/2 22/6 22/23 26/2 27/17 30/25
 102/25 103/20 106/6 106/8 107/8
                                    intentionally [2] 57/7 94/23        31/22 32/13 33/10 35/4 35/12
 107/21 108/2 108/7
                                    interested [2] 53/22 64/6           35/23 35/23 36/8 36/21 45/8 45/19
huh [6] 19/8 19/20 19/23 22/23
                                    intern [1] 61/22                    46/3 48/2 49/6 49/13 50/10 50/13
 42/20 42/22
                                    internal [1] 106/7                  52/4 52/7 52/16 53/3 53/7 54/9
hundred [1] 11/6
                                    International [8] 7/21 12/2 12/6    54/25 55/9 56/16 56/18 57/2 57/2
hundreds [1] 69/1
                                     12/9 23/11 23/15 23/18 32/20       58/5 59/6 60/18 65/16 65/16 66/7
hurdle [1] 58/15
                                    internet [6] 47/25 52/16 70/8       67/15 67/16 68/25 70/6 70/10
I                                    78/17 78/22 79/20                  70/15 72/16 72/22 73/8 73/21 74/7
                                    internet.BS [2] 38/17 38/19         76/5 77/24 78/9 79/8 80/6 81/7
I'd [4] 29/15 64/5 92/22 107/12     internet.BSCorp [2] 37/15 38/6      81/11 81/15 82/3 83/7 88/10 89/8
I'm [9] 20/15 20/17 22/23 37/21     interview [4] 26/24 27/3 41/17      89/12 92/21 92/22 93/25 95/2
 38/23 40/7 57/2 95/1 105/18
                                     103/1                              99/18 99/22 99/23 100/13 100/16
ID [13]  14/16  14/23  71/12  77/15
                                    interviewed [8] 26/11 26/16 26/18 101/6 104/13 104/23 104/24 105/1
 77/19 81/15 81/19 85/18 86/1 86/3
                                     26/21 27/1 28/3 28/8 28/18         106/12 106/15 107/5 107/7 107/12
 86/25 87/10 88/15
                                    interviews [1] 102/23               108/21
idea [2] 5/2 50/6
                                    introduce [1] 46/16                JUSTICE [3] 1/13 1/20 62/4
ideal [1]  91/8
                                    intrusion [1] 64/24
identifiable [1] 16/23              intuitive [1] 89/22                K
identification [1] 93/13            invalid [1] 40/15                  keep [4] 72/19 80/6 80/7 97/19
identified [4] 15/20 36/12 99/7     investigate [2] 6/19 98/23
 103/4                                                                 keeps [1] 80/8
                                    investigated [1] 54/13             kept [1] 54/21
identifier [4] 73/8 77/16 81/14
                                    investigating [1] 67/9             key [13] 31/11 32/5 72/25 73/9
 86/2
                                    investigation [19] 13/16 13/19      73/12 73/14 73/17 73/19 73/22
identifiers [1] 63/9                 26/12 27/15 27/22 42/14 61/7 63/7 77/1 77/13 81/7 81/12
identifies [2]   34/11  34/20
                                     64/17 64/19 67/10 67/18 85/11     keys [4] 72/11 72/11 73/4 83/8
identify [4] 34/25 90/6 91/6         91/2 99/2 99/5 99/16 102/16 103/5 Killdozer [1] 53/14
 97/17
                                    investigations [10] 62/7 62/24     kind [4] 27/21 89/22 100/18
identifying [3] 67/17 91/19 94/20 64/23 67/8 87/16 90/25 91/6 98/6
                                                                        107/21
identity [3] 48/7 71/13 98/13        101/8 102/10                      knew [2] 54/20 76/1
K                                   80/15 80/19 80/20 80/21 81/7      make [14] 5/14 20/15 35/14 64/20
    Case 1:21-cr-00399-RDM Document
know [54] 5/4 7/11 7/17 11/5 11/6
                                    81/11 81/15 281     Filed85/13
                                                 81/18 82/21  03/16/2466/1Page    118 87/18
                                                                             81/7 81/8 of 12595/13 97/6
                                    89/16 90/14 91/16 91/19 93/16      104/4 104/14 105/9 108/2
 12/14 13/12 14/21 15/5 19/16
                                    93/18 95/8 99/17 99/22 102/19     making [9] 35/21 49/14 63/23
 19/17 19/17 20/4 20/18 22/6 22/21
                                    102/20 104/10 108/18               66/18 72/13 81/9 84/21 95/11
 24/19 25/17 25/25 31/14 35/18
                                   likely [3] 91/21 96/8 97/17         104/3
 35/20 35/22 35/24 40/22 41/8
                                   limit [2] 5/20 5/22                managed [1] 41/21
 41/14 42/4 42/5 43/24 43/24 44/11
                                   limited [1] 101/6                  many [18] 7/17 11/6 46/19 53/1
 45/10 47/15 54/19 57/3 57/7 59/17
                                   LINDSAY [3] 2/6 109/3 109/12        59/6 59/23 59/23 60/2 60/2 68/23
 59/18 71/18 75/25 79/3 86/24 90/4
                                   line [2] 81/5 100/9                 69/10 73/1 79/20 90/25 91/5 94/2
 91/16 91/17 91/21 92/19 92/23
                                   lining [1] 6/8                      103/16 104/3
 92/24 94/15 96/7 103/16 103/20
                                   link [1] 79/5                      marginal [1] 58/23
knowing [1] 44/5
                                   linked [1] 79/2                    market [2] 64/18 64/23
knowledge [2] 106/13 107/8
                                   linking [1] 71/17                  Marknaos [1] 28/24
known [1] 101/13
                                   list [14] 11/5 11/7 11/9 11/11     marriage [1] 54/2
knows [2] 41/10 65/10
                                    11/13 20/10 20/12 20/14 23/7 24/9 marshals [3] 4/16 4/17 4/23
Kolbasa [1] 23/2
                                    24/17 31/7 32/16 79/10            master's [3] 61/14 61/17 61/22
Kolbasa99 [3] 23/3 23/6 33/9
                                   listed [3] 38/10 85/23 86/3        match [1] 52/3
Kraken [3] 15/16 15/18 90/5
                                   listener [1] 27/20                 matching [1] 103/3
KYC [4] 14/20 15/1 71/18 98/2
                                   little [6] 16/9 57/15 86/13 93/14 matter [6] 12/21 25/9 41/1 62/23
KYCed [6] 14/18 15/10 15/14 15/18
                                    95/15 106/25                       108/18 109/5
 16/7 31/4
                                   lived [4] 20/12 23/21 24/14 24/16 may [17] 5/17 9/23 13/15 25/20
L                                  lives [2] 42/2 42/4                 29/8 30/3 45/4 47/9 51/7 57/21
                                   living [1] 42/5                     59/23 60/25 66/1 66/25 70/1 85/12
L-U-K-E [1] 61/5                   local [1] 69/6                      96/24
labeled [1] 30/1                   LocalBitcoin [2] 16/9 16/17        maybe [10] 11/6 16/15 17/18 28/14
language [2] 35/17 35/24           locating [1] 63/10                  39/5 42/17 42/18 46/1 46/3 57/16
large [3] 78/7 97/3 97/11
                                   location [1] 71/14                 McDonald's [1] 16/14
larger [2] 82/8 94/20
                                   lock [1] 93/17                     me [30] 4/7 4/12 6/16 10/21 11/18
last [5] 42/10 45/14 46/17 46/21
                                   locker [1] 4/23                     14/15 18/11 24/2 24/18 27/8 28/21
 46/22
                                   log [1] 72/10                       40/7 49/16 53/11 58/12 59/22
later [1] 48/15
                                   logging [1] 72/12                   59/25 60/5 60/9 65/17 83/4 85/15
launch [2] 24/23 47/21             logical [2] 63/7 67/16              85/16 86/19 88/13 89/24 92/9
launched [1] 48/9                  logs [3] 7/3 54/20 54/21            99/15 101/14 105/1
launder [6] 36/15 54/5 54/7        long [11] 5/24 20/4 22/24 26/12    mean [4] 44/2 44/20 63/7 69/13
 106/20 107/10 107/19               45/14 45/24 53/6 56/10 57/17      means [3] 14/22 31/14 83/7
laundering [6] 48/20 68/21 98/23    62/15 74/7                        meet [1] 42/1
 107/13 107/15 108/6
                                   longer [2] 57/15 58/25             meeting [1] 16/14
law [19] 2/3 26/8 26/10 26/15
                                   look [12] 5/5 17/18 41/15 65/4     member [1] 62/18
 26/21 27/1 28/8 28/17 29/2 60/1
                                    72/5 79/24 85/8 86/12 93/11 93/13 members [1] 56/16
 62/7 69/6 85/5 94/23 95/6 98/18
                                    94/7 94/10                        memory [2] 8/16 19/25
 98/22 103/16 103/23
                                   looked [3] 10/13 52/4 79/8         Mempool.space [1] 87/22
laws [1] 98/15                     looking [20] 8/12 51/21 51/22      mention [1] 9/5
lawyer [2] 48/17 49/18              52/1 52/7 64/12 89/12 91/9 91/13 mentioned [4] 21/19 36/7 64/14
LAX [6] 12/13 21/7 21/10 21/13      91/16 91/22 92/23 93/15 93/21      106/15
 25/11 38/15
                                    93/22 93/23 93/25 93/25 104/16    merge [1] 96/5
lay [4] 65/9 66/8 89/21 103/19      106/7                             message [13] 50/21 51/6 51/10
layer [1] 34/16
                                   looks [4] 17/16 18/10 67/4 85/13    51/11 51/17 51/19 51/20 51/21
layering [1] 104/7
                                   Los [8] 7/21 12/1 12/6 12/9 23/10 51/22 51/23 51/25 52/3 52/24
leading [1] 98/20                   23/14 23/17 32/19                 messages [3] 50/23 51/1 53/1
leaked [1] 54/9                    lose [1] 49/19                     metadata [2] 89/1 93/14
learned [1] 54/1                   losing [1] 6/5                     methodology [2] 59/2 100/14
least [2] 50/4 59/16               lot [9] 10/7 35/17 58/17 65/8      methods [2] 70/24 71/15
leave [2] 31/23 96/5                67/8 67/12 67/23 70/3 90/12       Miami [3] 13/11 13/12 14/2
leaving [1] 31/9
                                   lots [3] 67/16 67/16 71/20         MICHAEL [2] 2/2 4/12
ledger [2] 74/7 78/19
                                   lower [1] 53/3                     microphone [1] 35/15
ledgers [5] 7/5 7/7 7/11 70/13
                                   Luke [5] 3/8 57/24 58/1 60/22      Microsoft [3] 11/19 20/23 21/1
 80/6
                                    61/5                              might [12] 47/16 63/8 63/10 67/9
left [4] 28/22 50/4 87/3 89/9
                                   lunch [6] 5/13 46/3 46/7 56/17      75/23 82/7 85/22 90/22 95/13
left-handed [1] 87/3                76/7 106/25                        95/15 95/25 102/16
legal [5] 21/1 21/2 21/4 66/1                                         mind [1] 9/24
 90/5                              M                                  mine [1] 50/9
legality [1] 48/22                                                    miner [3] 77/5 77/5 78/12
                                   M247 [3] 17/4 17/7 17/17
legally [1] 48/24
                                   ma'am [59] 62/1 62/14 62/20 63/5 miners [1] 78/9
legislation [1] 62/10
                                    63/15 63/18 63/22 64/13 64/17     mining [1] 77/4
Leo [1] 3/3
                                    65/2 67/21 68/6 69/5 69/17 69/20 minority [1] 78/8
less [1] 42/18
                                    70/19 72/2 72/8 72/20 73/11 73/18 minute [3] 45/6 45/8 45/11
let [4] 11/18 24/22 36/1 85/15
                                    73/23 74/15 74/17 74/20 75/7      minutes [4] 46/1 53/10 56/19
let's [4] 5/21 6/8 56/16 56/18                                         79/13
                                    77/15 80/1 80/4 80/13 82/4 82/14
letters [1]  73/7
                                    85/1 85/4 85/21 85/24 87/14 87/19 Missouri [1] 42/6
level [5] 59/16 66/19 90/21 90/23                                     misstates [2] 33/20 37/16
                                    88/9 91/5 91/11 92/2 92/13 93/4
 105/13
                                    93/7 94/10 96/19 97/2 97/23 98/8 mistaken [1] 106/10
levels [1] 108/14
                                    102/1 102/11 102/14 102/24 103/9 mistakes [2] 8/12 8/13
liability [2] 49/25 50/13
                                    103/12 103/25 105/4 105/12        misunderstanding [1] 38/23
Liberty [5] 11/10 33/23 34/5
                                   made [8] 8/13 41/25 42/6 49/4      MIT [7] 47/1 48/5 48/8 52/8 52/11
 36/18 36/20
                                    59/23 95/23 99/11 99/11            52/13 53/20
like [56] 7/13 8/7 9/18 18/10
                                   maintain [1] 72/9                  mit.edu [2] 52/12 53/11
 27/8 27/17 29/20 30/25 35/20
                                   maintaining [1] 11/1               mixer [13] 46/19 47/17 54/3 54/5
 35/22 35/22 40/2 40/21 45/17 47/9                                     55/3 104/11 104/13 106/20 107/11
                                   maintains [1] 71/4
 48/15 48/22 50/6 50/13 51/4 52/25                                     107/13 107/14 107/15 107/16
                                   major [2] 47/25 47/25
 54/2 65/4 65/16 67/4 71/3 71/7
                                   majoring [1] 47/2                  mixers [10] 104/10 105/20 105/22
 72/16 73/2 73/7 73/8 76/19 80/6                                       106/5 106/6 106/10 106/14 106/17
                                   majority [1] 69/14
M                                   26/11 26/13 26/16 26/18 28/24         NFS9000 [8] 20/8 20/11 21/2 21/6
    Case 1:21-cr-00399-RDM Document
mixers... [2] 107/8 108/2
                                    29/3 31/4 32/19281 34/12Filed 03/16/24
                                                               34/20 35/1      Page
                                                                           21/16     119
                                                                                 21/19     of32/12
                                                                                        22/9  125
                                    37/11 38/15 38/16 55/19 59/15         no [82] 1/4 6/2 7/4 7/6 7/16 8/23
mixing [5] 36/14 36/16 105/1
                                   Mr. Sterlingov's [32] 9/11 10/4         11/11 11/12 11/14 11/24 12/3
 105/5 105/11
                                    10/22 11/13 11/15 11/23 14/11          12/25 14/9 14/10 15/4 16/2 17/18
mobile [1] 72/23
                                    18/25 19/13 20/3 20/10 21/3 21/16 19/9 21/5 21/14 21/21 22/11 22/21
modem [1] 13/6
                                    22/5 23/7 24/9 25/10 26/22 26/24       23/12 23/19 23/24 24/10 24/12
moderately [1] 53/11
                                    27/2 28/3 28/9 28/18 31/1 32/16        26/17 26/23 27/16 27/16 28/4 28/6
modus [1] 108/5
                                    34/7 34/22 35/8 37/9 38/13 38/21       28/20 29/25 30/2 30/5 31/13 32/9
moment [2] 8/17 104/24
                                    39/25                                  37/9 37/12 40/3 42/3 42/21 43/18
Mondays [1] 57/15
                                   Mr. Townsend [4] 46/14 46/24 51/6 44/5 44/21 44/22 45/1 45/21 47/20
monetary [1] 50/14
                                    56/5                                   51/24 52/25 53/7 53/15 53/16 54/8
money [23] 9/2 9/5 48/13 48/20
                                   Mr. White [8] 40/24 41/1 41/3           54/20 55/21 55/21 56/1 56/13
 48/20 54/5 54/7 59/7 67/14 68/21
                                    41/17 41/19 41/22 42/2 42/4            56/14 56/24 56/25 58/25 72/2
 72/16 73/16 82/8 84/19 84/20
                                   Ms [2] 3/9 107/24                       73/18 73/23 73/23 74/24 78/16
 87/15 98/23 106/20 107/10 107/13
                                   Ms. [12] 9/19 17/11 18/6 29/10          82/4 85/24 92/17 94/2 96/23 97/23
 107/15 107/19 108/6
                                    30/15 30/16 36/23 37/24 66/10          100/11 100/12 100/19
moniker [4] 10/25 16/17 16/20
                                    76/2 76/9 105/24                      node [3] 77/4 79/18 89/10
 48/4
                                   Ms. De [4] 30/15 30/16 36/23           none [3] 25/15 82/15 101/8
monitor [1] 17/13
                                    37/24                                 noon [1] 106/25
month [2] 37/7 37/11
                                   Ms. Pelker [2] 66/10 105/24            not [109] 6/1 6/2 6/3 8/16 9/12
monthly [1] 68/1
                                   Ms. Walker [2] 76/2 76/9                9/17 11/8 11/15 11/24 12/3 12/7
Moon [3] 17/8 17/10 22/20
                                   Ms. Wilkins [4] 9/19 17/11 18/6         12/16 12/20 12/25 16/2 19/18
more [27] 7/12 8/13 11/18 13/2
                                    29/10                                  19/19 19/20 19/22 20/12 20/20
 35/6 43/23 43/24 45/12 58/16
                                   Mt [22] 14/11 14/12 14/16 14/24         21/19 21/21 22/14 22/18 22/21
 58/18 58/19 60/12 60/18 78/24
                                    15/2 20/3 20/7 22/25 24/1 31/2         23/9 23/21 24/8 24/10 24/14 24/20
 80/2 82/6 82/7 83/11 83/12 89/22
                                    31/4 31/6 31/9 32/11 32/12 32/25       25/4 25/6 25/8 26/25 27/18 29/18
 91/3 91/12 94/8 94/20 104/4
                                    33/4 33/9 33/23 34/1 34/13 34/22       31/23 33/19 34/7 35/7 35/7 35/14
 104/19 108/2
                                   Mt. [1] 22/25                           35/18 35/24 39/13 41/7 41/8 41/16
morning [11] 1/7 4/6 4/9 4/10
                                   Mt. Gox [1] 22/25                       41/25 42/1 42/24 42/24 43/20 44/5
 4/13 4/17 4/22 4/24 46/14 46/15
                                   much [6] 13/23 40/22 59/15 72/10        44/7 44/15 45/11 45/14 47/15
 72/5
                                    75/4 93/17                             47/16 49/16 50/16 50/20 53/8 54/8
MOSS [1] 1/9
                                   multi [1] 87/13                         54/23 56/10 56/13 57/4 57/5 57/9
most [11] 64/2 70/20 70/21 71/17
                                   multi-step [1] 87/13                    57/14 58/8 58/13 58/21 59/13
 73/23 73/24 78/7 83/13 90/24 95/9
                                   multiple [12] 13/6 68/4 70/18           59/23 60/6 60/9 65/17 66/1 66/12
 99/3
                                    73/24 82/4 82/5 82/9 82/10 82/11       66/18 66/19 67/24 73/1 76/7 78/16
mostly [1] 62/11
                                    94/2 104/6 104/7                       79/21 81/18 83/25 85/24 87/3
mother [2] 26/22 26/24
                                   my [35] 6/20 8/16 19/25 25/14           87/17 88/19 89/19 92/17 92/22
motion [2]  58/6 58/13
                                    38/20 42/17 46/18 46/22 46/22          95/15 95/25 96/9 102/6 105/7
mouth [1] 54/15
                                    48/8 48/11 51/15 51/18 53/9 54/6       107/7 107/23 107/25 108/21
move [6] 26/5 28/15 29/19 29/21
                                    58/19 61/5 61/22 64/2 66/4 66/17 note [3] 88/18 95/25 97/16
 38/24 40/8
                                    86/24 87/3 89/3 90/24 91/22 96/6 notes [14] 9/11 9/14 12/15 12/16
moved [3] 39/2 39/13 39/15
                                    97/16 97/19 99/3 99/22 102/7           21/21 21/22 21/22 22/6 22/8 23/23
Moving [1] 28/1
                                    106/12 106/14 107/6                    25/7 37/10 38/14 39/25
Mr [24] 3/4 3/6 3/6 3/7 6/17
                                   myself [2] 53/8 89/4                   nothing [13] 7/25 19/3 19/5 27/6
 14/15 21/13 65/16 67/2 69/22
                                                                           34/11 34/18 34/18 34/25 38/12
 69/23 70/3 74/11 76/5 87/12 96/12 N
                                                                           38/21 39/23 55/24 55/25
 97/1 103/16 106/3 107/6 107/14
                                   N.W [1] 1/16                           notice [3] 107/6 108/1 108/13
 107/25 108/1 108/9
                                   name [35] 4/4 6/16 6/21 6/24 8/4 noticed [6] 106/8 106/10 106/19
Mr. [103] 4/16 6/11 6/22 6/25
                                    11/15 12/21 14/23 16/18 17/2           107/9 107/18 108/10
 7/21 7/25 8/5 9/11 10/4 10/22
                                    17/20 18/13 18/17 18/23 19/13         noticing [1] 106/17
 11/13 11/15 11/23 12/1 12/5 12/9
                                    21/3 28/21 34/22 35/8 37/7 37/14 now [36] 5/11 6/9 9/18 10/14 15/7
 12/18 12/23 13/11 14/2 14/11
                                    40/21 46/17 46/18 46/21 46/22          16/9 20/1 24/20 27/12 30/1 31/9
 14/15 15/8 15/10 15/14 15/18
                                    46/22 48/4 48/8 56/5 61/3 61/5         32/2 32/11 36/8 42/5 45/22 46/3
 16/14 17/17 18/25 19/13 20/3
                                    71/11 97/22 98/11                      46/4 48/9 49/10 50/21 51/21 58/11
 20/10 21/3 21/7 21/10 21/16 22/5
                                                      18/15                64/14 65/19 74/8 75/14 76/15
 22/7 23/7 23/14 24/9 24/16 25/10 Namecheap [1]
                                   named [2] 40/10 40/17                   77/23 84/23 85/12 85/22 88/10
 25/16 26/11 26/13 26/16 26/18
                                   National   [3]   62/3 62/5 62/8         93/19 97/21 106/5
 26/22 26/24 27/2 28/3 28/9 28/18
                                   natural  [1]    60/4                   nowhere [13] 8/21 8/24 9/13 11/5
 28/24 29/3 29/17 30/19 31/1 31/4
                                   nature [1] 98/14                        11/9 11/22 12/12 12/15 12/17
 32/16 32/19 34/7 34/12 34/20
                                   Navy [1] 61/18                          12/22 12/22 20/10 22/9
 34/22 35/1 35/8 37/9 37/11 38/1
                                   necessarily    [5]   35/18 60/11 92/24 number [26] 14/13 15/7 20/4 20/7
 38/13 38/15 38/16 38/21 39/25
                                    105/7 107/13                           22/25 22/25 24/1 31/2 31/9 32/11
 40/24 41/1 41/2 41/3 41/17 41/19
                                                      65/20 66/8 66/8      33/9 34/14 49/10 49/11 73/7 73/8
 41/22 42/2 42/4 44/18 46/14 46/24 necessary [3]
                                   necessity [1] 36/11                     80/18 80/19 81/13 81/14 81/16
 49/1 51/6 53/17 55/19 56/5 57/3
                                   need  [13]   9/23 26/2 29/16 59/16      86/8 86/13 86/14 86/25 87/11
 57/4 57/24 58/7 59/15 61/3 61/6
                                    65/23 66/1 73/12 75/16 77/25 81/7 numbers [2] 73/6 81/19
 75/5 103/22 105/19
                                    83/18 103/19 106/24                   NW [3] 1/14 1/20 2/8
Mr. Brown [1] 29/17
                                   needed [1] 83/8                        NY [1] 2/4
Mr. Ekeland [4] 6/11 53/17 57/3
                                   needs  [6]   75/15 81/12 82/18 83/13
 57/4                                                                     O
                                    83/17 106/22
Mr. Luke [1] 57/24
                                   network  [7]    76/24 79/13 79/16      obfuscation [1] 104/3
Mr. Omedetou's [1] 41/2
                                    80/9 81/17 82/24 84/12                object [5] 27/11 27/12 28/11
Mr. Rovensky [3] 30/19 38/1 44/18
                                   never  [15]    15/25 26/10 26/16        100/9 100/19
Mr. Rovensky's [1] 49/1
                                    26/18 26/21 27/1 28/3 28/8 28/18 objection [23] 7/9 9/7 29/24 30/2
Mr. Scholl [6] 58/7 61/3 61/6
                                    41/21 50/5 50/6 54/11 56/11 89/14 31/16 31/17 32/7 33/20 35/19
 75/5 103/22 105/19
                                   new [8] 1/20 4/22 4/25 38/5 50/16 37/16 42/11 54/23 65/5 74/23
Mr. Sterlingov [42] 4/16 6/22
                                    84/4 84/6 99/4                         74/24 94/25 96/22 96/23 98/20
 6/25 7/21 7/25 8/5 12/1 12/5 12/9
                                                  61/10 63/1 69/5          100/5 101/18 103/18 105/15
 12/18 12/23 13/11 14/2 14/15 15/8 Newark [3]
 15/10 15/14 15/18 16/14 17/17     next [12] 1/23 24/23 45/4 53/4         objections [1] 108/16
                                    57/22 76/22 78/21 85/9 87/20 89/3 observing [1] 95/24
 21/7 21/10 22/7 23/14 24/16 25/16
                                    89/5 97/13                            obsessed [1] 8/9
O                                   92/25 93/2 94/12 94/13 100/2           Perhaps [1] 106/10
    Case 1:21-cr-00399-RDM Document
obtain [2] 100/3 101/24
                                    100/4 101/12281  101/23 Filed
                                                              101/2503/16/24    Page
                                                                     102/9 period  [1] 120
                                                                                        5/25of 125
                                    102/12 104/14                          person [7] 12/24 35/6 74/1 81/8
obtained [1] 99/7
                                   otherwise [3] 27/19 84/22 87/12          91/3 91/5 97/25
obvious [1] 54/2
                                   our [4] 56/17 68/2 104/17 104/18 personal [1] 14/22
obviously [1] 28/23
                                   out [23] 5/11 5/12 28/11 31/17          perspective [1] 49/25
occasion [1] 102/22
                                    36/11 49/13 54/10 54/13 55/9           persuaded [1] 59/10
occur [1] 80/3
                                    56/21 64/5 71/21 73/3 86/10 89/21 phone [5] 27/8 27/10 27/19 100/6
occurred [1] 92/17
                                    93/14 93/19 95/8 96/6 99/1 100/17 105/16
occurs [1] 97/10
                                    102/25 107/4                           photo [2] 14/15 14/23
October [3] 32/2 33/15 52/18
                                   output [27] 77/20 78/11 80/23           phrase [1] 63/9
October 19th [1] 32/2
                                    80/25 81/3 82/3 83/2 83/11 83/12 phrases [1] 93/19
October 20th [1] 33/15
                                    84/1 84/3 86/4 86/9 86/13 86/15        physical [3] 29/13 29/16 63/10
off [6] 9/24 17/14 30/11 48/13
                                    86/17 86/21 86/22 86/25 87/1 87/1 Pi [1] 13/4
 55/11 106/12
                                    87/10 87/11 88/21 88/24 104/16         pick [3] 27/7 65/12 82/16
offer [6] 59/17 59/20 64/5 71/21
                                    105/8                                  picked [1] 77/4
 72/9 101/14
                                   outputs [5] 82/5 84/9 86/8 97/8         picture [2] 25/25 94/8
offered [3] 59/16 65/17 66/5
                                    97/9                                   piece [2] 25/9 73/2
offering [2] 58/25 59/20
                                   outside [3] 42/11 66/7 68/3             pieces [1] 73/4
officer [1] 61/20
                                   outstanding [1] 58/6                    place [4] 76/5 85/20 90/5 98/11
Offices [1] 69/8
                                   over [8] 31/10 32/11 36/12 51/12 Plaintiff [2] 1/4 1/13
Official [3] 2/7 109/3 109/13
                                    53/8 60/3 62/23 84/15                  plan [1] 6/7
often [9] 43/17 43/18 43/20 63/7
                                   overly [1] 93/20                        plasmadivision.com [1] 16/21
 71/5 80/13 84/11 98/6 98/12
                                   overrule [1] 101/18                     play [3] 58/22 99/1 102/25
oh [3] 5/16 46/5 107/19
                                   Overruled [3] 29/6 42/15 98/21          plead [1] 99/16
okay [19] 6/8 20/1 22/14 30/13
                                   overt [1] 26/13                         please [13] 24/24 35/12 42/25
 36/4 38/24 44/23 44/25 45/2 45/8
                                   owed [2] 84/2 92/5                       46/11 46/16 50/7 53/5 54/24 56/19
 45/13 45/21 54/25 57/25 66/20
                                   owes [2] 82/14 83/15                     60/24 61/3 61/11 107/1
 100/7 100/16 100/25 101/6
                                   own [12] 16/18 17/2 17/20 18/13         PLLC [1] 2/3
Omedetou [9] 10/25 11/2 12/21
                                    18/17 18/23 51/18 69/8 72/22           podium [1] 4/4
 38/9 41/2 41/6 43/12 43/16 44/3
                                    73/25 81/19 103/10                     point [21] 6/7 8/14 14/24 25/18
Omedetou's [4] 36/10 37/7 40/11
                                                                            25/25 26/1 28/10 29/8 31/17 31/17
 41/2                              P                                        43/22 47/5 48/17 55/11 59/23
once [5] 38/12 39/23 43/23 43/24
                                   p.m [2] 107/4 108/24                     83/24 85/14 92/15 95/8 106/11
 72/6
                                   page  [5]    1/23 83/23 89/20 89/20      108/15
one [80] 5/8 6/1 6/2 6/16 8/4
                                    89/20                                  pointed [2] 43/14 93/14
 8/12 8/13 8/14 10/10 13/2 14/12
                                                17/17 40/4 40/5 78/12      points [2] 43/6 100/15
 14/24 15/8 17/9 24/3 24/20 25/18 paid [4]
                                                 73/4                      Poloniex [3] 16/3 16/4 16/5
 30/12 32/15 32/18 33/5 33/5 34/2 paper [1]
                                   paragraph    [1]   53/4                 pools [1] 104/13
 34/16 35/3 35/6 39/7 39/10 42/18
                                                        6/6                popular [1] 70/20
 43/22 45/6 45/8 45/11 51/14 59/10 parameters [1]
                                                10/3 53/3 67/23 81/23      popularity [1] 108/3
 59/12 60/10 70/20 72/1 72/3 73/21 part [9]
                                    81/23 93/5 106/5 106/6 108/8           portal [1] 68/2
 79/10 79/21 82/3 82/3 82/6 82/7
                                   participate    [1]    10/20             possible [1] 94/11
 82/10 83/1 83/11 83/12 83/17 84/8
                                   particular [6] 50/3 60/10 66/19         post [15] 36/14 48/4 49/4 49/10
 86/8 86/21 87/11 87/15 88/21
                                    67/3 67/6 107/19                        49/11 49/13 49/14 49/17 49/20
 88/21 89/12 90/9 91/3 91/4 91/5
                                   particularly     [1]   59/7              49/20 49/21 50/7 50/8 50/8 50/10
 91/9 93/8 93/25 94/12 97/3 97/7
                                   parts  [2]    30/11 102/9               posted [3] 47/23 48/8 54/11
 97/9 97/9 97/9 99/3 100/12 102/5
                                   passed [1] 106/17                       poster [1] 49/24
 102/21 104/9 105/4 107/18
                                   password [13] 9/22 11/5 11/9            posting [1] 64/5
one-layer [1] 34/16
                                    11/12 11/13 20/10 23/7 24/8 24/9 posts [2] 36/10 43/9
onion [3] 43/7 43/10 44/5
                                    24/17 31/6 31/7 32/16                  potentially [2] 70/25 79/11
online [13] 63/13 63/19 63/22
                                   passwords [2] 10/22 11/6                PowerPoint [2] 74/16 104/20
 64/1 64/2 64/20 68/2 70/6 70/11
 78/15 78/16 78/18 78/21           paste [4] 76/17 76/18 82/19 83/22 practice [3] 100/22 100/23 100/23
                                   pattern [3] 91/22 91/23 97/11           precision [2] 59/17 60/10
only [15] 6/3 29/13 41/15 58/12
                                   patterns   [8]    91/9 91/13 93/2 93/6 prefer [1] 53/12
 58/23 59/18 59/18 66/18 67/24
                                    93/11 93/23 93/25 95/25                prejudicial [3] 66/20 101/5 101/9
 70/11 81/16 83/25 86/21 87/1
                                   Pause [1] 45/18                         Prepaid [3] 18/9 18/10 18/11
 92/16
                                   pay  [6]   9/3 13/24 17/4 71/19         prepare [2] 74/11 74/11
open [5] 40/21 48/7 50/5 55/3
                                    80/22 80/23                            preparing [2] 74/16 95/19
 76/16
                                   paying [3] 17/7 37/11 93/18             present [2] 4/11 75/3
opened [1] 31/19
                                   payment [18] 17/19 18/2 67/9            presentations [1] 69/3
openly [1] 56/5
                                    67/12 67/13 70/6 71/15 72/13           presume [2] 54/11 54/14
operandi [1] 108/5
                                    78/23 81/14 97/4 97/6 97/9 97/18 pretending [1] 43/11
operating [13] 6/17 6/22 6/25 8/1
                                    98/3 99/9 99/11 104/5                  previous [4] 60/12 77/19 85/9
 8/5 8/15 12/19 25/12 25/16 25/25
                                   payments [2] 71/21 97/12                 86/4
 26/1 44/6 108/5
                                   payouts   [1]    50/15                  previously [4] 51/5 51/24 86/7
operation [2] 9/15 61/9
                                   PayPal [6] 16/25 17/4 17/17 17/20 91/15
operational [4] 8/7 8/11 42/20
                                    18/2 40/5                              price [2] 72/1 72/2
 43/4
                                   PEARLMAN [2] 1/18 4/8                   printing [1] 73/3
opinion [2] 58/16 60/18
                                   peel  [8]    96/15 96/16 96/18 97/1     prior [1] 58/12
opportunities [1] 103/10
                                    97/2 97/13 97/14 97/16                 private [22] 9/22 31/11 32/5
optics [1] 61/13
                                   peer [5] 16/11 16/11 16/15 16/15         50/21 50/23 51/1 51/11 54/14 68/4
optional [1] 15/1
                                    59/24                                   72/11 72/25 73/4 73/9 73/12 73/14
orange [4] 39/16 39/23 40/4 78/1
                                   peer-reviewed     [1]    59/24           73/17 73/19 73/22 77/1 81/7 81/12
order [2] 4/19 79/6
                                   PELKER   [6]   1/13 3/9 4/7 66/10        83/8
orders [1] 33/24
                                    105/24 107/24                          probably [2] 48/20 53/10
organize [1] 96/6
                                   pen [1] 14/8                            problem [2] 107/17 107/22
other [36] 10/24 16/10 17/19
                                   Pennsylvania     [1]   1/14             proceed [5] 6/11 60/25 66/25 70/1
 30/22 31/23 31/24 35/4 39/7 39/11
                                   people   [11]    16/10 47/21 47/22       101/20
 46/5 50/24 54/10 59/11 64/21
                                    48/23 49/4 54/10 54/17 54/19           proceedings [2] 1/7 109/5
 66/19 69/6 70/12 70/24 71/19
                                    54/20 55/8 55/17                       process [9] 21/1 21/2 21/4 71/7
 72/12 72/18 84/3 90/11 91/18
                                   percent [2] 59/18 59/19                  71/9 87/13 90/5 100/18 100/22
P                                  rates [2] 100/11 101/4              67/19 69/3 69/11 88/4 105/9
    Case 1:21-cr-00399-RDM rather
produce [1] 101/3
                                    Document    281 Filed 03/16/24relation
                                           [1] 29/15                       Page[3]121 of 125
                                                                                    38/17 58/6 73/9
                                   raw [3] 77/12 84/24 88/19          relatively [2] 97/3 97/11
produced [1] 101/9
                                   reach [2] 55/9 64/5                relay [1] 52/16
produces [1] 68/20
                                   reactor [14] 58/14 60/1 60/17      relevance [1] 65/5
products [1] 101/25
                                    68/9 68/10 68/15 68/16 68/18 89/7 relevant [4] 8/2 65/6 66/19 77/24
professional [1] 49/19
                                    89/16 99/12 102/3 102/7 106/15    reliability [3] 60/1 101/3 101/15
proof [1] 108/9
                                   read [10] 8/9 14/8 14/10 36/10     reliable [2] 58/15 58/18
prosecutors [1] 62/6
                                    41/6 49/13 49/17 49/23 50/10 53/3 rely [3] 60/16 99/20 100/24
protected [1] 70/15
                                   readily [1] 16/23                  remainder [1] 84/5
protocol [1] 52/16
                                   reading [1] 38/6                   remember [4] 5/13 15/3 51/18 89/4
prove [2] 71/13 98/12
                                   ready [3] 5/11 6/12 47/21          remind [6] 24/2 44/14 86/17 89/3
provide [4] 75/20 75/21 76/10
                                   real [10] 43/10 70/7 72/15 80/5     92/3 108/21
 90/1
                                    80/10 80/10 84/10 89/12 97/25     renew [1] 108/15
provided [11] 4/22 59/4 68/1 69/5
                                    105/16                            repeat [2] 11/17 28/17
 69/6 69/7 69/8 92/6 99/15 102/5
                                   realize [2] 58/10 60/19            repeatedly [1] 43/12
 103/10
                                   really [11] 8/10 8/11 34/16 49/6 rephrase [1] 95/4
provider [1] 99/7
                                    49/25 53/9 54/6 56/10 59/3 89/17 replace [1] 93/16
providers [1] 67/16
                                    90/23                             reporter [6] 2/6 2/7 57/18 71/22
providing [6] 14/22 71/11 71/18
                                   reason [5] 15/4 27/18 52/23 83/13 109/3 109/13
 76/13 95/10 108/10
                                    108/4                             reports [2] 29/9 60/11
proximity [1] 36/7
                                   reasonable [1] 5/25                representation [1] 89/9
public [1] 73/8
                                   reasons [3] 59/10 59/11 59/12      representing [1] 89/10
publicly [1] 79/20
                                   recall [26] 10/25 11/9 14/11       request [6] 14/24 31/22 38/4 38/7
publish [6] 30/6 30/8 74/21 96/20
                                    19/25 20/1 20/5 20/7 20/25 22/25   100/3 101/24
 96/24 104/24
                                    36/13 36/25 37/4 37/13 39/1 39/7 require [1] 63/16
published [2] 30/3 74/25
                                    39/8 39/10 39/13 39/14 39/15      required [2] 82/11 106/1
pull [5] 30/14 30/15 37/18 88/3
                                    39/19 40/9 43/16 56/10 106/12     requiring [1] 98/15
 96/9
                                    106/13                            research [2] 56/20 107/3
pulling [1] 37/23
                                   recalling [2] 8/16 24/20           Reseller [1] 38/3
purchase [3]   64/8  64/9  71/5
                                   receipt [1] 18/2                   resemblance [1] 46/20
purchased [1] 99/6
                                   receive [10] 19/2 47/12 50/23      resembled [1] 48/15
purchases [2] 63/24 64/20
                                    51/1 71/1 75/21 83/21 98/9 98/10 Reserve [5] 11/10 33/23 34/5
purchasing [1] 64/9
                                    102/19                             36/18 36/20
pure [1] 54/16
                                   received [15] 19/2 38/4 51/10      residence [2] 63/11 98/12
purport [1] 43/8
                                    51/19 59/4 67/19 67/23 68/3 68/24 respect [17] 31/22 35/21 48/12
purporting [1] 64/6
                                    69/15 76/17 78/23 86/7 98/5        50/3 57/5 58/13 58/19 58/20 58/22
purports [1] 43/7
                                    102/20                             58/24 59/2 59/5 59/25 60/5 60/14
purpose [4]   34/16  34/17  36/14
                                   receiving [8] 51/16 63/8 64/9       101/15 107/9
 36/14
                                    69/2 80/24 80/25 87/7 88/25       response [9] 53/1 62/19 62/21
purposes [1] 91/1
                                   recently [1] 61/24                  62/22 67/24 69/9 98/9 98/10
pursue [1] 41/24
                                   Recess [2] 57/12 108/24             100/20
put [9]  4/25  19/23  28/12  29/3
                                   recipient [1] 78/14                responsibilities [1] 68/22
 29/23 31/18 57/9 58/7 75/3
                                   recipients [1] 51/13               results [1] 60/6
putting [2] 9/2 9/5
                                   recognize [7] 49/3 51/7 51/14      resuming [1] 50/12
Pyramid [1] 18/7
                                    51/22 52/15 74/14 96/12           retrieved [1] 102/12
Q                                  recognized [2] 65/19 65/21         return [2] 102/18 104/20
                                   recollection [5] 42/17 51/16       returns [2] 11/22 67/15
qualification [1] 106/1             51/25 53/13 106/18                revealed [1] 99/5
qualified [8] 58/8 58/9 69/24
                                   record [14] 4/5 7/7 17/18 33/21    review [4] 38/1 68/22 87/16 107/6
 105/19 105/20 105/23 106/4 108/9   35/18 37/17 49/18 50/11 55/19     reviewed [11] 10/17 10/17 13/20
qualify [2] 69/22 106/2             55/21 58/8 61/4 85/2 109/5         13/22 13/23 22/5 22/7 22/8 29/8
query [1] 87/25                    recorded [5] 74/3 74/4 77/2 77/3    59/24 96/7
querying [2] 88/6 88/7              92/22                             reviewing [5] 62/10 67/15 87/12
question [21] 5/18 7/12 11/17
                                   records [17] 35/7 38/21 51/18       90/2 90/18
 24/23 25/20 25/21 26/2 26/3 27/16
                                    54/12 55/22 70/14 80/7 80/8 87/16 right [62] 4/9 4/13 5/9 6/11 7/3
 28/15 28/17 32/8 38/19 38/20
                                    97/21 98/6 98/13 99/7 99/15 100/3 7/8 10/8 10/11 10/14 10/16 11/12
 38/23 39/9 41/12 44/16 58/12
                                    101/24 105/10                      11/16 13/5 14/10 14/24 16/12
 58/17 101/17
                                   redeem [2] 34/1 34/4                16/21 16/22 17/2 17/5 18/3 18/13
questioning [1] 100/9              redeemed [1] 33/8                   21/24 22/12 22/14 24/20 26/13
questions [9] 32/21 35/23 36/1     redemption [7] 33/1 33/3 33/5       27/6 31/1 33/1 33/11 33/16 33/17
 36/1 44/14 44/22 53/16 56/1 56/14 33/8 33/12 34/1 34/13               34/1 34/10 34/19 34/24 38/6 42/2
quick [2] 56/22 105/16             redirect [5] 3/7 44/23 45/1 56/2    42/5 43/14 46/6 53/17 53/25 56/2
quickly [4] 5/18 38/1 49/6 78/13    56/3                               56/15 56/22 57/1 57/11 57/21
quite [1] 13/1
                                   reference [4] 52/8 52/15 77/18      59/18 65/9 69/23 74/8 82/22 85/20
quote [1]  25/15
                                    86/22                              88/16 88/24 90/17 90/17 100/20
quote/unquote [1] 25/15
                                   referenced [2] 86/6 87/10           107/5
quoted [2] 52/2 52/3
                                   referencing [3] 35/10 38/17 86/4 rip [1] 84/14
quotes [1] 35/20
                                   referring [3] 10/12 10/13 24/1     ripped [1] 84/15
R                                  refused [2] 41/23 41/24            ripped-up [1] 84/15
                                   regarding [2] 22/24 37/14          risky [1] 48/24
raise [1] 4/14                     regards [1] 22/3                   Rochester [1] 61/14
raising [1] 26/3                   register [1] 38/5                  role [1] 61/19
rambler.ru [3] 23/3 23/6 33/9      registered [3] 11/3 15/22 30/23    ROMAN [4] 1/6 4/3 4/11 18/3
RamNode [3] 19/11 19/20 19/23      registration [4] 37/1 37/6 39/20 Romania [2] 17/5 17/8
ran [2] 11/1 40/19                  40/5                              Romanian's [1] 22/19
RANDOLPH [1] 1/9                   regularly [2] 100/3 101/24         Room [1] 2/8
random [1] 73/6                    regulated [1] 71/11                Roso [2] 14/12 14/13
ransom [3] 67/12 67/13 98/3        relate [1] 79/8                    rough [2] 69/10 80/10
ransomware [2] 67/8 67/10          related [20] 8/25 11/13 11/16      roughly [2] 4/24 68/23
Raspberry [1] 13/4                  16/18 16/21 19/1 19/5 19/18 19/21 Rovensky [7] 3/3 6/16 10/3 26/7
rate [2] 59/25 101/13               28/13 38/21 39/16 39/23 47/6 48/2 30/19 38/1 44/18
R                                  seeking [1] 59/20                   81/4 84/22
    Case 1:21-cr-00399-RDM seeks
Rovensky's [1] 49/1
                                    Document    281 96/20
                                          [2] 74/21    Filed 03/16/24simplePage
                                                                              [3] 122  of99/1
                                                                                   87/12  12599/3
                                   seem [1] 36/3                      since [5] 7/11 13/16 62/17 64/15
RPR [1] 109/12
                                   seemed [2] 50/6 54/2                69/13
RSA [1] 54/1
                                   seems [3] 27/8 58/12 101/14        single [10] 6/16 6/21 6/24 19/1
rule [2] 58/7 83/10
                                   seen [1] 40/21                      25/9 79/7 79/9 79/12 82/8 88/24
run [3] 17/7 48/13 48/18
                                   seized [17] 7/20 8/25 12/1 12/5    site [17] 9/1 38/5 38/18 38/20
running [6] 6/4 28/23 48/22 50/13
                                    12/9 12/13 12/22 13/1 21/7 21/10   39/2 42/8 43/3 43/6 43/7 43/10
 50/18 79/18
                                    21/12 23/10 23/14 23/17 25/11      43/13 44/5 44/12 50/13 50/17
Russian [1] 44/18
                                    32/19 38/15                        50/19 53/8
S                                  seizing [1] 63/3                   situation [1] 6/19
                                   select [1] 82/22                   skills [1] 54/6
S-C-H-O-L-L [1] 61/5
                                   selected [1] 62/12                 slide [11] 75/5 77/10 84/23 84/25
said [15] 6/24 19/4 27/6 35/4
                                   sell [2] 41/7 71/5                  85/6 87/20 89/3 89/5 91/25 104/21
 47/22 49/24 53/20 53/24 54/3 54/9
                                   selling [1] 50/19                   105/2
 54/9 55/8 58/19 60/17 66/13
                                   semester [1] 53/7                  slow [2] 71/23 94/16
sale [3] 41/11 41/14 41/16         send [24] 50/23 52/25 73/25 75/14 small [1] 50/14
Sales [1] 38/3                      75/16 76/12 76/18 76/20 82/8 82/9 smaller [1] 97/12
same [24] 20/16 22/24 29/23 30/21 82/11 82/16 82/18 82/21 82/23
                                                                      so [121]
 48/5 83/5 83/6 83/7 83/10 84/18
                                    83/23 84/1 84/19 90/5 95/14 95/16 software [11] 46/18 47/3 68/16
 84/24 87/23 88/8 88/10 88/14 89/6
                                    98/4 102/4 104/6                   68/18 68/20 72/24 73/1 75/19 84/4
 90/10 90/25 91/18 91/21 92/7 92/9
                                   sender [2] 83/13 84/21              87/18 89/7
 94/6 94/21
                                   sending [11] 63/23 76/11 76/24     sold [1] 64/3
saved [1] 23/9                      77/21 78/3 78/4 78/5 80/20 89/10 solicit [2] 64/7 64/7
saw [10] 6/17 6/21 14/1 19/19       104/7 105/4                       solid [1] 101/2
 19/22 84/25 88/14 92/1 93/14 99/8
                                   sends [4] 33/15 78/18 97/6 98/4    some [27] 5/22 7/23 8/8 25/25
say [11] 6/3 21/22 26/1 35/16      sensitive [1] 63/25                 27/18 37/7 47/5 47/20 48/4 48/11
 44/2 51/19 69/1 89/17 90/17 95/11
                                   sent [9] 52/6 52/24 53/1 81/3       48/17 48/21 55/11 59/8 64/4 64/25
 107/19
                                    84/6 92/6 97/10 99/13 100/17       71/12 72/8 75/19 83/10 89/1 90/17
saying [6] 34/23 37/5 38/4 43/16
                                   sentence [3] 49/13 49/17 49/23      93/11 98/12 101/2 105/13 107/8
 60/10 107/5
                                   separate [1] 92/19                 somebody [10] 8/11 9/15 16/14
says [5] 18/3 38/8 51/13 99/22
                                   separated [1] 34/21                 49/15 49/21 49/22 50/8 50/19
 106/11
                                   sequential [3] 79/2 79/5 97/12      54/12 64/4
scammers [1] 43/11                 series [2] 74/11 74/12             somehow [1] 54/10
scams [1] 43/14                    server [4] 7/2 17/8 22/20 55/12    someone [6] 40/10 40/17 72/6
scheduled [1] 50/15                servers [3] 7/15 7/17 17/9          73/25 91/7 104/15
scheme [2] 47/12 47/14
                                   service [18] 16/10 17/7 18/21      something [16] 4/14 5/23 22/2
Scholl [28] 3/8 57/24 58/1 58/7     18/25 19/11 19/21 33/22 33/24      48/14 52/25 63/11 64/3 64/5 72/4
 60/22 61/3 61/5 61/6 65/16 67/2
                                    37/15 39/2 40/19 49/5 54/14 103/4 95/14 95/19 96/1 96/4 102/19
 69/22 69/23 70/3 74/11 75/5 76/5
                                    104/13 105/1 105/5 105/10          105/22 108/18
 87/12 96/12 97/1 103/16 103/22
                                   services [8] 17/17 18/8 18/9       sometimes [3] 68/18 92/12 97/19
 105/19 106/3 107/6 107/14 107/25   18/11 37/7 48/2 72/9 104/10       somewhere [2] 54/15 74/3
 108/1 108/9
                                   session [1] 46/7                   soon [2] 5/12 30/7
science [2] 47/3 52/20             set [4] 6/7 71/7 72/1 88/5         sophisticated [3] 8/6 59/6 59/8
scientific [1] 101/4               setting [3] 56/5 71/9 71/10        sorry [10] 20/15 20/17 22/23
scope [8] 27/13 27/14 28/11 42/11
                                   several [1] 68/8                    37/21 38/23 40/7 53/6 57/3 95/1
 42/13 66/7 108/12 108/13
                                   share [1] 81/18                     105/18
Scratch [1] 50/12
                                   shared [1] 79/22                   sort [14] 35/24 48/4 53/9 58/23
screen [16] 9/25 10/14 29/11
                                   shave [1] 4/16                      59/23 71/12 75/19 92/11 93/21
 29/16 29/18 30/12 51/9 51/10 75/6
                                   she [3] 5/15 36/11 75/21            93/24 94/3 95/18 98/12 101/2
 75/23 76/6 82/13 85/22 86/18 87/3
                                   SHERRY [3] 2/6 109/3 109/12        sorts [2] 63/24 101/8
 94/4
                                   shormint [16] 11/3 11/7 11/10      sounds [3] 27/8 27/17 52/25
screenshot [1] 87/22                11/12 11/16 11/19 11/25 19/5      source [15] 8/21 40/21 55/3 55/4
scroll [2] 49/6 49/20               19/21 36/20 37/6 38/10 39/21 40/5 55/5 55/6 55/9 55/11 55/14 55/17
scrolling [2] 49/2 51/20            40/11 41/3                         55/20 85/7 107/21 107/24 108/1
search [14] 10/4 11/18 11/22
                                   short [8] 20/12 23/21 24/14 24/16 Spam [1] 16/21
 20/23 20/25 55/22 63/8 63/10
                                    46/7 56/16 56/18 99/10            speak [8] 36/1 65/3 66/11 67/3
 63/12 67/15 69/18 88/1 102/13
                                   short-lived [4] 20/12 23/21 24/14 67/6 67/22 89/25 100/6
 102/18
                                    24/16                             speaking [2] 67/2 67/5
searched [2] 10/4 10/10            shortly [2] 57/1 64/22             special [1] 61/24
searched one [1] 10/10             should [8] 5/24 45/10 45/14 47/22 specialist [2] 61/9 68/10
searches [1]  38/16                 55/9 75/23 96/11 101/6            specialize [1] 62/7
searching [1] 63/3                 show [6] 7/12 8/15 9/18 17/24      specialized [3] 34/2 63/16 63/18
seated [2] 46/11 60/24              24/18 40/7                        specific [9] 8/16 11/18 34/16
second [6] 27/7 30/13 35/12 49/2
                                   showed [2] 86/18 99/10              34/17 67/9 77/16 87/1 99/5 99/8
 86/15 90/1
                                   showing [9] 25/11 35/18 74/14      specifically [2] 51/5 70/9
section [3] 52/2 52/3 85/23         77/10 87/20 87/23 89/3 89/5 91/25 specified [1] 77/18
sector [1] 68/4
                                   shown [10] 51/9 75/6 77/10 77/13 speculation [5] 7/9 31/16 41/9
secures [1] 70/16                   77/23 88/12 89/5 89/8 104/22       44/10 54/16
security [2] 8/8 8/11               105/2                             spell [2] 46/21 61/3
see [46] 5/5 10/14 17/11 17/18     shows [3] 7/25 8/5 25/16           spelling [1] 46/16
 17/25 18/1 18/3 21/21 21/22 21/23
                                   shut [2] 48/16 50/4                spend [9] 72/12 73/16 81/10 83/17
 23/16 24/21 25/2 25/17 30/10
                                   sided [1] 100/12                    84/14 84/16 86/22 87/6 91/16
 30/12 30/19 31/9 32/2 32/25 33/1
                                   sides [1] 101/17                   spending [8] 73/13 81/9 86/8
 33/3 36/18 38/8 38/11 42/15 49/11
                                   sign [2] 73/12 76/25                88/23 90/11 91/25 94/5 94/19
 57/1 67/14 72/10 77/20 78/23 79/7
                                   signature [6] 77/7 81/5 81/6 81/7 spends [1] 97/4
 82/15 84/5 85/22 89/22 90/20
                                    81/11 81/11                       spent [12] 27/15 58/16 69/11 77/6
 90/22 90/23 91/23 92/21 97/14
                                   signatures [1] 108/17               83/6 86/5 86/16 87/9 92/17 94/13
 98/5 107/3 108/20
                                   significant [3] 25/13 25/15 49/19 94/14 97/12
seed [1] 63/9                      signing [1] 54/1                   SpiderOak [3] 18/19 18/21 19/7
seeing [3] 37/4 102/17 103/2       SIM [1] 13/6                       spoke [1] 44/18
seek [2] 69/21 98/6                similar [6] 53/1 53/2 68/11 71/10 spreading [1] 36/11
S                                  supporting [1] 63/1                   that [594]
    Case 1:21-cr-00399-RDM suppose
spreadsheet [1] 10/22
                                    Document [2] 281       Filed 03/16/24theirPage
                                                   47/22 108/13                 [19] 123  of 125
                                                                                      8/7 34/4 34/6 36/15
                                   sure [13] 5/14 11/18 13/25 20/15       66/3 67/11 68/22 72/18 72/22
spring [2] 46/24 53/20
                                    35/14 41/8 58/13 58/21 66/18 81/8 73/25 79/22 98/2 98/12 103/3
squad [1] 61/10
                                    95/15 101/22 107/23                   103/17 103/23 104/1 108/3 108/9
squads [1] 62/25
                                   surveillance [9] 13/11 14/2 19/24 them [14] 15/8 34/5 67/12 72/12
staff [1] 61/9
                                    22/19 22/21 29/3 29/8 29/9 38/16      72/14 78/8 78/12 81/18 82/16
stamp [5] 81/22 81/25 82/1 88/16
                                   sustain [1] 7/10                       97/15 97/19 97/20 101/13 103/2
 88/16
                                   sustained [6] 9/8 14/6 32/23          themselves [3] 36/2 97/22 98/11
stand [4] 31/19 45/16 58/11 60/19
                                    35/19 44/13 103/19                   then [53] 16/20 16/25 17/18 18/7
standing [1] 49/19
                                   sustaining [1] 27/24                   18/15 19/10 22/12 25/18 28/14
start [6] 13/13 70/5 86/14 100/17
                                   Sweden [2] 15/22 15/25                 32/25 33/8 33/15 38/9 40/9 46/6
 101/7 107/20
                                   Swedish [8] 26/7 26/10 26/15           46/6 47/13 47/22 49/23 52/1 52/2
started [7] 15/3 47/21 49/4 53/24
                                    26/21 27/1 28/8 28/17 29/2            52/7 53/4 53/24 64/8 67/11 67/18
 54/17 61/22 61/23
                                   swing [1] 53/7                         76/12 76/25 77/2 77/8 77/19 78/3
starting [9] 4/5 75/10 75/11
                                   switching [1] 104/9                    79/22 82/20 82/21 82/23 83/22
 75/12 76/24 77/21 78/1 88/15
                                   sworn [3] 46/9 58/1 60/22              84/16 85/8 85/18 88/20 88/23 89/1
 88/22
                                   symposiums [1] 68/5                    89/3 91/20 94/7 94/14 98/3 99/21
state [2] 4/4 61/3
                                   system [2] 70/6 79/23                  102/18 105/6 108/20
stated [1] 9/3
                                                                         there [128]
STATES [8] 1/1 1/3 1/10 4/3 13/10 T
                                                                         thereabouts [1] 53/10
 14/1 29/2 61/18
                                   T-O-W-N-S-E-N-D [1] 46/23             thereafter [1] 64/22
statistical [1] 101/4
                                   table  [3]    2/11 4/7 4/12           thereby [1] 104/17
status [1] 5/11
                                   take [17] 18/6 30/13 30/25 36/23 therein [1] 48/3
step [7] 76/11 82/18 83/20 83/21
                                    38/24 45/10 45/12 45/22 45/25        these [17] 32/21 43/14 66/15
 87/13 90/18 90/19
                                    46/4 51/12 56/16 56/17 56/18          74/18 77/14 79/14 87/16 90/5 90/9
steps [2] 67/17 103/22
                                    95/25 97/21 103/22                    90/25 91/17 91/20 92/25 93/22
STERLINGOV [48] 1/6 4/3 4/11 4/16
                                                 35/5 55/11 57/12 68/2    95/9 99/23 100/15
 6/17 6/22 6/25 7/21 7/25 8/5 12/1 taken [5]
                                    108/24                               they [50] 5/2 6/17 6/24 7/12 17/9
 12/5 12/9 12/18 12/23 13/11 14/2
                                   taking [3] 53/6 58/11 60/19            25/23 27/3 27/6 28/12 31/10 31/18
 14/15 15/8 15/10 15/14 15/18
                                   talk  [13]    5/24 11/2 20/15 41/19    31/19 33/6 33/23 34/1 38/4 39/21
 16/14 17/17 18/4 21/7 21/10 21/13
                                    41/21 43/13 48/7 48/10 48/21          41/3 55/9 55/18 60/6 65/2 66/1
 22/7 23/14 24/16 25/16 26/11
                                    50/21 50/24 55/8 105/15               67/14 70/13 72/6 72/8 72/9 72/19
 26/13 26/16 26/18 28/24 29/3 31/4
                                   talked [2] 16/9 91/3                   74/2 74/4 74/4 78/8 79/2 80/7
 32/19 34/12 34/20 35/1 37/11
                                   talking   [7]   6/25 36/8 41/2 41/3    80/16 83/5 83/6 83/6 86/13 86/14
 38/15 38/16 55/19 59/15
                                    44/11 87/4 107/20                     90/3 90/12 91/17 99/11 99/18
Sterlingov's [32] 9/11 10/4 10/22
                                   talks [2] 36/10 36/11                  101/1 101/3 103/3 103/4
 11/13 11/15 11/23 14/11 18/25
                                              75/24                      thing [11] 8/4 8/14 19/1 25/18
 19/13 20/3 20/10 21/3 21/16 22/5 tap [1]
                                                 38/3 62/4 62/5 62/9      64/7 75/15 75/16 90/7 90/12
 23/7 24/9 25/10 26/22 26/24 27/2 team [10]
                                    62/12 62/19 62/21 62/22 67/24         107/18 107/20
 28/3 28/9 28/18 31/1 32/16 34/7
                                    69/9                                 things [12] 10/24 34/2 48/15
 34/22 35/8 37/9 38/13 38/21 39/25
                                   technical [3] 54/6 93/20 108/14        59/10 63/24 90/14 91/16 91/19
Stevens [1] 61/14
                                   technique   [1]    107/15              93/18 93/21 98/14 106/14
still [6] 5/8 27/16 43/4 57/14
 59/19 65/23                       techniques [4] 104/3 106/19 107/9 think [56] 4/23 5/8 5/15 6/3 6/8
                                    108/6                                 8/20 15/4 16/13 17/9 17/22 19/10
stopped [2] 55/12 64/22
                                   Technology    [1]   61/15              20/1 22/1 25/20 26/2 26/4 29/1
store [2] 72/6 72/18
                                   tedious   [1]   87/14                  31/21 35/19 36/25 39/5 39/16 41/5
stored [3] 73/19 73/20 79/15
                                   telephone [1] 35/11                    45/9 45/12 45/24 46/2 53/20 57/7
stores [1] 72/24
                                   tell [13] 8/8 47/22 62/2 64/15         57/16 58/24 59/1 59/5 59/19 65/6
Street [2] 1/16 2/3
                                    83/3 83/4 85/16 86/19 88/13 92/8      65/23 68/10 71/17 71/22 95/15
stretch [3] 26/12 45/16 57/17
                                    92/9 99/18 102/2                      100/13 100/15 100/21 101/5 101/6
string [1] 73/6
                                   telling [1] 4/17                       101/16 103/19 105/21 105/23
structure [1] 79/9
                                   temporal [1] 36/7                      105/25 106/18 107/7 107/17 107/22
struggle [1] 76/1
                                   tend  [1]   97/18                      108/12 108/15
student [2] 47/1 48/8
                                   terabytes   [4]    12/4 12/18 21/9    thinking [2] 57/4 58/17
study [2] 59/24 59/24
                                    23/13                                third [2] 90/7 92/14
studying [2] 52/20 93/5
                                   terabytes' [1] 8/19                   this [200]
stuff [1] 12/17
                                   terms  [1]    66/8                    thoroughly [1] 13/22
subject [4] 41/1 62/23 99/15
                                   testified   [22]    7/19 7/23 15/7    those [37] 7/25 8/2 8/4 8/18 8/24
 103/1
                                    15/12 15/16 16/3 16/13 18/7 18/19 12/20 33/6 41/1 51/14 60/4 63/24
submarine [1] 61/20
                                    19/10 22/24 25/13 30/21 31/19         64/25 65/10 67/13 67/25 72/6 77/6
submit [1] 107/12
                                    32/13 33/10 36/21 39/5 43/25          77/7 79/5 81/9 81/10 83/8 83/17
subpoena [7] 95/14 95/16 98/4
                                    44/11 44/18 60/4                      86/7 87/9 90/7 91/15 92/16 92/17
 98/10 99/13 100/17 102/4
                                   testifies [1] 100/16                   92/18 93/5 93/15 94/16 97/4
subpoenas [3] 60/2 60/3 102/12
                                   testify [9] 6/17 24/5 31/22 58/9       101/16 105/7 105/13
subsection [1] 106/2
                                    69/24 101/6 105/23 107/25 108/3      though [4] 31/21 64/12 65/25
subsequent [1] 94/7
                                   testifying [14] 10/25 14/11 20/1       92/19
subsequently [4] 87/9 97/8 99/16
                                    20/2 20/5 20/7 36/25 37/13 40/9      thousand [1] 72/4
 105/6
                                    65/7 100/21 100/22 107/14 107/16 thousands [5] 60/2 60/3 69/13
subset [1] 70/10
                                   testimony   [12] 34/23 45/24 49/1      79/11 89/19
such [3] 47/14 96/7 104/15
                                    66/3 74/19 95/19 96/18 103/3         thread [2] 47/23 49/8
sufficient [2] 26/4 100/15
                                    108/4 108/10 108/13 108/21           threat [1] 67/25
sufficiently [2] 58/15 58/18
                                   text [4] 51/21 52/2 52/7 87/16        three [6] 5/23 8/18 12/4 58/21
suggest [1] 49/18
                                   than  [15]    8/13 13/2 35/4 35/6      75/9 94/15
suggested [1] 48/23
                                    43/23 43/24 52/23 72/12 82/6 82/7 through [22] 4/20 12/13 20/4
suit [1] 4/25
                                    82/8 83/11 83/12 91/4 107/16          30/25 39/20 41/2 52/8 54/15 64/4
Suite [1] 1/17
                                   thank [23] 4/17 4/21 5/7 6/13          72/13 76/2 78/15 79/23 80/15
summarize [1] 87/4
                                    18/6 22/16 29/16 30/17 36/23          82/13 89/8 89/20 100/14 102/23
summary [2] 77/24 87/6
                                    37/24 38/25 45/2 46/11 56/15          103/5 104/6 104/7
superficial [1] 46/20
                                    57/11 57/23 60/20 60/24 66/23        thumb [13] 8/19 10/5 10/7 10/7
support [5] 62/10 62/11 62/24
                                    71/24 75/3 76/9 104/25                10/10 12/8 12/18 13/8 21/12 23/17
 69/18 90/13
                                   Thanks [1] 96/11                       25/3 38/13 39/25
T                                  type [8] 68/12 68/13 76/19 82/20 vague [1] 95/2
    Case 1:21-cr-00399-RDM Document
time [38] 5/20 5/22 5/25 20/16
                                                  281 107/2
                                    83/24 85/2 98/9        Filed 03/16/24validPage  124 of 125
                                                                                [1] 74/9
                                   types [5] 33/4 70/18 93/2 105/11 validate [3] 71/12 77/5 102/22
 25/25 34/16 34/21 35/5 36/12
                                    105/14                               validated [2] 66/13 102/8
 42/10 47/19 47/25 48/1 52/17
                                   typical [1] 67/8                      validation [2] 66/15 103/11
 52/19 53/7 56/10 58/17 59/18
                                   typo [1] 18/10                        valuable [1] 59/19
 59/19 60/3 61/23 78/21 81/22
                                                                         value [2] 77/20 86/20
 81/24 81/25 82/1 83/9 88/16 88/16 U
                                                                         vast [1] 78/8
 89/13 91/1 93/17 95/9 98/8 100/1
                                   U.S [2] 1/13 2/7                      vein [1] 108/10
 102/4 106/17
                                   Uh [6] 19/8 19/20 19/23 22/23         verifies [1] 79/18
times [4] 59/23 90/19 90/22 95/13
                                    42/20 42/22                          verify [2] 77/6 79/22
today [7] 5/13 46/2 46/3 57/14
 60/19 69/14 72/3                  Uh-huh [6] 19/8 19/20 19/23 22/23 version [1] 88/10
                                    42/20 42/22                          versus [1] 4/3
together [7] 79/2 83/5 91/17
                                   ultimately [1] 41/7                   very [18] 4/15 5/18 8/8 31/25
 92/24 93/3 96/1 96/5
                                   under  [8]   13/11 14/2 19/23 29/3     43/9 44/1 45/14 49/2 65/6 69/10
tokens [1] 50/15
                                    32/25 48/4 49/1 51/14                 71/10 75/4 81/4 84/22 99/10
told [2] 4/24 99/23
                                   undercover [9] 63/14 63/20 64/1        101/10 102/7 105/13
too [9] 5/24 16/7 17/2 18/13
                                    64/2 64/20 66/6 66/12 66/14          victim [5] 67/9 67/10 99/4 99/4
 18/17 18/23 35/14 50/13 50/14
                                    103/10                                99/8
tool [10] 87/25 89/16 90/16 90/17
                                   undergraduate [1] 47/1                view [2] 79/20 89/21
 99/6 99/6 99/7 99/9 99/21 102/6
                                   underline [1] 75/22                   viewed [1] 89/6
tools [18] 64/21 66/15 87/18 90/1
                                                      88/5               views [1] 35/25
 90/5 90/9 90/13 90/25 95/9 95/10 underlying [1]
                                   understand   [8]   26/15 29/22 58/24 Vin [1] 85/18
 95/12 99/20 100/4 102/5 102/21
                                    59/7 60/3 60/14 65/20 74/18          virtual [15] 62/18 62/21 62/22
 103/3 103/5 103/6
                                   understanding [3] 66/4 96/17           64/18 67/19 67/24 67/25 68/2 68/3
top [10] 49/2 51/10 75/24 77/15
                                    106/14                                69/9 70/5 70/6 70/10 70/11 70/12
 86/23 86/24 87/8 87/11 88/14
                                   unique  [8]   77/16 78/1 81/14 81/18 vision [1] 29/25
 106/12
                                    81/20 86/1 88/2 88/15                visual [1] 88/10
topics [2] 69/3 93/8
                                   UNITED [8] 1/1 1/3 1/10 4/2 13/10 visuals [2] 74/12 74/18
TOR [3] 2/2 2/3 4/10
                                    14/1 29/2 61/18                      volf.prius [3] 24/4 24/8 25/3
tossed [1] 93/19
                                   University   [1]   61/13              volunteered [1] 62/24
totaling [1] 90/14
                                   unlock [1] 73/14                      Vout [2] 77/20 85/18
Townsend [9] 3/5 45/5 46/9 46/14
                                   unnecessarily [1] 48/23               VPS [3] 19/11 19/20 19/23
 46/18 46/23 46/24 51/6 56/5
                                   unquote [1] 25/15                     vs [1] 1/5
trace [4]  22/24 98/1 103/17 108/2
                                   unredeemed   [1]   50/15
tracing [17] 31/19 62/13 66/5                                            W
 66/13 66/16 67/18 68/5 68/11      unscientific [3] 100/14 100/18
                                    101/10                               wait [1] 84/20
 69/16 90/23 95/20 97/15 99/2
 103/23 105/21 107/7 107/8         until [5] 26/13 57/16 57/17 74/8 waiting [1] 5/8
                                    108/22                               walk [4] 52/7 80/15 82/13 89/8
trade [1] 71/5
                                   up [38] 6/4 6/9 9/20 10/1 10/3        Walker [2] 76/2 76/9
trades [1] 98/14
                                    22/18 27/7 28/23 29/11 29/14 30/7 Wall [1] 2/3
trail [1] 59/7
                                    30/14 30/15 31/18 35/18 37/18        wallet [42] 63/9 72/9 72/22 73/3
train [1] 20/4
                                    37/23 45/16 49/2 50/17 50/19          73/20 73/21 73/23 73/25 75/7 75/8
training [13] 63/17 67/19 67/23
                                    55/24 55/25 56/6 65/12 68/25 71/7 75/8 75/14 75/19 75/20 75/20
 68/1 68/2 68/3 68/23 69/1 69/2
                                    71/9 71/10 77/4 84/15 84/19 86/23 76/16 76/22 76/23 78/20 78/21
 69/5 69/6 69/7 69/8
                                    88/3 96/9 97/15 102/23 103/3          79/18 79/18 81/19 82/15 82/16
trainings [3] 63/18 69/3 93/9
                                   updated [1] 78/20                      82/20 82/21 83/6 83/10 83/16
transaction [112]
                                   updates [1] 68/1                       83/22 83/25 84/4 84/4 84/6 92/6
transactional [1] 64/3
                                   updating [1] 55/12                     92/10 92/14 92/20 92/21 94/6
transactions [42] 7/7 34/11 34/15
                                   us [17]    1/20 4/16 26/14 33/5        94/21
 36/12 50/16 63/23 64/12 66/6
                                    33/13 34/4 59/24 62/2 64/15 69/7 wallet's [1] 83/23
 66/14 68/22 70/17 70/17 74/3 74/8
                                    71/23 82/13 85/14 86/17 90/13        wallets [7] 63/10 63/11 72/22
 74/10 74/12 78/7 78/22 79/5 79/11
                                    92/3 99/1                             73/1 73/1 73/23 73/24
 79/14 79/19 79/25 80/3 80/7 80/9
                                   USAO  [1]   1/16                      want  [21] 5/2 5/14 25/23 27/8
 82/4 82/7 83/12 85/9 86/5 89/19
                                              73/2                        27/9 35/16 52/7 57/16 65/12 70/22
 90/18 91/23 93/15 94/2 94/4 94/12 USB [1]
 99/17 103/17 103/23 104/4         use [15] 29/15 56/5 68/17 70/25        72/19 86/24 87/15 89/24 90/20
                                    71/15 73/25 80/13 84/11 90/16         90/22 90/23 95/20 95/22 95/22
transcript [2] 1/9 109/4
                                    90/24 95/13 99/9 103/5 107/13         98/4
transfer [2] 37/14 38/5
                                    107/14                               wanted [5] 4/14 55/8 55/14 82/7
transferring [1] 38/7
                                   used [24] 14/15 17/4 19/15 19/16       87/6
transparency [1] 54/12
                                    19/17 48/5 52/17 60/1 60/9 60/11 wants [5] 50/16 75/14 76/20 83/23
traps [1] 14/8
                                    68/17 69/18 83/7 91/15 91/18 93/3 97/5
trial [2] 1/9 4/20
                                    93/21 99/6 103/4 103/13 106/19       warned [1] 43/13
TRM [5] 68/12 68/15 68/19 90/22
                                    107/9 108/6 108/17                   warrant [9] 11/19 11/22 20/23
 90/24
                                   useful [1] 54/14                       20/25 63/8 63/12 63/12 67/15
trouble [1] 50/1
                                   user  [6]   36/15 71/7 75/15 79/24     102/18
true [6] 6/18 15/1 34/22 56/5
                                    105/4 105/6                          warrants [3] 69/19 69/19 102/13
 91/1 109/4
                                   user's [1] 104/14                     was [155]
trust [1] 51/19
                                   username [1] 51/15                    Washington [5] 1/5 1/14 1/17 1/21
truth [1] 90/24
                                   users  [6]   14/25 50/24 70/15 72/18 2/9
try [5] 57/6 71/23 94/8 96/6
                                    72/22 87/25                          wasn't [7] 4/21 19/1 26/20 27/4
 104/1
                                   uses [1] 14/12                         29/7 48/20 101/22
trying [4] 36/15 43/11 101/1
 104/4                             using [21] 11/3 17/17 47/22 49/5 way [20] 25/17 30/2 34/12 39/7
                                    54/17 54/19 54/20 64/25 66/14         43/14 44/5 45/23 53/11 56/8 57/17
tumbler [1] 47/17
                                    82/11 89/15 90/10 90/25 91/14         59/8 66/20 84/18 86/23 87/8 91/9
turn [3] 9/23 17/13 35/24
                                    93/16 99/23 104/6 104/10 104/20       96/7 98/7 100/13 104/15
turning [2] 9/24 35/20
                                    107/14 107/19                        ways [2] 59/6 72/18
two [23] 8/12 8/13 15/16 27/3
                                                   64/3 71/12 90/10
 27/15 33/4 43/4 51/13 63/18 79/5 usually [3]                            we [143]
                                                   71/13                 we'll [3] 42/15 46/6 56/18
 82/22 83/1 83/4 84/9 90/14 91/17 utility [1]
 91/20 92/7 92/18 92/25 97/8 97/9 V                                      wearing [1] 4/25
 105/7                                                                   web [2] 55/12 64/4
                                   vacuum [1] 94/1                       website [8] 39/16 39/24 47/6 47/7
W                                  withdrawals [1] 98/14              Z
    Case 1:21-cr-00399-RDM withdraws
website... [4] 47/8 48/16 48/22
                                    Document [1]281
                                                  105/6 Filed 03/16/24     Page 125 of 125
                                                                      zero [4] 86/14 86/21 86/25 87/11
                                   within [2] 108/12 108/13
 50/4                                                                 zoomed [1] 88/10
                                   without [9] 63/25 67/2 67/5 73/16
week [1] 4/24
                                    76/2 85/12 92/25 93/19 105/10
well [16] 5/21 9/2 13/13 21/24
                                   witness [19] 22/1 24/22 25/21
 31/25 43/19 47/22 49/14 68/11
                                    29/14 32/22 44/10 44/15 45/2 45/4
 69/6 69/20 87/4 98/13 100/10
                                    46/5 46/6 57/22 58/23 60/19 95/3
 100/16 108/9
                                    100/16 101/12 101/22 108/21
went [2] 37/4 84/13
                                   witness' [4] 42/24 54/24 65/7
were [32] 7/24 8/18 17/9 20/2
                                    66/3
 20/2 35/20 36/7 39/15 39/19 39/21
                                   witnesses [4] 3/2 31/24 89/4
 41/3 42/6 43/10 43/10 43/11 46/25
                                    101/12
 47/2 48/7 50/23 53/20 54/19 54/20
                                   won't [1] 90/3
 59/18 60/6 61/24 62/12 83/8 85/5
                                   wondering [1] 27/20
 91/18 94/21 106/2 107/23
                                   word [4] 9/10 53/4 54/15 75/22
what [123]
                                   work [24] 26/7 28/24 61/6 61/7
whatever [5] 25/23 34/13 64/9
                                    61/16 62/8 62/10 63/14 63/20 64/2
 100/16 101/15
                                    64/11 64/16 64/25 67/8 69/12
when [43] 6/12 7/21 7/24 8/6
                                    69/16 69/18 76/7 93/9 94/23 95/18
 10/10 10/16 10/17 10/18 13/11
                                    103/10 106/6 107/8
 13/13 13/19 14/1 15/3 20/1 21/2
                                   worked [3] 28/22 61/18 90/6
 28/24 36/7 42/5 43/25 44/2 44/15
                                   working [6] 36/3 62/15 63/1 64/14
 47/8 53/22 55/12 61/21 78/18
                                    64/23 67/25
 83/24 84/21 87/9 90/2 90/22 90/22
                                   works [3] 84/18 107/21 108/8
 91/13 93/24 94/24 95/6 95/18
                                   world [7] 70/7 72/15 80/5 80/10
 95/24 96/5 97/14 99/18 99/21
                                    80/10 84/10 89/12
 103/1
                                   worries [1] 45/21
where [43] 20/2 26/1 28/22 36/10
                                   worth [5] 8/19 12/5 21/9 23/13
 41/1 42/4 42/5 43/9 46/24 51/13
                                    72/3
 54/15 59/8 61/6 61/16 63/9 63/10
                                   would [100] 4/4 5/22 5/24 5/24
 67/14 67/14 68/1 70/22 70/25
                                    7/7 7/12 7/13 9/18 10/21 27/18
 71/18 72/9 73/12 73/19 79/14
                                    29/21 30/11 30/16 30/25 30/25
 83/23 85/16 86/6 86/19 87/7 90/5
                                    31/17 31/22 34/1 35/5 37/18 42/1
 90/18 90/19 91/16 91/23 94/12
                                    47/9 49/18 51/4 52/18 52/25 56/11
 94/14 97/3 97/11 106/11 107/17
                                    58/11 59/19 64/1 65/4 65/15 69/1
 107/22
                                    69/21 71/11 71/17 72/9 73/20
whereas [1] 81/17
                                    74/18 75/16 75/19 75/20 75/21
Whereupon [1]  30/5
                                    76/6 76/10 76/11 76/16 76/16
whether [18] 5/22 22/2 25/22
                                    76/19 76/25 77/25 79/10 80/6
 39/13 41/10 44/5 44/7 45/10 50/5
                                    80/15 80/23 81/3 81/25 82/6 82/19
 58/8 58/13 58/14 58/22 66/1
                                    82/20 82/21 82/25 83/1 83/3 83/4
 101/13 101/22 102/6 103/22
                                    83/9 83/11 84/7 84/8 84/14 85/2
which [42] 10/12 24/20 29/12
                                    85/16 86/12 86/15 86/21 86/22
 29/13 29/22 37/19 48/1 48/5 48/15
                                    86/24 87/5 88/18 90/24 91/8 92/8
 48/25 51/5 59/3 59/9 59/12 59/14
                                    92/9 92/14 92/18 92/23 94/3 94/6
 59/16 60/3 60/6 70/14 78/19 82/16
                                    94/7 94/10 94/15 95/8 95/11 96/17
 83/6 84/5 86/13 86/23 87/1 88/2
                                    99/1 101/5 102/25 103/20 108/15
 96/9 97/17 97/18 99/10 100/19
                                    108/18
 101/8 104/5 104/5 104/16 104/17
                                   wouldn't [3] 4/16 9/24 92/24
 104/20 106/20 107/7 107/10 108/14
                                   write [1] 47/8
whiff [1] 19/20
                                   written [1] 22/7
while [4] 10/3 61/22 64/12 91/23
                                   wrong [1] 106/18
White [11] 40/17 40/19 40/22
                                   wrote [2] 46/19 47/7
 40/24 41/1 41/3 41/17 41/19 41/22
                                   www.BitcoinFog.com [1] 37/1
 42/2 42/4
who [19] 4/11 6/17 6/21 11/1       X
 31/14 37/23 43/11 48/13 49/14
 49/19 55/14 57/13 60/4 80/24      Xchange [12] 33/15 33/22 34/2
                                    34/7 34/8 34/12 34/19 34/21 34/24
 80/25 81/8 99/4 99/16 102/23
                                    35/7 36/8 36/17
who is [1] 4/11
                                   Xchange's [2] 34/9 34/10
Whois [1] 54/12
                                   XML [1] 15/20
whole [3] 49/6 84/14 84/16
whose [1] 98/5                     Y
why [16] 5/2 7/10 22/1 59/10
 65/10 65/20 66/15 78/6 78/25 82/6 yeah [20] 18/12 39/4 44/9 48/11
 83/11 86/3 98/18 100/24 106/24     48/23 49/4 50/4 51/15 52/16 54/1
 106/25                             54/22 55/11 58/10 67/16 79/1
Wilkins [4] 9/19 17/11 18/6 29/10 86/24 87/6 91/13 93/22 94/18
will [49] 4/19 5/5 5/12 6/17 7/10 year [2] 42/18 47/9
 26/5 28/14 30/7 30/13 32/8 35/3   years [1] 46/19
 39/6 40/7 42/15 42/16 44/14 45/12 yellow [2] 77/19 78/4
 50/14 50/16 57/1 57/9 57/16 58/19 Yep [2] 49/12 53/23
 59/12 68/19 76/15 76/23 77/4 77/5 yes [130]
 77/6 77/8 78/22 82/16 83/22 83/24 yesterday [7] 5/1 10/13 19/10
 83/25 84/1 85/16 87/10 88/3 88/13 36/25 39/5 39/16 40/10
 95/16 101/17 103/3 107/3 108/1    yet [4] 53/8 77/6 92/24 96/9
 108/3 108/4 108/20                York [1] 1/20
wind [1] 102/23                    you [491]
withdraw [1] 76/19                 you're [1] 99/17
withdrawal [4] 72/13 76/18 83/23 your [150]
 104/15                            yourself [1] 46/16
                                   yourselves [1] 56/20
